Exhibit A - Formation Agreement

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EXECUTION VERSIGN

FORMATION AGREEMENT
dated as of August 21, 2009
among
RICKETTS ACQUISITION LLC,
RAC EDUCATION TRUST OSA, LLC,
TRIBUNE COMPANY,

CHICAGO NATIONAL LEAGUE BALL CLUB, LLC,
WRIGLEY FIELD PREMIUM TICKET SERVICES, LLC,
DIANA-QUENTIN, LLC,

TRIBUNE SPORTS NETWORK HOLDINGS, LLC
and

CHICAGO CUBS DOMINICAN BASEBALL OPERATIONS, LLC

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F()RMATION AGREEMENT

This Forrnation Agreement dated as of August 21, 2009 (this “Agreement”) is entered
into by and among Ricketts Acquisition LLC, a Delaware limited liability company (“Bidder”),
RAC Education Trust OSA, LLC (the “Ricketts Lender”) (solely for purposes of Sections
1.4gcl, 341 to 3_.3_, 4.2(a), 4.11, and 4.14 and Article VIlI, in each case only to the extent expressly
relating to the Ricketts Lender as set forth therein), Tribune Company, a Delaware corporation
(“Tribune”), Tribune Sports Network Holdings, LLC, a Delaware limited liability company
(“Tribune Sports”), Chicago National League Ball Club, LLC, a Delaware limited liability
company (“Cubs LLC”), Wrigley Field Premium Ticket Services, LLC, a Delaware limited
liability company (“Premium Tickets LLC”), Diana-Quentin, LLC, a Delaware limited liability
company (“DQ LLC”), and Chicago Cubs Dominican Baseball Operations, LLC, a Delaware
limited liability company (“Dominican LLC,” and together with Tribune Sports, Cubs LLC,
Premium Tickets LLC and DQ LLC, the “Cubs Entities,” and the Cubs Entities together with
Tribune are collectively referred to herein as “Tribune Parties”). Capitalized terms used but not
defined in this Agreement are defined in Exhibit A.

(A) On December 8, 2008, Tribune and certain of its Affiliates (collectively, the
“Debtors”) filed petitions in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) seeking relief under Chapter 11 of Title 11 of the United States Code
(the “Bankruptcy Code”). The Chapter 11 proceedings of the Debtors are jointly administered
for procedural purposes under Case No. 08-13141(KJC) (the “Bankruptcy Case”). lt is
contemplated in this Agreement that Cubs LLC, immediately after entry of orders by the
Bankruptcy Court approving Tribune’s motions for approval of the Transactions, will file
voluntary petitions and related motions in the Bankruptcy Court to further effectuate and
facilitate the consummation of such Transactions. The bankruptcy cases so initiated will be part
of the Bankruptcy Case and the filing Cubs Entities will thereafter be Debtors for purposes of
such Bankruptcy Case and this Agreement.

(B) (i) Tribune owns all of the issued and outstanding membership interests of Cubs
LLC, DQ LLC and Premium Tickets LLC, (ii) WGN Continental Broadcasting Company, a
Delaware corporation and wholly owned indirect subsidiary of Tribune (“WGN”), owns all of
the issued and outstanding membership interests of Tribune Sports, (iii) Tribune Sports owns all
of the issued and outstanding membership interests of CSN Chicago that are owned directly or
indirectly by Tribune, and (iv) Cubs LLC owns all of the issued and outstanding membership
interests of Dominican LLC, The Cubs Entities and, to the extent applicable, the other
Contributing Tribune Entities, together own or lease and operate the business, assets and
operations of the Chicago Cubs Major League Baseball franchise (including its spring training,
Major League Baseball and Dominican baseball operations), Wrigley Field, the Triangle
Property, parking lots used by certain Contributing Tribune Entities for gameday parking,
Premium Tickets and DQ LLC (collectively, the “Cubs Business”).

(C) David K. Larson, not individually, but as trustee (“Bidder Trust Trustee”) of
the Joe and Marlene Ricketts Grandchildren’s Trust (“Bidder Trust”) owns all of the issued and
outstanding membership interests of Bidder. Bidder Trust pursuant to a certain guaranty entered
into by Bidder Trust Trustee as of the date hereof is guaranteeing (i) the performance of Bidder’s
obligations under this Agreement that require performance prior to or at the Closing, (ii) if this

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Agreement is terminated prior to Closing, the payment of any amounts payable by Bidder or
Ricketts Lender as a result of the non-performance or breach by Bidder or Ricketts Lender of any
of their representations, warranties or covenants in this Agreement or the termination of this
Agreement prior to Closing, including the payment of any amounts payable to the Tribune
Parties pursuant to Section 4.15 as a result of the termination of this Agreement prior to Closing,
and (iii) prior to or at the Closing, the performance of Bidder’s obligations pursuant to the Equity
Commitment Letter.

(D) The Contributing Tribune Entities and Bidder desire to contribute certain assets
and liabilities to Newco and certain Newco Subs pursuant to the terms of this Agreement and as
more fully described below.

(E) Immediately after such contribution to Newco, Newco desires to sell or otherwise
transfer certain of such assets and liabilities to Newco Subs pursuant to the terms of this
Agreement, the Newco Sale Documents and as more fully described below.

(F) After the date hereof, but on or prior to the Escrow Closing Date, (i) Bidder,
certain Affiliates of Bidder, Newco or Newco Subs, as the case may be, will execute the Pre-
Escrow Closing Senior Debt Documents along with all Persons providing Senior Debt
Financing, which will be effective prior to the Escrow Closing, and (ii) Bidder, certain Affiliates
of Bidder, Newco or Newco Subs, as the case may be, will execute the Pre-Escrow Closing
Subordinated Debt Documents, together with all Persons providing Subordinated Debt
Financing, which will be effective prior to the Escrow Closing,

(G) Once all of the conditions to the Escrow Closing (as described below) are
satisfied, (i) the parties will execute and deliver the Closing Escrow Agreement and Real Estate
Escrow Agreement and all other documents (including the Escrow Closing Senior Debt
Documents and the Escrow Closing Subordinated Debt Documents), and take all actions,
required in connection with the Escrow Closing pursuant to the terms of this Agreement, (ii)
Bidder shall deliver the Equity Financing to the Closing Agent, (iii) the Senior Lenders will (A)
execute the Closing Senior Debt Documents, (B) deliver the Closing Senior Debt Documents
included in the Closing Escrow Documents to the Closing Agent and make the Senior Debt
Financing (other than the Revolver) available to the Senior Lender Agent, and (C) deliver the
Closing Senior Debt Documents included in the Real Estate Escrow Documents to the Real
Estate Escrow Agent, (iv) the Subordinated Lenders will (A) execute the Closing Subordinated
Debt Documents, and (B) deliver the Closing Subordinated Debt Documents and an amount
equal to the Subordinated Debt Financing to the Closing Agent, and (v) Bidder shall cause the
Ricketts GuarantyCo Capital Contribution and the Ricketts Lender Capital Contribution
(collectively, the “chketts GuarantyCo and Ricketts Lender Equity Financing”) to be
deposited with the Closing Agent.

(H) Upon satisfaction of the conditions to the Closing set forth in Section 7.4, (i) the
Cubs Entities will contribute the Cubs Business (including all Cubs Contributed Assets) with an
agreed upon enterprise valuation of $844,740,000 to Newco and certain Newco Subs in
exchange for a membership interest in Newco; (ii) immediately thereafter, the contribution under
the Equity Financing and the loans under the Debt Financing will become effective, the Senior

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Lender Agent will make the Senior Debt Financing (other than the Revolver) available to the
Closing Agent for distribution, and all funds under the Equity Financing and Debt Financing will
be made available to Newco; (iii) immediately thereafter, the Closing Agent, on behalf of
Newco, will distribute (x) the Estimated Special Distribution Amount minus the lndemnity
Escrow lnitial Amount directly to the Cubs Entities and (y) the lndemnity Escrow Initial Amount
to the Escrow Agent; (iv) the Cubs Entities in the aggregate shall thereafter retain a 5%
membership interest in Newco; (v) after Newco grants to the Persons providing the Senior Debt
Financing a first-priority perfected lien on and security interest in all of the Cubs Contributed
Assets contributed to Newco, Newco will sell or otherwise convey the Cubs Business (including
all such Cubs Contributed Assets other than the CSN Interests) to Newco Subs pursuant to an
installment sale agreement and other instruments of conveyance; (vi) the Closing Agent will
deliver the Closing Escrow Documents and the remainder of the Closing Funds (including the
Ricketts GuarantyCo and Ricketts Lender Equity Financing) to the parties in accordance with the
terms of the Closing Escrow Agreement; and (vii) the Real Estate Escrow Agent will deliver the
Real Estate Escrow Documents in accordance with the terms of the Real Estate Escrow
Agreement.

ln consideration of the premises and the mutual representations, warranties, covenants
and agreements contained herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the parties hereto hereby agree as follows:

ARTICLE l

CONTRIBUTION TRANSACTION; SPEClAL DISTRIBUTION; CLOSING
Section 1.1 Contribution Transaction.
(a) Prior to the Escrow Closing:

(i) Bidder shall cause Newco to execute (but not date) the Amended
and Restated Limited Liability Company Agreement in the form attached as Exhibit C-l (the
“Newco LLC Agreement”);

(ii) Bidder shall cause each Newco Sub to be formed with Certificates
of Formation in the forms attached as Exhibits B-1-4 (and another Certificate of Formation in
substantially the same form as Exhibits B-1-4 for each Additional Newco Sub, if any) (the
“Newco Subs Certificates of Formation”), respectively, and Limited Liability Company
Agreements in the forms attached as Exhibits C-2§A)-1D)(and another Limited Liability
Company Agreement in substantially the same form as Exhibit C-2§D) for each Additional
Newco Sub, if any) (the “Newco Subs LLC Agreements”), respectively (it being understood
that each Newco Sub shall be a direct or indirect, wholly owned subsidiary of Newco); and

(iii) Bidder shall cause Newco and Newco Subs to execute the Joinder
to this Agreement.

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(b) On the terms and subject to the conditions set forth in this Agreement, on
the Escrow Closing Date, (i) the parties shall execute and deliver the Closing Escrow Agreement
and Real Estate Escrow Agreement, (ii) Bidder shall cause (A) the Senior Lenders to fund the
entire amount of the Senior Debt Financing (excluding the Revolver) to the Senior Lender
Agent, (B) the Subordinated Lenders to deposit an amount equal to the Subordinated Debt
Financing with the Closing Agent in accordance with the Closing Escrow Agreement, (C) in
addition to the amounts deposited pursuant to clause (B), MMR Investors LLC (“l\/IMR
Investors”) to deposit $20,000,000 for the capitalization of Ricketts GuarantyCo (the “Ricketts
GuarantyCo Capital Contribution”) with the Closing Agent in accordance with the Closing
Escrow Agreement, (D) the Equity Financing (the amount of which will be based on the
Transaction Expense Notice) to be deposited with the Closing Agent in accordance with the
Closing Escrow Agreement, and (E) an amount equal to $35,000,000 for the capitalization of
Ricketts Lender (the “Ricketts Lender Capital Contribution”) to be deposited with the Closing
Agent in accordance with the Closing Escrow Agreement (collectively, funds described in
clauses (A), (B), (C), (D) and (E) are the “Closing Funds”), (iii) the parties shall deposit all the
Closing Escrow Documents, and Bidder shall cause the Senior Lender Agent and Subordinated
Lenders to deposit the Closing Senior Debt Documents included in the Closing Escrow
Documents and the Closing Subordinated Debt Documents, respectively, with the Closing
Agent, (iv) the parties shall deposit all the Real Estate Escrow Documents, and Bidder shall
cause the Senior Lender Agent to deposit the Closing Senior Debt Documents included in the
Real Estate Escrow Documents with the Real Estate Escrow Agent, (v) the parties shall deliver
all other documents required by Section 1.4 and (vi) Bidder shall deliver fully executed copies of
the Escrow Closing Senior Debt Documents, Pre-Escrow Closing Senior Debt Documents,
Escrow Closing Subordinated Debt Documents and Pre-Escrow Closing Subordinated Debt
Documents to Tribune.

(c) On the terms and subject to the conditions set forth in this Agreement, at
the Closing in the manner and order set forth in the Closing Escrow Agreement and Real Estate
Escrow Agreement, as applicable:

(i) ln exchange for the issuance to the Tribune Member of the Tribune
Newco Interest, (A) each of the Tribune Parties shall, and shall cause each of the other
Contributing Tribune Entities to, contribute, transfer, assign and deliver the Cubs Contributed
Assets owned by them (other than the Direct Cubs Contributed Assets) to Newco, free and clear
of all Liens, other than Permitted Liens, and Newco shall assume the Cubs Liabilities (other than
any Cubs Liabilities associated with the Direct Cubs Contributed Assets), and (B) each of the
Tribune Parties shall contribute, transfer, assign and deliver the Cubs Contributed Assets listed
on Schedule 1.1gc2gi) (as the same may be revised by Bidder at any time upon written notice to
Tribune at least five (5) Business Days prior to the Escrow Closing or such later date to which
Tribune consents) (the “Direct Cubs Contributed Assets”) owned by it to such Newco Sub(s)
as are listed on such Schedule (as it may be revised by Bidder in accordance with this Section
1.1§c)§ i)) with respect to each such Direct Cubs Contributed Asset (each, a “Direct Newco
Sub”), free and clear of all Liens, other than Perrnitted Liens, and each such Direct Newco Sub
shall assume the Cubs Liabilities arising from the Direct Cubs Contributed Assets assigned to
such Direct Newco Sub, in each case (for clauses (A) and (B) pursuant to the terms of this

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Agreement (collectively, the “Cubs Contribution”). Notwithstanding anything in this
Agreement to the contrary, Newco and Newco Subs will not assume or be bound by or be
obligated or responsible for any Cubs Excluded Liabilities, and none of the Cubs Excluded
Assets will be contributed to Newco or any of the Newco Subs.

(ii) The Senior Lender Agent will deliver the Senior Debt Financing
(excluding the Revolver) to the Closing Agent.

(iii) The Specified Amount (based on the Transaction Expense Notice)
that was delivered to the Closing Agent at the Escrow Closing pursuant to Section 1.1§b) shall be
delivered to Newco in exchange for the issuance to Bidder of a 95% membership interest in
Newco.

(iv) Immediately after the Cubs Contribution (and after Newco grants
to the Persons providing the Senior Debt Financing a first-priority lien on and security interest in
all of the Cubs Contributed Assets contributed to Newco), Newco shall sell or otherwise convey
the Cubs Business (including all such Cubs Contributed Assets other than the CSN lnterests) to
Newco Subs, and Newco Subs shall assume the Cubs Liabilities that had been assumed by
Newco as part of the Cubs Contribution, in each case pursuant to the terms of the Newco Sale
Documents (collectively, the “Newco Sale”). Notwithstanding the two~step Transaction in
Section 1.1gc)g iii) and this Section 1.1§c)§ iv [, the parties intend that the Cubs Contribution and
Newco Sale be treated as a single assignment for purposes of Sections 363 and 365 of the
Bankruptcy Code. The parties acknowledge and agree that for Federal income Tax purposes the
Newco Sale shall be disregarded

(v) The Closing Agent shall disburse the Closing Funds pursuant to
the Closing Escrow Agreement, including (A) on behalf of Newco, distributing to the Tribune
Member the Estimated Special Distribution Amount less the lndemnity Escrow Initial Amount,
(B) on behalf of MMR Investors LLC, distributing to Ricketts GuarantyCo the Ricketts
GuarantyCo Capital Contribution, and (C) on behalf of Bidder, distributing to Ricketts Lender
the Ricketts Lender Capital Contribution.

(vi) The Closing Agent will deliver the Closing Escrow Documents in
accordance with the terms of the Closing Escrow Agreement and the Real Estate Escrow Agent
will deliver the Real Estate Escrow Documents in accordance with the terms of the Real Estate
Escrow Agreement.

(vii) After giving effect to the transactions contemplated in Section
1.1(c)gi1 through §c)§vi;, the Tribune Member will own a membership interest in Newco that
represents 5% of the issued and outstanding membership interests in Newco, and Bidder will
own a membership interest in Newco that represents 95% of the issued and outstanding
membership interests in Newco.

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Section 1.3 Escrow Closing and Closing,

(a) On the terms and subject to the conditions set forth in this Agreement, the
transactions contemplated by this Agreement to be completed into the “Escrow Closing” shall
occur at the offices of McDermott Will & Emery LLP, 227 West Monroe Street, Chicago,
Illinois 60606 at 10:00 a.m., Chicago time, within one Business Day following the day that the
conditions to the Escrow Closing set forth in Sections 7.1, 1._2_ and § (other than those
conditions that by their terms require the delivery of any documents or the taking of other action
at the Escrow Closing but subject to the satisfaction or waiver thereoD are satisfied or waived or
on such other date and time as the parties to this Agreement shall agree in writing (the “Escrow
Closing”). The date on which the Escrow Closing occurs is herein referred to as the “Escrow
Closing Date.” If the Escrow Closing is completed, any conditions to the Escrow Closing set
forth in Section 7.1, 7_._2_ or _7_.3 that are not satisfied will be deemed to be irrevocably waived

(b) On the date on which the conditions to the Closing set forth in Section 7.4
are satisfied, (w) the Senior Lender Agent will make the Senior Debt Financing (other than the
Revolver) available to the Closing Agent for distribution as set forth in clause (y) of this Section
1.3gb1; (x) Bidder and Tribune shall jointly execute and deliver a certificate to each of the
Closing Agent and the Real Estate Escrow Agent certifying that the conditions to Closing set
forth in Section 7.4 have been satisfied or waived; (y) the Closing Agent, pursuant to the terms
of the Closing Escrow Agreement, shall (i) on behalf of Newco, distribute the Estimated Special
Distribution Amount less the lndemnity Escrow Initial Amount to the Cubs Entities as set forth
on Schedule 1.3(b j, which Schedule may be updated by Tribune Parties by written notice to
Bidder and the Closing Agent at least three (3) Business Days prior to the Closing; (ii) on behalf
of Newco or Newco Subs, pay the Cubs Expenses in accordance with the Cubs Expense Notice;
(iii) on behalf of Newco or Newco Subs, pay the Covered Transaction Expenses in accordance
with the Final Transaction Expense Notice; (iv) on behalf of Newco, transfer the lndemnity
Escrow lnitial Amount to the lndemnity Escrow Account pursuant to the lndemnity Escrow
Agreement; (v) on behalf of all parties, date all undated Closing Escrow Documents the date of
the Closing Date; (vi) on behalf of Tribune Parties, release all Tribune Escrow Documents
included in the Closing Escrow Documents to Bidder in accordance with the terms of the
Closing Escrow Agreement; (vii) on behalf of Bidder, release all Bidder Escrow Documents
included in the Closing Escrow Documents to the Tribune Parties in accordance with the terms
of the Closing Escrow Agreement; and (viii) on behalf of Newco and Newco Subs, release all
Newco Escrow Documents included in the Closing Escrow Documents in accordance with the
terms of the Closing Escrow Agreement; and (Z) the Real Estate Escrow Agent, pursuant to the
terms of the Real Estate Escrow Agreement, shall, on behalf of the parties, release all Real Estate
Escrow Documents and take such other actions, in each case, in accordance with the terms of the
Real Estate Escrow Agreement. The date on which the Closing occurs is herein referred to as the
“Closing Date.”

Section 1.4 Escrow Closing Deliveries.
(a) ln addition to the other requirements set forth herein, at the Escrow

Closing, Tribune Parties shall deliver, or cause to be delivered, to the Closing Agent the
following (the “Tribune Escrow Documents”):

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(i) the Closing Escrow Agreement, duly executed by each Tribune
Party, dated as of the Escrow Closing Date;

(ii) certificates evidencing the good standing of each Tribune Party in
its jurisdiction of organization as of a recent date;

(iii) an amendment (in a form sufficient to be filed with the Delaware
Secretary of State) to the certificate of formation of each Cubs Entity (other than Tribune Sports)
changing the name of such Cubs Entity in accordance with Section 4.17, duly executed by such
Cubs Entity and to be undated, with the understanding that Bidder will file such amendments
with the applicable Government Authorities on or after the Closing Date;

(iv) each Cubs Bill of Contribution, duly executed by each applicable
Contributing Tribune Entity, and any other standard instrument of assignment reasonably
requested by Bidder (including any copyright, trademark, service mark, domain name or lease
assignment, certificate evidencing the transfer of title of a vehicle, or stock power or other equity
transfer power), duly executed by the applicable Contributing Tribune Entities, all in such form
as is reasonably requested by Bidder in order to evidence the contribution of the Cubs
Contributed Assets by each Contributing Tribune Entity to Newco or a Direct Newco Sub, as the
case may be, in accordance with this Agreement, each to be undated;

(v) the Assumption Agreements substantially in the forms attached
hereto as Exhibits E-l, E-2, E-3, E-4, E-5, §§ and §-_7 (and another Assumption Agreement in
substantially the same form as Exhibits E-7 for each additional Direct Newco Sub, if any) (each
a “Cubs Assumption Agreement”), duly executed by the applicable Tribune Party, each to be
undated;

(vi) affidavits meeting the requirements of Section 1445(b) of the
Code, duly executed by each Contributing Tribune Entity, each to be undated;

(vii) the Transition Services Agreement, duly executed by Tribune, to
be undated;

(viii) the Newco LLC Agreement, duly executed by the Tribune
Member, to be undated;

(ix) the Tax Matters Agreement, duly executed by Tribune and the
Tribune Member, to be undated and, to the extent applicable, undated copies, duly executed by
the applicable Tribune Parties, of the Account Control Agreement and Pledge and Security
Agreement and Assignment of Account that are attached as exhibits to the Tax Matters
Agreement;

(x) the Tribune Guarantees, duly executed by Tribune, each to be
undated;

(xi) Schedule 2.13ga) (Employees), updated as of the Business Day
immediately prior to the Escrow Closing Date, pursuant to Section 5 .1;
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(xii) completed forms necessary to transfer control of all domain names
listed under “Cubs Domain Names” in Schedule 2.10§a) to Newco, duly executed by each
applicable Contributing Tribune Entity, to be undated;

(xiii) a certified copy of the Tribune Transaction Approval Grder entered
by the Bankruptcy Court, with the understanding that Bidder (or the Unaffiliated Third Party
Lenders) shall be permitted to file UCC-3 termination statements with such Tribune Transaction
Approval Order as an attachment with the applicable Government Authorities on or after the
Closing Date to evidence the release of Liens in accordance with such Tribune Transaction
Approval Order;

(xiv) the WGN Agreements, duly executed by WGN, to be undated;

(xv) a certificate of an officer of each Contributing Tribune Entity
certifying (A) the organizational documents of such entity, and (B) resolutions or approvals of its
trustee, board of directors, manager or board of managers, as applicable, authorizing the
Transactions (other than the Newco Sale) and the execution, delivery and performance of
obligations under this Agreement and the other Transaction Documents, as applicable
(collectively, the “Cubs Authorizing Resolutions”), dated as of the Escrow Closing Date;

(xvi) the Cubs Expense Notice;

(xvii) the lndemnity Escrow Agreement, duly executed by the Cubs
Entities and the Escrow Agent, to be undated;

(xviii) the Mueller Building and T-Building Property Lease, together with
the Memorandum of Lease, each duly executed by DQ LLC, to be undated;

(xix) the Subordination Agreement, duly executed by Tribune and each
Cubs Entity, to be undated;

(xx) the CSN Assignment and Assumption Agreement, duly executed
by WGN, to be undated;

(xxi) each Tribune-Related Debt Document, duly executed by the
applicable Tribune Parties (or, in the case of the legal opinion, by Tribune’s counsel), and either
to be dated as of the Escrow Closing Date if such document is to be effective as of such date or
to be undated if such document is to be effective as of the Closing Date; and

(xxii) all other certificates, documents and instruments that are
reasonably requested by Bidder (including on behalf of Newco or any Newco Sub) that are
necessary in order to complete the Transactions (other than the Newco Sale) (it is understood and
agreed that whether there is sufficient time to prepare and deliver any such certificate, document
or instrument without delaying the Escrow Closing shall be taken into account when determining
whether any such request is reasonable), to be undated

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(b) In addition to the other requirements set forth herein, at the Escrow
Closing, Tribune Parties shall deliver, or cause to be delivered to Bidder the following:

(i) the certificate contemplated by Section 7.2gc), duly executed by
Tribune, dated as of the Escrow Closing Date (the “Tribune Escrow Closing Certificate”); and

(ii) the Additional Filing Assurance.

(c) In addition to the other requirements set forth herein, at the Escrow
Closing, Bidder shall and, with respect to Section 1.4gc)gvii1, the Ricketts Lender shall deliver, or
cause to be delivered to the Closing Agent (with respect to any Closing Escrow Documents) and
to the Real Estate Agent (with respect to any Real Estate Escrow Documents) the following (the
“Bidder Escrow Documents”):

(i) the Closing Escrow Agreement, duly executed by Bidder, Newco,
an agent for the Subordinated Lenders, Senior Lender Agent and MMR Investors, dated as of the
Escrow Closing Date;

(ii) the Tax Matters Agreement, duly executed by Bidder, Ricketts
GuarantyCo and Newco, to be undated, and duly executed and undated copies of the Account
Control Agreement and Pledge and Security Agreement and Assignment of Account that are
attached as exhibits to the Tax Matters Agreement;

(iii) the Newco Certificate of Formation and the Newco Subs
Certificates of Forrnation, each as filed with the Secretary of State of Delaware;

(iv) (A) each Cubs Assumption Agreement to be executed by Newco,
duly executed by Newco, to be undated, and (B) the Cubs Assumption Agreement to be executed
by each Direct Newco Sub, duly executed by such Direct Newco Sub, to be undated;

(v) the Transition Services Agreement, duly executed by Newco, to be
undated;

(vi) the Newco LLC Agreement, duly executed by Bidder and Newco,
and the Newco Subs LLC Agreements, duly executed by Newco and/or the applicable Newco
Sub, to be undated;

(vii) the Ricketts Subordinated Loan Commitment Agreement, duly
executed by the Ricketts Lender, Newco and Cubs Newco Sub, to be undated;

(viii) the Closing Subordinated Debt Documents, duly executed by each
party thereto, to be undated;

(ix) the Closing Senior Debt Documents, duly executed by each party
thereto, to be undated;

(x) the WGN Agreements, duly executed by Newco, to be undated;
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(xi) the lndemnity Escrow Agreement, duly executed by Newco, to be
undated;

(xii) the Mueller Building and T-Building Property Lease, together with
the Memorandum of Lease, each duly executed by Newco, to be undated;

(xiii) the Subordination Agreement, duly executed by Bidder, Newco
and Newco Subs, to be undated;

(xiv) the CSN Assignment and Assumption Agreement, duly executed
by Newco, to be undated;

(xv) the Transaction Expense Notice; and

(xvi) all other certificates, documents and instruments that are
reasonably requested by Tribune Parties that are necessary in order to complete the Transactions
(other than the Newco Sale) (it is understood and agreed that whether there is sufficient time to
prepare and deliver any such certificate, document or instrument without delaying the Escrow
Closing shall be taken into account when determining whether any such request is reasonable), to
be undated

(d) In addition to the other requirements set forth herein, at the Escrow
Closing, Bidder shall deliver, or cause to be delivered, to Tribune Parties the certificate
contemplated by Section 7.3§c[, duly executed by Bidder, dated as of the Escrow Closing Date
(the “Bidder Escrow Closing Certificate”).

(e) In addition to the other requirements set forth herein, at the Escrow
Closing, Tribune Parties and Bidder, as applicable, shall deliver, or cause to be delivered, the
following to an escrow agent for the Real Estate Escrow Documents mutually agreed to by
Bidder and Tribune (the “Real Estate Escrow Agent”) to be handled in a manner consistent
with the Closing Escrow Agreement and this Agreement under an agreement to be negotiated
and executed (effective as of the Escrow Closing Date) by Bidder and Tribune acting reasonably
and in good faith (the “Real Estate Escrow Agreement”):

(i) the special warranty deeds, or in the case of the Trusts, Trustee’s
Deeds (each, a “Deed”) for the Cubs Contributed Owned Real Property, duly executed by the
applicable Tribune Party or, in the case of the Clark Property and the Racine Property, the
applicable Trust, which Deeds shall be substantially in the forms attached hereto as Exhibits G-
1§_1¢_\) (form of special warranty deed (Cubs LLC as grantor)), G-l§B 1 (form of special warranty
deed (DQ LLC, grantor)), G-1gC1(form of Trustee’s Deed (Racine Trust as grantor)) and G-I(D)
(form of Trustee’s Deed (Clark Trust as grantor)), each to be undated; and

(ii) the transfer tax declarations required in connection with the
contribution of the Cubs Contributed Owned Real Property to Newco substantially in the forms
attached hereto as Exhibit G-3 (the “Real Estate Transfer Declaration Forms”), duly executed

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by the applicable Tribune Entity or Trustee and Newco, and based on the valuations set forth on

Schedule 1.4§ e §§ ii j attached hereto.

(f) ln addition to the other requirements set forth herein, at the Escrow
Closing, Bidder shall cause Newco and Newco Subs to deliver to the Closing Agent (with
respect to any Closing Escrow Documents) and to the Real Estate Escrow Agent (with respect to
any Real Estate Escrow Documents) the Newco Sale Documents, duly executed by Newco and
Newco Subs, to be undated (the “Newco Escrow Documents”).

(g) In addition to the other requirements set forth herein, at the Escrow
Closing, Bidder shall cause Newco to deliver the following to Tribune Parties:

(i) the Senior Lenders Escrow Closing Certificate, duly executed by
the Senior Lender Agent;

(ii) the Newco Senior Debt Escrow Closing Certificate, duly executed
by Newco; and

(iii) fully executed and effective copies of all Escrow Closing Senior
Debt Documents, Pre-Escrow Closing Senior Debt Documents, Escrow Closing Subordinated
Debt Documents and Pre-Escrow Closing Subordinated Debt Documents.

Section 1.5 Adjustment.

(a) On or prior to the third Business Day prior to the Closing Date, Tribune
Parties shall prepare and deliver to Bidder a written statement (the “Preliminary Statement”)
setting forth in reasonable detail (A) the calculation by Tribune Parties of the Estimated Closing
Working Capital, Estimated Petty Cash and the Estimated Deferred Revenue Amount, (B) a
listing and calculation by Tribune Parties of the Retained Cubs Current Assets, (C) a listing and
calculation by Tribune Parties of all other components reflected in the definition of Estimated
Special Distribution Amount, and (D) based on such amounts, a calculation by Tribune Parties of
the Estimated Special Distribution Amount, The Preliminary Statement shall be prepared in
accordance with Section 1.5§f1 and shall include calculations in a level of detail consistent with
Exhibit O in all material respects, as applicable For the avoidance of doubt, if the amount of a
component of the Estimated Special Distribution Amount is not yet known on the date on which
Tribune Parties deliver the Preliminary Statement, then, for purposes of the Preliminary
Statement, Tribune Parties shall include their good faith estimate of the amount of such
component based on information that is at the time reasonably available to the Tribune Parties.

(b) Within 90 days after the Closing Date, Bidder shall prepare and deliver to
Tribune Parties a written statement (the “Statement”) setting forth in reasonable detail (i) the
calculation by Bidder of the Closing Working Capital, the Petty Cash and the Deferred Revenue
Amount, (ii) a listing and calculation by Bidder of the Retained Cubs Current Assets, (iii) a
listing and calculation by Bidder of all other components reflected in the definition of Final
Special Distribution Amount, and (iv) based on such amounts, a calculation by Bidder of the
Final Special Distribution Amount. The Statement shall be prepared in accordance with Section

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_l_._§ff) and shall include calculations in a level of detail consistent with Exhibit O in all material
respects, as applicable, Following the receipt by Tribune Parties of the Statement and until all
disputes under this Section 1.5 are finally resolved and the Final Special Distribution Amount is
finally determined in accordance with this Agreement, Tribune Parties and their Representatives
shall be permitted to review during normal business hours and make copies reasonably required
of (A) the working papers of Bidder and, if relevant, their independent auditors relating to the
preparation of the Statement (but only after Tribune Parties and their Representatives shall have
provided to such independent auditors any customary indemnities and waivers that such
independent auditors shall request), and (B) any supporting schedules, supporting analyses and
other supporting documentation and underlying data relating to the preparation of the Statement.
The Statement shall become final and binding upon the parties on the 45th day following
delivery thereof, except to the extent that Tribune Parties, at their option (and without any
obligation to do so), give written notice of disagreement with the Statement (the “Notice of
Disagreement”) to Bidder prior to such date. Any Notice of Disagreement shall specify in
reasonable detail, based on information that is at the time reasonably available to the Tribune
Parties, the nature of any disagreement so asserted (any such disagreement to be limited to
whether such calculation of Closing Working Capital, the Petty Cash, the Deferred Revenue
Amount, the Retained Cubs Current Assets, any other components reflected in the definition of
Final Special Distribution Amount and the Final Special Distribution Amount are
mathematically correct and/or have been prepared in accordance with Section 1.5gfj), and, based
on such disagreement, the Tribune Parties’ calculation of Closing Working Capital, the Petty
Cash, the Deferred Revenue Amount, the Retained Cubs Current Assets (including a listing
thereof), any other components reflected in the definition of Final Special Distribution Amount
and the Final Special Distribution Amount based thereon. The Notice of Disagreement shall be
prepared in accordance with Section 1.5§§1 and shall include calculations in a level of detail
consistent with Exhibit O in all material respects to the extent applicable to the disputes set forth
therein. If a Notice of Disagreement is received by Bidder in a timely manner, then the
Statement (as revised in accordance with clause (I) or (II) below) shall become final and binding
upon the parties on the earlier of (I) the date Bidder and Tribune Parties resolve in writing any
differences they have with respect to the matters specified in the Notice of Disagreement or (II)
the date any disputed matters are finally resolved in writing by the Accounting Firm in

accordance with Section 1.5§c).

(c) During the 30-day period following the delivery of a Notice of
Disagreement, Bidder and Tribune Parties shall seek in good faith to resolve in writing any
differences which they may have with respect to the matters specified in the Notice of
Disagreement. Following the receipt by Bidder of the Notice of Disagreement and until all
disputes under this Section 1.5 are finally resolved and the Final Special Distribution Amount is
finally determined in accordance with this Agreement, Bidder and its independent auditors shall
be permitted to review and make copies reasonably required of (i) the working papers of Tribune
Parties and, if relevant, their independent auditors (if any) relating to the preparation of the
Notice of Disagreement (but only after Bidder and its Representatives shall have provided to
such independent auditors any customary indemnities and waivers that such independent auditors
shall request), and (ii) any supporting schedules, supporting analyses and other supporting
documentation relating to the preparation of the Notice of Disagreement. If, at the end of such

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30-day period, the differences as specified in the Notice of Disagreement are not resolved,
Tribune Parties and Bidder shall have the right to (and each shall have the right to require the
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Young (or, if Emst & Young is unable or unwilling to accept such engagement, Deloitte &
Touche or, if Deloitte & Touche is unable or unwilling to accept such engagement, a nationally
recognized independent accounting firm mutually and reasonably acceptable to Tribune Parties
and Bidder) (the “Accounting Firm”) and submit to the Accounting Firm for review and
resolution of any and all matters which remain in dispute and which were included in the Notice
of Disagreement. As part of the submission of the dispute to the Accounting Firm, (A) Bidder
shall submit an updated Statement (the “Updated Statement”) which will reflect its calculations
of the Final Special Distribution Amount (the “Biddei' Submitted Final Special Disti'ibution
Amount”), the Closing Working Capital, Petty Cash, Retained Cubs Current Assets (including a
listing thereof), Deferred Revenue Amount, and all other components reflected in the definition
of Final Special Distribution Amount, which will be the amounts set forth in the Statement as
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discussions regarding any differences they had with respect to the matters specified in the Notice
of Disagreement prior to submission to the Accounting Firm; and (B) Tribune Parties shall
submit an updated Notice of Disagreement (the “Updated Notice of Disagreement”) which will
reflect their calculations of the Final Special Distribution Amount (the “Tribune Submitted
Final Special Distribution Amount”), the Closing Working Capital, Petty Cash, Retained Cubs
Current Assets (including a listing thereof), Deferred Revenue Amount, and all other
components reflected in the definition of Final Special Distribution Amount, which will be the
amounts set forth in the Notice of Disagreement as revised, if at all, to reflect any items upon
which the parties were able to agree during'their discussions regarding any differences they had
with respect to the matters specified in the Notice of Disagreement prior to submission to the
Accounting Firm. The Updated Statement and Updated Notice of Disagreement shall each be
prepared in accordance with Section 1.5§f1 and shall include calculations in a level of detail
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bound by the provisions of this Agreement and the definitions of Final Special Distribution
Amount, Closing Working Capital, Petty Cash, Retained Cubs Current Assets, Deferred Revenue
Amount and the definitions included or referred to therein; (II) limit its review to matters still in
dispute as set forth in the Notice of Disagreement or Updated Notice of Disagreement, as the
case may be; (III) further limit its review solely to whether the Statement or Updated Statement,
as the case may be, has been prepared in accordance with this Agreement; and (IV) make its own
calculation of the Final Special Distribution Amount, which must be an amount equal to the
Bidder Submitted Final Special Distribution Amount or the Tribune Submitted Final Special
Distribution Amount or between them. The Accounting Firm’s determination of the Petty Cash,
Deferred Revenue Amount, Retained Cubs Current Assets and any item that is a component of
Closing Working Capital or of the Final Special Distribution Amount and is the subject of a
dispute shall not be in excess of, or less than, the greatest or lowest value, respectively, claimed
for such item in the Statement or Updated Statement, as applicable, on the one hand, or the
Notice of Disagreement or Updated Notice of Disagreement, as applicable, on the other hand.
Notwithstanding the foregoing, the Accounting Firm may (x) adjust the Deferred Revenue
Amount, Petty Cash, Retained Cubs Current Assets and all other components of Closing
Working Capital or of the Final Special Distribution Amount that is not in dispute and (y) make

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adjustments to Deferred Revenue Amount, Petty Cash, Retained Cubs Current Assets and all
other components of Closing Working Capital or of the Final Special Distribution Amount that
are in dispute, in each case, that are in excess of, or less than, the range of values claimed for
such item by the parties, if such adjustments are related to the resolution of one or more of the
items that are in dispute and the Accounting Firm determines that such adjustments are necessary
to properly calculate Closing Working Capital or the Final Special Distribution Amount,
Tribune Parties and Bidder shall use reasonable best efforts to cause the Accounting Firm to
render a decision resolving the matters in dispute within 30 days following the submission of
such matters to the Accounting Firm. The fees and expenses of the Accounting Firm in
connection with the Accounting Firm’s determination of the Final Special Distribution Amount
pursuant to this Section 1.5 (collectively, the “Accounting F irm Expenses”) shall be borne as
follows: (1) Tribune Parties shall pay an amount equal to the Accounting Firm Expenses
multiplied by a fraction, the numerator of which is (x) the amount, if any, by which the Tribune
Submitted Final Special Distribution Amount exceeds the Final Special Distribution Amount as
determined by the Accounting Firm, and the denominator of which is (y) the amount by which
the Tribune Submitted Final Special Distribution Amount exceeds the Bidder Submitted Final
Special Distribution Amount; and (2) Bidder shall pay an amount equal to the Accounting Firm
Expenses multiplied by a fraction, the numerator of which is (x) the amount, if any, by which the
Final Special Distribution Amount as determined by the Accounting Firm exceeds the Bidder
Submitted Final Special Distribution Amount, and the denominator of which is (y) the amount
by which the Tribune Submitted Final Special Distribution Amount exceeds the Bidder
Submitted Final Special Distribution Amount, The fees and expenses of the independent
auditors (if any) of Bidder incurred in connection with the issuance of the Statement and
Updated Statement (if applicable) and review of the Notice of Disagreement and Updated Notice
of Disagreement (if applicable) shall be borne by Bidder, and the fees and expenses of the
independent auditors (if any) of Tribune Parties incurred in connection with their review of the
Statement and Updated Statement (if applicable) and their preparation of the Notice of
Disagreement and Updated Notice of Disagreement (if applicable) shall be borne by the Tribune
Parties. The Accounting Firm shall not be required to apply to or seek approval of the
Accounting Firm Expenses from the Bankruptcy Court or any applicable court.

(d) If the Final Special Distribution Amount is less than the Estimated Special
Distribution Amount, then the Cubs Entities shall, within five (5) Business Days after the final
determination thereof, make a payment to Newco by wire transfer of immediately available
funds and/or transfer to Newco Retained Cubs Current Assets, which payment and/or transfer are
in the aggregate in an amount equal to such deficiency, together with interest thereon at the
Interest Rate, calculated on the basis of the actual number of days elapsed and a 360-day year,
from the Closing Date to the date of actual payment/transfer, compounded annually; provided,
however, that if Retained Cubs Current Assets are not transferred to Newco (or the value of such
Retained Cubs Current Assets so transferred is less than the payment required to be made
pursuant to this Section 1.5§d)), then, at the option of Bidder, (i) the Cubs Entities will make a
payment to Newco of such amount or (ii) the parties shall instruct the Escrow Agent to make a
payment of such amount to Newco from the lndemnity Escrow Account. For the purpose of
determining the amount of Retained Cubs Current Assets to be transferred to Newco in
connection with this Section 1.5§d1, such Retained Cubs Current Assets shall have a value equal

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to the additional amount that would have been reflected on the Statement, as of the Closing Date,
if such assets had been included in the Cubs’ Contributed Assets,

(e) If the Final Special Distribution Amount is more than the Estimated
Special Distribution Amount, then Newco shall, within five (5) Business Days after the final
determination thereof, distribute to the Cubs Entities, by wire transfer of immediately available
funds, an amount equal to such excess, together with interest thereon at the Interest Rate,
calculated on the basis of the actual number of days elapsed and a 360-day year, from the
Closing Date to the date of actual payment, compounded annually.

(f) The Preliminary Statement, the Statement, the Updated Statement, the
Notice of Disagreement, the Updated Notice of Disagreement and any submissions by the parties
to the Accounting Firm pursuant to Section 1.5§c) (and all calculations of Closing Working
Capital, Petty Cash, Retained Cubs Current Assets, Deferred Revenue Amount and all other
components reflected in the definitions of Estimated Special Distribution Amount and Final
Special Distribution Amount) shall be prepared and calculated in accordance with the
Accounting Principles, except that the Statement, Preliminary Statement, Updated Statement,
Notice of Disagreement, Updated Notice of Disagreement and any submissions by the parties to
the Accounting Firm pursuant to Section 1.5§c) (and all calculations of Closing Working Capital,
Petty Cash, Retained Cubs Current Assets, Deferred Revenue Amount and all other components
reflected in the definitions of Estimated Special Distribution Amount and Final Special
Distribution Amount) shall: (i) not include any purchase accounting or other adjustment arising
out of the consummation of the Transactions (including the Newco Sale), (ii) exclude the effect
of any act or decision of Bidder, Newco or any Newco Sub occurring on or after the Closing, (iii)
include only the line items set forth on Exhibit O (but, to the extent GAAP would require a new
line item for an amount otherwise reflected in the Cubs Entity lnterim Financial Statements
rather than including such amount under a general or miscellaneous line item, including such line
items), (iv) not reflect, directly or indirectly, any additional reserve or accrual that is not reflected
on the Cubs Entity lnterim Financial Statements (except (x) those that result from additional
material facts and circumstances not known by the Tribune Parties at the time of the preparation
of the Cubs Entity interim Financial Statements that become Known to the Tribune Parties, or
new events occurring, after such date and prior to the Closing, and (y) they shall include an
accrual for accrued and unused vacation for Transferred Employees as described in Section 5 .6 ),
(v) in the case of the calculations of Closing Working Capital, not include any Cubs Excluded
Assets (other than Retained Cubs Current Assets) or Cubs Excluded Liabilities and shall include
only Cubs Contributed Assets (other than Petty Cash), Retained Cubs Current Assets and Cubs
Liabilities (other than the Deferred Revenue Amount) and (vi) be calculated as of Effective Time
but shall not include any Debt Financing, any Equity Financing or any expenses incurred in
connection with the consummation of the Transactions (including the Newco Sale), except that
the calculation of Estimated Special Distribution Amount and Final Special Distribution Amount
shall include Cubs Expenses to the extent they are paid by Newco or Newco Subs pursuant to
Section 1.3gb). The calculations of Closing Working Capital (or, in the case of the Preliminary
Statement, Estimated Closing Working Capital), Petty Cash (or, in the case of the Preliminary
Statement, Estimated Petty Cash), and Deferred Revenue Amount (or, in the case of the
Preliminary Statement, Estimated Deferred Revenue Amount) included in the Preliminary

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Statement, Statement, Updated Statement, Notice of Disagreement and Updated Notice of
Disagreement shall be presented in a form consistent with the form of Exhibit O, which is
included for illustrative purposes only.

(g) Tribune Parties and Bidder agree that the decisions of the Accounting
Firm pursuant to Section 1.5§c1 shall be final and binding on the parties and shall not be subject
to appeal, review or reconsideration by any court in the absence of manifest error by the
Accounting Firm in rendering its decision, and that judgment may be entered upon the
determination of the Accounting Firm by the Applicable Court,

Section 1.6 Consent of Third Parties. If (a) after giving effect to the Transaction
Approval Orders, the assignment of any Cubs Contract or Cubs Business Permit or any claim or
right or any benefit arising thereunder or resulting therefrom to Newco (other than with respect
to Direct Cubs Contributed Assets) or any Direct Newco Sub (with respect to Direct Cubs
Contributed Assets assigned or attempted to be assigned to such Direct Newco Sub), without the
consent of a third Person, would constitute a breach thereof, and (b) such consent is not obtained
prior to Closing (each such Cubs Contract or Cubs Business Permit, a “Specified Document”),
then Tribune Parties shall use reasonable best efforts to cooperate with Newco and the applicable
Receiving Newco Sub in order to allow the applicable Receiving Newco Sub to perform the
obligations under such Specified Document and in turn to provide such applicable Receiving
Newco Sub with the benefits under such Specified Document from and after the Closing,
Tribune Parties shall pay or cause to be paid to such applicable Receiving Newco Sub within five
(5) Business Days of receipt all monies received by any Tribune Party or other Contributing
Tribune Entity after the Closing under any Specified Document (except in each case to the extent
such monies represent collections of Retained Cubs Accounts Receivable that have not
previously been transferred to a Newco Sub pursuant to Section 1.5(d[, in which case such
monies shall be retained by the Tribune Parties) and shall use reasonable best efforts to provide
such applicable Receiving Newco Sub with any claim, right or benefit arising under any such
Specified Document. The provisions of this Section 1.6 shall in no way limit the obligation of
Tribune Parties pursuant to this Agreement to seek such consents prior to the Closing. If and
when any such consents shall be obtained, Tribune Parties shall promptly assign their rights, or
cause the other Contributing Tribune Entities to assign their rights, thereunder to Newco (with
respect to Specified Documents other than the Direct Cubs Contributed Assets, which Specified
Documents Newco will, in turn, immediately assign to the applicable Newco Sub) or the
applicable Direct Newco Sub (with respect to the Direct Cubs Contributed Assets assigned or
attempted to be assigned to such Direct Newco Sub) without payment of consideration, and
Newco or such Direct Newco Sub, as applicable, shall, without payment of any consideration
therefor, assume from and after the date of such assignment the obligations of Tribune Parties or
the other Contributing Tribune Entities, as the case may be, thereunder. It is understood and
agreed that, notwithstanding anything to the contrary in the foregoing, so long as Tribune Parties
use their reasonable best efforts (which shall not require the payment of any fee) to obtain the
consents and to cooperate with Newco (other than with respect to Direct Cubs Contributed
Assets) and each Direct Newco Sub (with respect to Direct Cubs Contributed Assets) as
contemplated by this Section 1.6, Tribune Parties will not have any liability or obligation to
Newco, any Receiving Newco Sub or Bidder if any consent is not obtained or if a Receiving

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Newco Sub is not able to obtain the benefits referred to above. From and after the Closing Date,
(a) if Newco or a Receiving Newco Sub receives the primary benefits under any Specified
Document or if Newco, but for the Newco Sale, would reasonably have been expected to receive
such benefits, then from and after such time Newco or such Receiving Newco Sub shall perform
all obligations pursuant to such Specified Document and be responsible for all Cubs Liabilities
thereunder regardless of any limitations on assignment or assumption thereof ; and (b) if neither
Newco nor a Receiving Newco Sub receives the primary benefits under any Specified Document
(unless such Receiving Newco Sub would reasonably have been expected to receive the primary
benefits thereunder but for the Newco Sale), then neither Newco nor such Receiving Newco Sub
shall be obligated to perform any obligations pursuant to such Specified Document, such
Specified Document shall be deemed a Cubs Excluded Asset and neither Newco nor such
Receiving Newco Sub shall be responsible for any Cubs Liabilities thereunder, and all such
obligations and Cubs Liabilities shall remain with the Tribune Parties or other Contributing
Tribune Entities, as the case may be, except that, upon notice to Bidder, the Tribune Parties may
terminate or cause to be terminated such Specified Document. The provisions of this Section 1.6
do not apply to any collective bargaining or similar agreements, which are addressed in Article
y_. Notwithstanding the foregoing, no Tribune Party shall have any liability to Bidder, Newco or
any Receiving Newco Sub with respect to the Newco Sale, including with respect to the transfer
of any Cubs Contributed Assets (other than Direct Cubs Contributed Assets) from Newco to
Newco Subs in connection with the Newco Sale, the failure to give notice to or receive consent
from any other Person in connection with the Newco Sale or the failure to comply with any other
requirements pursuant to any Cubs Contract or Cubs Business Permit (other than a Direct Cubs
Contributed Asset) with respect thereto. ln addition, all Specified Documents shall be deemed
Cubs Contributed Assets once contributed to Newco or a Direct Newco Sub, as the case may be,
regardless of whether such Cubs Contributed Assets can be contributed by Newco to a Newco
Sub in connection with the Newco Sale or whether a Newco Sub (other than a Direct Newco Sub
with respect to the Direct Cubs Contributed Assets assigned to it) can get the benefits thereunder.

 

Section 1.7 Allocation of Value Among Cubs Contributed Assets. The total valuation
of the Cubs Contributed Assets shall be allocated among the Cubs Contributed Assets pursuant
to and in accordance with the Newco LLC Agreement and Tax Matters Agreement, which, to the
extent applicable, shall be in accordance with Schedule 1.4ge)§ ii).

ARTICLE ll

REPRESENTATIONS AND WARRANTIES OF TRIBUNE PARTIES

Tribune Parties jointly and severally represent and warrant to and for the benefit of
Bidder Parties, Newco and Newco Subs as of the date of this Agreement, the Escrow Closing
Date and the Closing Date as follows:

Section 2.1 Organization; Good Standing.

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(a) Tribune is a corporation duly organized, validly existing and in good
standing under the laws of the State of Delaware, and has all requisite corporate power and
authority to own, lease and operate all of its assets and to conduct its business, subject to the
jurisdiction of the Bankruptcy Court over the Bankruptcy Case. Except as set forth on Schedule
2.1§a1, Tribune is duly qualified or licensed to do business and is in good standing in the
jurisdictions in which the conduct of its business or the ownership of its properties requires such
qualification or licensing, except for such failures to be qualified and in good standing that,
individually and in the aggregate, do not have, and are not reasonably likely to have, a Cubs
Material Adverse Effect.

(b) Each Tribune Party, other than Tribune, is a corporation or limited liability
company duly organized, validly existing and in good standing under the laws of the State of
Delaware, and has all requisite corporate or limited liability company power and authority to
own, lease and operate the Cubs Contributed Assets and to conduct the Cubs Business, subject to
the jurisdiction of the Bankruptcy Court over any Additional Bankruptcy Cases. Except as set
forth on Schedule 2.1§bj, each Tribune Party, other than Tribune, is duly qualified or licensed to
do business and is in good standing in the jurisdictions in which the conduct of its business or the
ownership of its properties related to the Cubs Business requires such qualification or licensing,
except for such failures to be qualified and in good standing that, individually and in the
aggregate, do not have, and are not reasonably likely to have, a Cubs Material Adverse Effect.

(c) Prior to the date of this Agreement, Tribune Parties have made available to
Bidder copies of the certificate of formation and limited liability company agreement of each
Cubs Entity, each as in effect on the date hereof, all of which are listed on Schedule 2.1§c[.

(d) Each Non-Cubs Contributing Tribune Entity is a corporation or limited
liability company duly organized, validly existing and in good standing under the laws of the
state of its organization, and has all requisite corporate or limited liability company power and
authority to own, lease and operate the Cubs Contributed Assets which it owns, leases or
operates and to conduct its business, subject to the jurisdiction of the Bankruptcy Court over the
Bankruptcy Case.

Section 2.2 Ownershin of Cubs Entities/Investments Tribune directly or indirectly
owns all of the issued and outstanding membership interests of each Cubs Entity and all of the
issued and outstanding membership interests, capital stock or other equity interest, as applicable
of all other Non-Cubs Contributing Tribune Entity. Schedule 2.2(a1 sets forth for each Cubs
Entity, (i) the name of the Person that owns a direct ownership interest in such Cubs Entity and
(ii) a description of the percentage interest or number of units in such Cubs Entity held by such
Person (along with the total number of issued and outstanding units). No Cubs Entity has an
obligation to issue any equity interests (whether pursuant to any security convertible into any
equity interest or otherwise) that is a Cubs Liability. Schedule 2.2gb1 sets forth (i) the name of
each Person (other than a Cubs Entity) in which a Cubs Entity, directly or indirectly, owns an
equity interest (the “Investments”) together with a description of the percentage interest or
number of units or shares held by such Cubs Entity (along with the total number of issued and
outstanding units or shares) (the “Investment Equity”) and (ii) a description of any other rights
to equity interests of the Investments (including any options, warrants or other securities

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convertible into such equity interests) and the respective holders of such rights; provided,
however, that (A) with respect to any lnvestment that is a Major League Baseball Entity (a
“MLB Interest”), Schedule 2.2gb1 contains only a list of the interests held by Tribune Parties
and this representation and warranty is only being made to the Knowledge of the Tribune Parties
and based solely on information provided on behalf of the Office of the Commissioner of
Baseball, attached hereto as Exhibit GG, and (B) with respect to CSN Chicago, the
representation in clause (ii) is only being made to the Knowledge of the Tribune Parties. The
applicable Cubs Entity listed on Schedule 2.2§b) has not directly or indirectly transferred such
Investment Equity (including the MLB lnterests) set forth opposite such Cubs Entity’s name, or
pledged or otherwise caused a Lien to encumber such lnvestment Equity, Other than with
respect to the MLB lnterests or Liens pursuant to the Amended and Restated Limited Liability
Company Agreement of CSN Chicago (as such may be amended), the applicable Cubs Entity
listed on Schedule 2.2gb) directly or indirectly owns all of the lnvestment Equity described on
Schedule 2.2ng free and clear of all Liens, Irrimediately after the Closing, except as disclosed on
Schedule 2.2§b1 and other than through the Cubs Entities’ ownership of a membership interest of
Newco, Tribune and its Affiliates will not directly or indirectly own any equity interests in the
Investments or in any Major League Baseball Entity or any rights to such equity interests
(including any options, warrants or other securities convertible into such equity interests).

Section 2.3 Authority. Subject to the entry of the Approval Orders by the Bankruptcy
Court and obtaining the MLB Approvals, each Contributing Tribune Entity has all requisite
corporate, trust or limited liability company power and authority to execute and deliver this
Agreement (if applicable) and the other Transaction Documents to which it is or will be a party,
to perform its obligations hereunder (if applicable) and thereunder and to consummate the
Transactions (other than the Newco Sale). The execution and delivery by each Contributing
Tribune Entity of this Agreement (if applicable) and the other Transaction Documents to which it ~
is or will be a party, the performance by each Contributing Tribune Entity of its obligations
hereunder (if applicable) and thereunder and the consummation by each Contributing Tribune
Entity of the Transactions (other than the Newco Sale) have been duly and validly authorized by
all necessary corporate, trust or limited liability company action on the part of each Contributing
Tribune Entity and, except for the Approval Orders, no other proceedings on the part of any
Contributing Tribune Entity or its direct or indirect stockholders (including Tribune’s employee
stock ownership plan), members or trustees are required to authorize this Agreement or the other
Transaction Documents to which it is or will be a party or for any Contributing Tribune Entity to
consummate the Transactions (other than the Newco Sale). This Agreement (if applicable) has
been, and, upon execution and delivery thereof by the applicable Contributing Tribune Entity,
each of the other Transaction Documents to which any Contributing Tribune Entity is or will be
a party shall be, duly and validly executed and delivered by such Contributing Tribune Entity
and, assuming the due and valid authorization, execution and delivery by the other parties
thereto, subject to obtaining the Approval Orders, constitute, or in the case of each such other
Transaction Document, shall constitute, a valid and binding obligation of such Contributing
Tribune Entity, enforceable against such Contributing Tribune Entity in accordance with their
respective terms, except as enforceability may be limited by bankruptcy, insolvency, fraudulent
transfer, reorganization, moratorium or other similar Laws affecting or relating to creditors’
rights and general principles of equity.

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Section 2.4 Non~Contravention. Except as set forth on Schedule 2.4, the execution
and delivery by each Contributing Tribune Entity of this Agreement (if applicable) and the other
Transaction Documents to which it is or will be a pany, the performance by each Contributing
Tribune Entity of its obligations hereunder (if applicable) and thereunder, and the consummation
by each Contributing Tribune Entity of the Transactions (other than the Newco Sale), and the
compliance by each Contributing Tribune Entity with any of the provisions hereof (if applicable)
and thereof, does not and shall not: (a) conflict with or violate any provision of the certificate of
incorporation or bylaws (or comparable organizational documents) of any Contributing Tribune
Entity; (b) other than the Approval Orders, require on the part of any Contributing Tribune Entity
any material notice or material filing with, or any material Permit, or other material authorization
of, or any material exemption by, any Government Authority, except in connection with or in
compliance with the provisions of the HSR Act; (c) after giving effect to the Approval Orders,
conflict with, result in a violation or breach of, constitute a default under, result in the
acceleration of, give rise to any right to accelerate, terminate, modify or cancel, or require any
notice, consent, authorization, approval or waiver under, or create or change any rights or
obligations under, (x) any Cubs Business Permit, Cubs Contract, Cubs Contributed Asset or
Cubs Liability or (y) any Contract or Permit of Tribune or any other Contributing Tribune Entity
(other than a Cubs Entity) that (in the case of clause (y)) could materially and adversely affect
their ability to consummate the Transactions (other than the Newco Sale); (d) result in the
creation or imposition of any Lien upon, or any Person obtaining any right to acquire, any of the
Cubs Contributed Assets; (e) violate or breach the terms of or cause any default under any Law
applicable to (x) the Cubs Business or the Cubs Contributed Assets or (y) Tribune or any other
Contributing Tribune Entity (other than a Cubs Entity) that (in the case of clause (y)) could
materially and adversely affect their ability to consummate the Transactions (other than the
Newco Sale) or comply with their obligations under this Agreement; or (f) with the passage of
time, the giving of notice or the taking of any action by another Person, have any of the effects
described in clauses (a) through (e) of this Section 2.4, with such exceptions in the case of
clauses (c) through (f) as, individually and in the aggregate, do not have, and are not reasonably
likely to have, a Cubs Material Adverse Effect.

Section 2.5 Legal Matters.

(a) Except as set forth in Schedule 2.5(a) and with such exceptions that do not
have, and are not reasonably likely to have, individually and in the aggregate, a Cubs Material
Adverse Effect: (i) there is no Action pending against, or, to the Knowledge of Tribune Parties,
threatened against or affecting, any Contributing Tribune Entity insofar as it is applicable or
relates to any of the Cubs Contributed Assets, Cubs Liabilities or the Cubs Business, at law or in
equity, before or by any court, arbitrator, panel or other Govemment Authority; and (ii) none of
the Contributing Tribune Entities is operating under, or subject to, any judgment, decree, writ,
injunction, ruling, award, stipulation, determination or order of any Government Authority that is
applicable or relates to the Cubs Contributed Assets, Cubs Liabilities or the Cubs Business.
Schedule 2.5(a) also lists all Actions that were pending against any Contributing Tribune Entity
at any time since January 1, 2007 that related to any of the Cubs Contributed Assets, Cubs
Liabilities or the Cubs Business, at law or in equity, before or by any court, arbitrator, panel or
other Govemment Authority, except for such Actions that did not have and, if they would now

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be pending, would not have, and would not be reasonably likely to have, individually and in the
aggregate, a Cubs Material Adverse Effect.

(b) Except as set forth on Schedule 2.5gb1: (i) the Cubs Entities and, with
respect to the Cubs Business, all other Contributing Tribune Entities are in all material respects
in compliance with all applicable Laws, (ii) the Cubs Business and Cubs Contributed Assets are
being conducted and operated in all material respects in compliance with all applicable Laws,
(iii) at all times since January 1, 2007, the Cubs Entities and, with respect to the Cubs Business,
all other Contributing Tribune Entities have been in all material respects in compliance with all
applicable Laws, except for any such noncompliance that has been cured without ongoing
material consequence to the operation of the Cubs Business and is not part of a pattern or course
of conduct that would reasonably be expected to continue after the Escrow Closing Date and to
have a material adverse impact on the Cubs Business or the Cubs Contributed Assets (taken as a
whole), and (iv) at all times since January 1, 2007, the Cubs Business and Cubs Contributed
Assets have been conducted and operated in all material respects in compliance with all
applicable Laws, except for any such noncompliance that has been cured without ongoing
material consequence to the operation of the Cubs Business and is not part of a pattern or course
of conduct that would reasonably be expected to continue after the Escrow Closing Date and to
have a material adverse impact on the Cubs Business or the Cubs Contributed Assets (taken as a
whole).

(c) Except as set forth on Schedule 2.5(c), since January 1, 2007, no
Contributing Tribune Entity has received any written notice asserting any noncompliance in any
material respect with any Law applicable to the Cubs Business or any of the Cubs Contributed
Assets, Cubs Liabilities or Cubs Business Permits, which noncompliance (i) has not been cured,
(ii) has been cured but with ongoing material consequence to the operation of the Cubs Business,
or (iii) has been cured but is part of a pattern or course of conduct that could reasonably be
expected to continue after the Escrow Closing Date and to have a material adverse impact on the
Cubs Business. Except as set forth on Schedule 2.5(c1, to the Knowledge of Tribune Parties, no
Contributing Tribune Entity is currently under any investigation by any Government Authority
involving the Cubs Business, the Cubs Contributed Assets or Cubs Liabilities,

(d) Except as set forth on Schedule 2.5gd[, the Cubs Entities own, or have full
rights under, all material Permits that are used or held for use in connection with, or that are
required to operate the Cubs Business and Cubs Contributed Assets in compliance with law.
Schedule 2.5(d1 lists all such Permits that (i) are owned or held by Cubs Entities or (ii) are not
owned or held by a Cubs Entity that are material to the operations of the Cubs Business and Cubs
Contributed Assets, The applicable Cubs Entities are in all material respects in compliance with
all such Permits. To the Knowledge of the Tribune Parties, the Tribune Parties have not taken
any action that would reasonably be expected to result in any material modification, revocation,
non-renewal or termination of any such Permit other than expiration thereof upon the end of the
term thereof, Since January 1, 2007, the Tribune Parties have not received a written notice from
any Governmental Authority that any such Perrnit may be materially modified or revoked or that
such Govemmental Authority does not intend to permit the renewal thereof.

Section 2.6 Financial Statements.
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(a) Attached to Schedule 2.6(aj are copies of: (i) the audited consolidated
balance sheets of Cubs LLC and Dominican LLC at December 28, 2008 and December 30, 2007
and the related audited consolidated statements of income and cash flow of Cubs LLC and
Dominican LLC for the years ended December 28, 2008 and December 30, 2007 (the “Cubs
Audited Financial Statements”), (ii) the unaudited balance sheets of each of Premium Tickets
LLC and DQ LLC each at December 28, 2008 and the related unaudited statements of income of
each of Premium Tickets LLC and DQ LLC each for the year ended December 28, 2008, (iii) the
unaudited balance sheets of (A) Cubs LLC and Dominican LLC (on a consolidated basis) and
(B) each of Premium Tickets LLC and DQ LLC, each at June 28, 2009 (the “Balance Sheet
Date”), and (iv) the related unaudited statements of income of (Y) Cubs LLC and Dominican
LLC (on a consolidated basis) and (Z) each of Premium Tickets LLC and DQ LLC each for the
six-month period ended June 28, 2009 (the foregoing financial statements in clauses (iii) and (iv)
are collectively referred to as the “Cubs Entity lnterim Financial Statements” and the
foregoing financial statements in clauses (i), (ii), (iii) and (iv) are collectively referred to as the
“Cubs Entity Financial Statements”).

(b) Attached to Schedule 2.6gb) are copies of: (i) the audited balance sheets of
CSN Chicago at September 30, 2008 and 2007, and the related audited statements of income and
cash flow of CSN Chicago for the years ended September 30, 2008 and 2007, respectively (the
“CSN Chicago Audited Financial Statements”), (ii) the unaudited balance sheet of CSN
Chicago at June 30, 2009, and (iii) the related unaudited statement of income of CSN Chicago
for the nine-month period ended June 30, 2009 (the foregoing financial statements in clauses (ii)
and (iii) are collectively referred to as the “CSN Chicago Unaudited Financial Statements”
and the foregoing financial statements in clauses (i), (ii) and (iii) are collectively referred to as
the “CSN Chicago Financial Statements”), each in the form that they were provided to Tribune
by CSN Chicago.

(c) The Cubs Entity Financial Statements were prepared from and are
consistent with the books and records of the applicable Cubs Entities (it being understood that
the Cubs Entity Financial Statements do not reflect Tribune Sports). The Cubs Entity Financial
Statements have been prepared in accordance with GAAP consistently applied (except (i) as set
forth on Schedule 2.6gci, (ii) that the Cubs Entity lnterim Financial Statements are subject to
normal recurring year-end adjustments none of which, if the applicable Accounting Principles
are used, would, in the aggregate, be material, and (iii) all Cubs Entity lnterim Financial
Statements do not have footnotes as required by GAAP) and on that basis present fairly, in all
material respects, the financial position and results of operations of the relevant Cubs Entity as of
the dates and for the periods indicated

(d) Tribune’s representative on the Board of Managers of CSN Chicago has
not been provided with any notice from CSN Chicago that the CSN Chicago Financial
Statements have not been prepared in accordance with GAAP consistently applied (other than
that unaudited CSN Chicago Financial Statements are subject to normal recurring year-end
adjustments, and do not have footnotes as required by GAAP).

(e) Except as set forth on Schedule 2.6ge), each item of income or expense
included in the Cubs Entity Financial Statements that represents an allocation of such item by

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Tribune or its Affiliates in part to the Cubs Business and in part to other businesses was allocated
in good faith.

(f) The books of account and other financial records of Tribune Parties with
respect to the Cubs Business have been maintained in all material respects in accordance with
reasonable business practice and in the aggregate accurately reflect their transactions and the
disposition of their assets.

(g) Except as set forth on Schedule 2.6§ g), there are no off-balance sheet
transactions, arrangements or other relationships relating to the Cubs Business, the Cubs
Contributed Assets or the Cubs Liabilities between and/or among Tribune or any of its Affiliates
and any unconsolidated Person in which Tribune or any of its Affiliates has any direct or indirect
interest, including any structured finance, special purpose or limited purpose entity.

(h) The Club’s report concerning revenues and expenses filed with Major
League Baseball on December 15, 2008 for purposes of complying with MLB Rules and
Regulations was, on such date (including as it relates to revenue sharing), (i) prepared in all
material respects in a manner that is consistent with the Club’s past policies and practices with
respect to such reports, and (ii) prepared in a manner that was consistent, in all material respects,
with any written mandates, directives or other rulings made or issued by Major League Baseball
to the Club in connection with its past audits of the Club and any other written mandates,
directives or rulings that are otherwise applicable to, and received by, the Club.

Section 2.7 Absence of Undisclosed Liabilities, None of the Tribune Parties or the
Trusts (as it relates to the Cubs Contributed Owned Real Property owned by them) has any
obligations, liabilities or commitments of any nature (whether direct or indirect, fixed or
contingent, known or unknown, due or to become due, accrued or otherwise, and whether or not
determined or determinable) relating to the Cubs Business or Cubs Contributed Assets that will
be a Cubs Liability following the consummation of the Transactions (other than those arising as
a result of the Newco Sale), except for obligations, liabilities and commitments (a) reflected or
reserved against in the Cubs Entity lnterim Financial Statements, (b) incurred in the Ordinary
Course after the Balance Sheet Date that, individually and in the aggregate, do not have, and are
not reasonably likely to have, a Cubs Material Adverse Effect, and (c) consisting of future
performance obligations under Cubs Contracts or Transferred Benefit Plans (other than any
future performance obligations that relate to the breach of, or default under, any Cubs Contract
or Transferred Benefit Plan that occurred prior to Closing), provided that, for the avoidance of
doubt, nothing in this Section 2.7§c) affects the representations and warranties contained in
Sections 2.12 or 2.17ga1, and (d) listed on Schedule 2.7.

Section 2.8 Absence of Certain Changes. Except (w) as expressly contemplated by
this Agreement, (x) as set forth in Schedule 2.8, and (y) to the extent occurring after the date
hereof and permitted pursuant to Section 4.1, since December 30, 2007 (other than in the case of
Section 2.8§§), which shall be since December 28, 2008), the Contributing Tribune Entities have
conducted the Cubs Business in all material respects only in the Ordinary Course and there has
been no:

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(a) (i) other than with respect to Wrigley Field, development, change, event or
occurrence that, individually or in the aggregate, has had, or is reasonably likely to have, a Cubs
Material Adverse Effect, or (ii) with respect to Wrigley Field, development, change, event or
occurrence that, individually or in the aggregate, to the Knowledge of the Tribune Parties, has
had a Cubs Material Adverse Effect;

(b) amendment or other change to the certificate of formation or limited
liability company agreement of any of the Cubs Entities;

(c) other than commitments for capital expenditures that do not exceed
$200,000 individually or $500,000 in the aggregate, making of any capital expenditure
commitments (to the extent unpaid) with respect to the Cubs Business that are not contemplated
by the 2008 or 2009 capital budgets for the Cubs Business that Tribune has made available to
Bidder prior to the date of this Agreement;

(d) establishment, adoption, entering into, amendment or materially increasing
benefits under, or termination of: (i) any collective bargaining agreement covering Cubs Non-
Player Employees except, in the case of this clause (i), for the resolution of grievances in the
Ordinary Course; or (ii) other than in the Ordinary Course, any benefit plan or compensation
plan, arrangement or agreement (including bonus, profit sharing, pension or retirement, stock
option or other equity right, deferred compensation, severance or post-employment benefits) for
any Cubs Non~Player Employee;

(e) other than in the Ordinary Course or pursuant to a Contract with any Non-
Player Employee set forth in Schedule 2.17, increase in the base salary of, or payment of any
bonus to, such Cubs Non~Player Employee;

(f) change in any method of accounting or accounting practice relating to the
Cubs Business, except, after the date of this Agreement, as required by Law;

(g) material Tax election or change in Tax accounting, Tax calculating or Tax
reporting methods or practices relating to the Cubs Business that would be binding on Newco or
any of its Subsidiaries for any taxable period (or portion thereof) ending on or after the Closing;

(h) material change or material modification to any of the following insofar as
they relate to the Cubs Business: (i) written billing and collection policies, procedures and
practices with respect to accounts receivable or unbilled charges; (ii) written policies, procedures
and practices with respect to the provision of discounts, rebates or allowances; or (iii) written
payment policies, procedures and practices with respect to accounts payable; or

(i) any authorization, approval, agreement or commitment to do any of the
foregoing.

Section 2.9 Assets' Title.

 

(a) Except as set forth on Schedule 2.9ga1, the Cubs Contributed Assets (other
than the Owned Real Property and Leased Real Property, the structural and physical condition
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and suitability of which is addressed in Section 2.11(1`) and other sections expressly referred to in
Section 2.1 1§ j )) that are tangible assets of any kind or description are in good operating condition
and repair, ordinary wear and tear excepted, and suitable in all material respects for their current
and intended use.

(b) Except as set forth on Schedule 2.9(b1 and except for Cubs Excluded
Assets, the Cubs Contributed Assets and the assets, properties and rights used to provide services
pursuant to the Transition Services Agreement constitute all the material assets, real property,
properties and rights (i) owned, used, or held for use in connection with, or that are otherwise
required for the conduct of, the Cubs Business as currently conducted and, (ii) subject to any
assets disposed of or abandoned in the Ordinary Course since January 1, 2008, owned, used, or
held for use in connection with, or that were otherwise required for the conduct of, the Cubs
Business as conducted at any time since January 1, 2008. Except as set forth on Schedule 2.9gbj
and except for Cubs Excluded Assets, all of the assets reflected on the latest balance sheet
included in the Cubs Entity lnterim Financial Statements are included in the Cubs Contributed
Assets unless disposed of or abandoned in the Ordinary Course after the date of the Cubs Entity
lnterim Financial Statements and prior to the date hereof or in the Ordinary Course and in
compliance with this Agreement after the date hereof. All Cubs Contributed Assets reflected on
the Cubs Entity lnterim Financial Statements are owned by the Cubs Entities unless disposed of
in the Ordinary Course after the date thereof.

(c) The Contributing Tribune Entities have good title to, or hold valid and
existing leases or licenses for, all of the Cubs Contributed Assets (other than the Owned Real
Property and Leased Real Property, which is addressed in Section 2.11), free and clear of all
Liens, other than Permitted Liens and any Liens that will be extinguished by the Transaction
Approval Orders, Contributing Tribune Entities will at the Closing convey, or cause to be
conveyed, to Newco (other than with respect to the Direct Cubs Contributed Assets, which will
be conveyed to Direct Newco Subs) and Direct Newco Subs (with respect to the Direct Cubs
Contributed Assets) good title to, or a valid leasehold interest in or license for, all of the Cubs
Contributed Assets (other than the Owned Real Property and Leased Real Property, which is
addressed in Section 2.11), free and clear of all Liens, other than Permitted Liens.

Section 2. 10 lntellectual Property,

(a) Schedule 2.10(a) lists all Cubs lntellectual Property owned by a Tribune
Party for which registration has issued or has been applied for and is pending.

(b) Schedule 2.10gb) lists all registrations and pending applications for MLB
Cubs lntellectual Property.

(c) Schedule 2.10§c) lists all material lP Licenses, identifying all of the parties
thereto (and indicating which party is the licensor and which party is the licensee) and the date
thereof.

(d) Neither the operation of the Cubs Business nor any of the Cubs
lntellectual Property infringes, misappropriates or violates the lntellectual Property Rights of any

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Person in a manner that would reasonably be expected to result in a Tribune Party becoming
liable for any material damages or subject to an injunction of any kind (whether temporary,
preliminary, permanent or otherwise). There are no pending or, to the Knowledge of the Tribune
Parties, threatened claims against the Contributing Tribune Entities alleging that the operation of
the Cubs Business materially infringes, materially misappropriates or materially violates the
lntellectual Property Rights of any Person. The Cubs lntellectual Property will not be materially
adversely affected by the execution and delivery of this Agreement or the consummation of the
Transactions (other than the Newco Sale). Except as set forth on Schedule 2.10(d), to the
Knowledge of the Tribune Parties, no Person is infringing any of the Cubs lntellectual Property
which, individually or in the aggregate with all other infringements of the Cubs lntellectual
Property, is reasonably likely to have a Cubs Material Adverse Effect.

(e) The Cubs lntellectual Property, MLB Cubs lntellectual Property and any
lntellectual Property Rights used in connection with providing services under the Transition
Services Agreement together include all lntellectual Property Rights material to and currently
used in the operation of the Cubs Business,

(f) Except with such exceptions as, individually and in the aggregate, do not
have and are not reasonably likely to have, a Cubs Material Adverse Effect, (i) each registered
item of the Cubs lntellectual Property owned by a Tribune Party (other than MLB Cubs
lntellectual Property) is valid and enforceable, and all registrations thereof are valid and
subsisting, and (ii) all necessary documents and certificates in connection with such registered
Cubs lntellectual Property have been filed with the relevant patent, trademark, domain name
registrar or other authority in the United States, foreign jurisdiction or administrative agency, as
the case may be, for the purposes of registering or maintaining such Cubs lntellectual Property.

None of the representations and warranties set forth in this Section 2. 10 or otherwise is made or
otherwise applicable to the Designated Cubs Historical Broadcast Rights.

Section 2.11 Real Property,

(a) (i) Set forth on Schedule 2.11ga) is a list of all Real Property (indicating
the owner of each parcel) owned by the Cubs Entities or the Trusts (the “Owned Real
Property”). With respect to the Owned Real Property, (i) the applicable owner listed in
Schedule 2.11§aj has good and marketable indefeasible fee simple title to the Owned Real
Property listed as owned by it on Schedule 2.11§a1 and to all buildings, structures and other
improvements thereon, free and clear of all Liens other than Permitted Liens and any Liens that
will be extinguished by the Transaction Approval Orders, (ii) except as set forth on Schedule
2.11(a1, such owner has not leased or otherwise granted to any Person the right to use or occupy
the Owned Real Property except in the ordinary course of business and in a manner that will not
materially interfere with the operation of the Cubs Business in the Ordinary Course and (iii)
there are no outstanding options, rights of first offer or rights of first refusal to purchase any
Owned Real Property or any portion thereof or interest therein.

(ii) Other than Liens (A) relating to actions approved by Bidder in
writing, or (B) for which title insurance is provided pursuant to the Title Policies as set forth in

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Section 4.16, or (C) that are otherwise Permitted Liens, no new material Liens shall be created
on any of the Cubs Contributed Owned Real Property or lnsured Leased Real Property after the
date hereof and prior to or on the Closing Date.

(b) Schedule 2.11gb) lists all Real Property (listing the corresponding Real
Property Lease and indicating the lessor and lessee for each parcel) leased, subleased or licensed
by any Cubs Entity (the “Leased Real Property”). Except as set forth on Schedule 2.11(b), all
of the Real Property Leases are in writing, and copies of all Real Property Leases and all material
amendments thereto have been made available to Bidder (all of which are listed on Schedule
2.11§b)) prior to the date of this Agreement.

(c) As of the date hereof, no Tribune Party or, to the Knowledge of the
Tribune Parties, a Trust has received written notices of any special assessments for public
improvement pending or threatened against the Owned Real Property.

(d) As of the date hereof, except as set forth on Schedule 2.11gd), no Tribune
Party or, to the Knowledge of the Tribune Parties, a Trust has received written notice of any
material tax reduction proceedings pending against the Owned Real Property.

(e) Except as set forth on Schedule 2.11§e1, no Tribune Party or Trust has
outstanding construction contracts for work to be done on the Owned Real Property, and no
construction work has been done on the Owned Real Property in the past six months, pursuant to
which there is more than $300,000 ( in the aggregate for all Owned Real Property) owed to the
contractors performing such work.

(f) Tribune has made available to Bidder true, correct and complete copies of
(i) all material engineering reports prepared by or on behalf of Tribune or any of its Subsidiaries
at any time since January 1, 2007 that relate to the Owned Real Property and (ii) all material
engineering reports prepared by or on behalf of Tribune, any of its Subsidiaries or the Trusts at
any time on or before January 1, 2007 and since January 1, 2005 of which the Tribune Parties
have Knowledge that relate to the Owned Real Property.

(g) Cubs LLC is the sole beneficiary under a Trust Agreement, dated May 21,
1992 and known as Trust Number 115551-09 (the “Clark Trust”), of which Chicago Title Land
Trust Company (“Trustee”) is trustee, which owns fee title to certain real property more
formally known as 3811-3815 N. Clark Street, Chicago (the “Clark Property”). Cubs LLC has
the authority and power to direct Trustee to convey title to the Clark Property to Newco.

(h) Cubs LLC is the sole beneficiary under a Trust Agreement, dated August
27, 1991 and known as Trust Number 114447-00 (the “Racine Trust”), of which Trustee is
trustee, which owns fee title to certain real property more formally known as 3822 N. Racine
Street, Chicago (the “Racine Property”). Cubs LLC has the authority and power to direct
Trustee to convey title to the Racine Property to Newco.

(i) No Contributing Tribune Entity is identified in the Office of Foreign
Assets Control Specially Designated Nationals and Blocked Persons list, or any comparable list

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prepared by the Office of Foreign Assets Control, Department of Homeland Security,
Department of State, or Department of the Treasury, or is in violation of any anti-money
laundering or anti-terrorism law.

(j) Except as set forth on Schedule 2.11(]`§, no Tribune Party has any
Knowledge of an actual structural deficiency at Wrigley Field with respect to which a qualified
third Person expert retained by or on behalf of a Tribune Party has advised the Cubs Entities
requires significant repair such that failure to repair would reasonably be expected to cause a
Cubs Material Adverse Effect during the 2009 or 2010 baseball season. For the avoidance of
doubt, this Section 2.11(i) and Sections 2.5, 2.8(a), 2.9(b) and 2.14 (in each case, to the extent
such sections relate to the Cubs Contributed Owned Real Property) are the sole and exclusive
representations or warranties with respect to the structural and physical condition of any Cubs
Contributed Owned Real Property or sufficiency of any Cubs Contributed Owned Real Property
for its current or intended use. Notwithstanding anything in this Agreement to the contrary, no
item contained in any Schedule to this Agreement shall be deemed an exception to this Section
2.1 11 j 1 unless such disclosure is specifically set forth on Schedule 2.11§]`1.

(k) Except as set forth on Schedule 2.11§k), as of the date hereof there are no
current/pending material insurance claims with respect to any of the Owned Real Property.

Section 2.12 Employee Benefits.
(a) Schedule 2.12§a) lists each Benefit Plan.

(b) Prior to the date of this Agreement, Tribune Parties have made available to
Bidder copies or summaries of each material Benefit Plan. For each Transferred Benefit Plan,
the Tribune Parties have made available to Bidder copies of, (i) the current summary plan
description, (ii) summaries of material modifications, (iii) related trust agreements (or other
funding arrangements) or insurance contracts, (iv) the latest lRS determination letter, (v) the
latest annual financial statements (including both accounting statements and complete actuarial
reports for all defined benefit plans), and (vi) the latest annual reports on Form 5500 (including
all required schedules and accountants’ opinions).

(c) Except as provided on Schedule 2.12gc L, each Benefit Plan is and has been
operated and administered in all material respects in accordance with its terms, the terms of any
collective bargaining agreement, and all applicable Laws. Each Benefit Plan that is intended to
be qualified under Section 401(a) of the Code has a current favorable determination letter or is
entitled to rely on an opinion letter from the lRS as to its tax-qualified status, and to the
Knowledge of the Tribune Parties, there are no circumstances that could reasonably be expected
to result in revocation of such favorable determination letter or that would adversely affect the
qualified status of such plan. No Tribune Party has utilized the Employee Plans Compliance
Resolution System to remedy any qualification failure of any Benefit Plan or the U.S.
Department of Labor’s Voluntary Fiduciary Correction Program to correct any fiduciary
violations under any Benefit Plan, other than corrections that do not require a filing with the lRS
or the Department of Labor.

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(d) All contributions and premium payments required to be paid under or with
respect to any Transferred Benefit Plan have been timely paid and any amounts withheld from
employees for pension, welfare, or other benefits have been timely deposited into the appropriate
trust accounts.

(e) The Tribune Parties have made all contributions required to be made by
them to any Multiemployer Plan,

(f) Except as provided in Schedule 2.12§f), none of the Cubs Entities has
during the last six years maintained or contributed to, or had an obligation to contribute to, or has
any liability or obligation under a Multiemployer Plan with respect to any Cubs Employee.

(g) With respect to any “defined benefit plan,” within the meaning of Section
3(35) of ERlSA, maintained or contributed to by Tribune Parties or any ERlSA Affiliate for the
benefit of any Cubs Employee; (i) no liability to the Pension Benefit Guaranty Corporation
(“PBGC”) has been incurred (other than for premiums not yet due); (ii) no notice of intent to
terminate any such plan has been filed with the PBGC or distributed to participants and no
amendment terminating any such plan has been adopted; (iii) no proceedings to terminate any
such plan have been instituted by the PBGC, and to the Knowledge of the Tribune Parties, no
event or condition has occurred which would reasonably be expected to constitute grounds under
Section 4042 of ERlSA for the termination of, or the appointment of a trustee to administer, any
such plan; (iv) no “accumulated funding deficiency,” within the meaning of Section 302 of
ERlSA or Section 412 of the Code, whether or not waived, has been incurred; (v) except as
provided on Schedule 2.12 , no “reportable event” within the meaning of Section 4043 of
ERlSA (for which the 30-day notice requirement has not been waived by the PBGC) has
occurred within the last six years; (vi) no Liens on assets of Cubs Entities have arisen or are
likely to arise under ERlSA or the Code; and (vii) there has been no cessation of operations at a
facility subject to the provisions of Section 4062(e) of ERlSA within the last six years.

(h) Except as provided in Schedule 2.12gh1, there are no actions, suits or
claims (other than routine claims for benefits) with respect to any Benefit Plan pending or, to the
Knowledge of Tribune Parties, threatened, which could give rise to a material liability of Newco
or any Newco Sub, and Tribune Parties have no Knowledge of any facts which are reasonably
likely to give rise to any such actions, suits or claims (other than routine claims for benefits).
Except as set forth on Schedule 2.12§h1, there is currently no audit or Action by any Government
Authority against or involving any Benefit Plan and, to the Knowledge of Tribune Parties, there
is no such audit contemplated or under consideration, or any investigation pending, contemplated
or under consideration, by any such Government Authority.

(i) No event has occurred and no condition exists with respect to any Benefit
Plan that is reasonably likely to subject Bidder, Newco, any Newco Sub or any of their
respective employees, agents, directors, or Affiliates, directly or indirectly (through
indemnification or otherwise), to a liability for breach of fiduciary duty, a “prohibited
transaction” within the meaning of Section 406 of ERlSA or Section 4975 of the Code, or any
tax, penalty, or fine under Section 502 or 4071 of ERlSA or Subtitle D, Chapter 43 of the Code.

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(j) No event has occurred and no condition exists with respect to any
employee benefit plan or arrangement currently or previously maintained or contributed to by
any ERlSA Affiliate of Tribune which could subject Bidder, Newco, any Newco Sub or any of
their respective Affiliates or employees, directly or indirectly (through an indemnification
agreement or otherwise), to liability, including liability under Sections 412, 4971 or 4980B of the
Code or Title lV of ERlSA.

(k) Each “plan” (within the meaning of such term as used in Treas. Reg. §
1.409A-1(c)) that covers any Cubs Employee and that is a “non-qualified deferred compensation
plan” (within the meaning of Section 409A(d)(1) of the Code and Treas. Reg. § 1.409A-1(a))
and is otherwise subject to Section 409A of the Code (a “409A Plan”) that was in effect prior to
January 1, 2009, (i) between the later of January l, 2005 and the effective date of such 409A
Plan and December 31, 2008, was operated in compliance with Section 409A of the Code based
on a good faith, reasonable interpretation of the statute and applicable lnternal Revenue Service
guidance, (ii) since January 1, 2009 has been operated in full compliance with Section 409A and
the final regulations promulgated thereunder, and (iii) was amended prior to January 1, 2009 to
fully comply with the requirements of the final regulations promulgated under Section 409A of
the Code and to eliminate all provisions that violate, or could give rise to a violation of, Section
409A. Each 409A Plan adopted or entered into on or after January 1, 2009 has, since it first
became effective, fully complied in form and operation with the requirements of Section 409A of
the Code and the final regulations promulgated thereunder, No “non-qualified deferred
compensation plan” that covers any Cubs Employee that would be a 409A Plan but for the
effective date provisions applicable to Section 409A of the Code as set forth in Section 885(d) of
the American Jobs Creation Act of 2004, as amended (the “AJCA”), has been “materially
modified” within the meaning of Section 885(d)(2)(B) of the AJCA after October 3, 2004. Since
January 1, 2005, each Tribune Party has fully complied with all withholding or reporting
obligations imposed on it under Section 409A. No Tribune Party has any actual or potential
liability with respect to any 409A Plan, including, but not limited to, any obligation to make any
gross-up, make-whole, or other additional payment with respect to taxes, interests or penalties
imposed under Section 409A of the Code, other than for the payment of normal benefits in
accordance with the terms of such 409A Plan.

(l) Except as set forth on Schedule 2.12§1[, neither the execution and delivery
of this Agreement nor the consummation of the Transactions (other than the Newco Sale) (either
alone or in conjunction with any other event) will, with respect to any Cubs Employee, or as
provided in Article V: (i) increase any benefits otherwise payable under any Benefit Plan; (ii)
result in any acceleration of the time of payment or vesting of any such benefits; (iii) result in the
payment of any retention, stay bonus, change of control, enhanced severance, or similar
payments becoming due to, or with respect to, any Cubs Employee; (iv) limit or prohibit the
ability to amend or terminate any Benefit Plan; (v) require the funding of any trust or other
funding vehicle; or (vi) renew or extend the term of any agreement in respect of compensation
for an employee of a Cubs Entity or the Cubs Business, in each case that would create any
liability to Bidder, Newco or any Newco Sub. Except as set forth on Schedule 2.12(11, no
payment or series of payments that would constitute a “parachute payment” (within the meaning
of Section 280G of the Code) has been made or will be made by Tribune or any of its Affiliates,

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directly or indirectly, to any Cubs Employee in connection with the execution of this Agreement
or as a result of the consummation of the Transactions (other than the Newco Sale).

(m) Except as set forth on Schedule 2.12§m[, no Benefit Plan is maintained
outside the United States or provides a benefit to any Cubs Employee whose principal place of
employment is outside the United States.

(n) Cubs Entities, Tribune and any other applicable Affiliate of Tribune have,
in good faith, properly classified for all purposes (including for Tax purposes and for purposes of
determining eligibility to participate in any Benefit Plan) all Persons who have performed
services for or on behalf of the Cubs Business and have properly withheld and paid all applicable
Taxes and made appropriate filings in connection with services provided by such Persons to the
Cubs Business in accordance with such classifications

(o) Other than Cubs Entities, neither Tribune nor any Affiliate of Tribune is a
contributing employer to any of the Transferred Benefit Plans.

(p) Schedule 2.12§p) sets forth any bonus or other amount payable to a Cubs
Employee (i) as a result of the Transactions (other than the Newco Sale) (including, for the
avoidance of doubt, any bonus or other amount payable pursuant to Section 5.3 ), or (ii) under
Tribune’s Management Equity lncentive Plan.

(q) Notwithstanding the foregoing, other than as set forth in Section 2. 12 e or
(f), any representation or warranty being made in this Section 2.12 relating to any Multiemployer
Plan or Transferred Benefit Plan included in the definition of Benefit Plan is only being made to
the Knowledge of the Tribune Parties.

Section 2.13 Labor Matters.

(a) Tribune Parties have delivered to the Bidder by e-mail, dated August 20,
2009, from Ryan D. Harris of McDermott Will & Emery LLP to Kevin R. Schulz of Foley &
Lardner LLP a list of all Cubs Non-Player Employees, as of August 19, 2009, 2009, including
for each such employee, his or her: (i) name, (ii) job title, (iii) department, (iv) base salary or
wage rate, (v) date of hire, (vi) status as a full-time or part-time employee, (vii) location, (viii)
2008 bonus or commission, (ix) exempt or non-exempt status, and (x) status as a bargaining unit
or non-bargaining unit employee, Such list also lists each Cubs Non-Player Employee who was
on a leave of absence as of August 19, 2009. Set forth on Schedule 2.13(a) is a list of all Cubs
Player Employees and Cubs Non-Player Employees, identifying each as either a Cubs Player
Employee or Cubs Non-Player Employee, as of the date hereof.

(b) Except (i) as set forth on Schedule 2.13§b1, (ii) for general corporate and
finance services and (iii) for employees that have provided the types of services to be provided
pursuant to the Transition Services Agreement, in the twelve months prior to the date of this
Agreement, no employee of Tribune or any of its Affiliates (other than Cubs Entities) has
performed material services in connection with the operation of the Cubs Business, other than

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such services provided in connection with this Agreement and the Transactions (other than the
Newco Sale).

(c) Except as set forth on Schedule 2. l3(c1, with respect to Cubs Non~Player
Employees, no Cubs Entity is a party to or bound by any collective bargaining agreement, nor,
since January 1, 2007, has any Cubs Entity experienced any strikes, grievances, claims of unfair
labor practices, arbitrations, or other collective bargaining disputes with respect to the Cubs Non-
Player Employees, nor, to the Knowledge of the Tribune Parties, is any such action threatened
Except as set forth on Schedule 2.13(cl, to the Knowledge of the Tribune Parties, there is no
organizational effort currently being made or threatened by or on behalf of any labor union with
respect to the Cubs Non-Player Employees.

Section 2. 14 Environmental Matters.

 

(a) Except as set forth on Schedule 2.14(al and with such exceptions as,
individually and in the aggregate, do not have and are not reasonably likely to have, a Cubs
Material Adverse Effect:

(i) the Cubs Business and the Cubs Real Property are in compliance
with all applicable Environmental Laws;

(ii) any environmental Permits required in connection with the
operations of the Cubs Business as currently conducted have been obtained the Cubs Business is
in compliance with the terms and conditions of such Permits, and no actions or proceedings are
pending or, to the Knowledge of Tribune Parties, threatened to revoke, modify or terminate any
environmental Permit;

(iii) (A) there are no underground storage tanks on the Mueller

Building and T-Building Property and no Hazardous Materials have been spilled or released in,
on or under the Mueller Building and T-Building Property by Tribune Parties in an amount that
would trigger a current reporting or remediation obligation under current Environmental Laws,
and (B) to the Knowledge of Tribune Parties, there are no underground storage tanks on any of
the Cubs Real Property and, to the Knowledge of Tribune Parties, no Hazardous Materials have
been spilled or released in, on or under any of the Cubs Real Property (other than the Mueller
Building and T-Building Property) by Tribune Parties in an amount that would trigger a current
reporting or remediation obligation under current Environmental Laws;

(iv) no Tribune Party or, to the Knowledge of the Tribune Parties,
either Trust has received written notice of, and Tribune Parties have no Knowledge of, any order,
directive, claim or demand from any Government Authority that remains outstanding or
unresolved with respect to any actual or potential liability under Environmental Law on the part
of any Cubs Entity or related to the Cubs Business or any of the Cubs Contributed Assets;

(v) none of the Cubs Entities, Tribune, Non-Cubs Contributing
Tribune Entities, or, to the Knowledge of the Tribune Parties, the Trusts is the subject of any
outstanding written notice, order, directive, claim or demand or Contract with any Govemment

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Authority or other Person relating to the Cubs Business or any of the Cubs Contributed Assets
respecting any: (A) Environmental Laws; (B) Remedial Action; or (C) any release or threatened
release of Hazardous Material; and

(vi) none of the Cubs Entities, Tribune, Non-Cubs Contributing
Tribune Entities, or, to the Knowledge of the Tribune Parties, the Trusts is currently in any
negotiations, agreements or undertakings with any Person relating to any Remedial Action on the
Cubs Real Property or otherwise relating to the Cubs Business.

(b) Tribune Parties have made available to Bidder (and listed in full on
Schedule 2.14§b)) prior to the date of this Agreement (i) copies of all material reports, studies,
tests, and any results of monitoring programs, in each case commissioned by a Tribune Party and
in the possession of Tribune or any of its Subsidiaries, within the last two years, pertaining to the
generation, storage, use, handling, transportation, treatment, emission, spillage, disposal, release
or removal of Hazardous Materials at, in, on or under the Owned Real Property or the Leased
Real Property; (ii) copies of any environmental investigations or assessments of the Owned Real
Property or the Leased Real Property conducted by Tribune or its Subsidiaries or any
environmental consultant engaged by either of them since January 1, 2007; and (iii) copies of
any environmental investigations or assessments of the Owned Real Property or the Leased Real
Property conducted by Tribune or its Subsidiaries or any environmental consultant engaged by
either of them on or before January 1, 2007 of which the Tribune Parties have Knowledge.

Section 2. 15 Taxes.

(a) Each Tribune Party and any consolidated combined or unitary group of
which any Tribune Party is or was a member has timely filed all material Tax Returns which are
required to be filed by it in respect of the Cubs Business; and such Tribune Party (or
consolidated combined or unitary group) has timely paid all Taxes shown as due on such Tax
Returns. All such Tax Returns were correct and complete in all material respects.

(b) Except as set forth on Schedule 2.15gbl, there are no Liens for Taxes
(except for Taxes not yet due or for which adequate reserves have been established on the Cubs
Entity lnterim Financial Statements in accordance with GAAP) upon any of the Cubs
Contributed Assets.

(c) Except as set forth on Schedule 2.15gc1, there are no federal, state, local or
foreign Tax Audits currently pending with regard to any Taxes or Tax Returns of any of the
Tribune Parties (or any consolidated combined or unitary group of which any Tribune Party is or
was a member) in which a Taxing Authority has raised an issue that relates to the Cubs Business,
and, to the Knowledge of Tribune Parties, no such Tax Audit is threatened Except as set forth
on Schedule 2.15§c), to the Knowledge of Tribune Parties, no claim has ever been made by a
Taxing Authority in a jurisdiction where any Tribune Party does not file Tax Returns that it is or
may be subject to taxation by that jurisdiction as a consequence of operating the Cubs Business.
Prior to the date of this Agreement, Tribune Parties have made available to Bidder copies of all
Tax Returns, or portions thereof, relating to the Cubs Business of the Tribune Parties and their

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predecessors (and any consolidated combined or unitary group of which any Tribune Party or
predecessor is or was a member) for all taxable periods ending after December 31, 2005.

(d) No power of attorney has been granted by any of the Tribune Parties that
is currently in force with respect to any matter relating to Taxes and that will be binding on
Newco or any Subsidiary thereof for any taxable period (or portion thereoD ending after the
Closing. No Tribune Party has requested or received a ruling from, or entered into a closing or
other agreement with, any Taxing Authority (nor has any such ruling been requested or received
or any agreement been entered into by any other party that binds or would bind any Tribune
Party) that will be binding on Newco or any Subsidiary thereof for any taxable period (or portion
thereoD ending after the Closing,

(e) There are no elections with respect to Taxes affecting the Cubs Business
that will bind Newco or any Subsidiary thereof for any taxable period (or portion thereof) ending
after the Closing, other than elections shown on or in the Tax Returns that have prior to the date
of this Agreement been made available to Bidder.

(f) Tribune Parties have complied with all applicable Laws relating to the
withholding of Taxes and have paid to the proper Taxing Authority on a timely basis all Taxes
required to have been withheld and paid in connection with amounts paid or deemed to have
been paid in connection with the Cubs Business, or owing to any employee, independent
contractor or other Person employed or contracted by a Tribune Party in connection with the
Cubs Business.

Section 2. 16 lnsurance. Schedule 2.16 contains a list of all insurance policies owned or
held by any Tribune Party or any of its Subsidiaries that covers the Cubs Business, any Cubs
Player Employees or any Cubs Contributed Assets, including any insurance policies obtained
through Major League Baseball, and indicates the owner of each such policy and whether it is a
Cubs Contributed Asset. All such policies are in full force and effect, all premiums with respect
thereto have been paid to the extent due, and no written notice of cancellation, termination or
non-renewal has been received by Tribune or any of its Subsidiaries with respect to any such
policy.

Section 2. 17 Contracts.

(a) Schedule 2.17§a[ lists as of the date of this Agreement all of the following
written, and a brief description of all oral, Cubs Contracts (all of the Cubs Contracts required to
be listed on Schedule 2.17§a), together with the Real Property Leases, the Contracts that are
required to be listed on Schedule 2.11(b) and the Contracts required to be listed on Schedule
_2._1_8, the “Material Contracts”):

(i) any mortgage, indenture, note, installment obligation or other
instrument, agreement or arrangement for or relating to any Debt;

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(ii) any guaranty, direct or indirect, primary or secondary, of any
obligation for borrowings or otherwise (other than endorsements for collection or deposit made
in the Ordinary Course);

(iii) any collective bargaining agreement relating to any Cubs Non-
Player Employee, complete with any material still-active written agreements or confirmations of
agreement with any union that modify or explain the parties’ respective rights and/or obligations
pursuant to such collective bargaining Contract, such as material memoranda of understanding,
letter agreements, letters of understanding, grievance settlements, side agreements, and any
similar documents that purport to memorialize in writing a material agreement between the
applicable employer and union;

(iv) any Cubs Contract granting any Person a Lien, other than a
Permitted Lien, on any of the Cubs Contributed Assets;

(v) any Cubs Contract providing for the grant of any rights to purchase
or lease any of the Cubs Contributed Assets (other than in the Ordinary Course);

(vi) any Cubs Contract for the use of personal property involving
payments in excess of $50,000 per annum;

(vii) any Cubs Contract with a remaining term in excess of 12 months
that provides for annual aggregate payments by the Cubs Entities (contingent or otherwise,
including milestones, earn-outs, contingent payments and other future payment obligations) that
exceed have exceeded or would reasonably be expected to exceed $500,000 (other than
Contracts with Cubs Player Employees and Cubs Non-Player Employees), other than Contracts
that are terminable by a Tribune Party on less than 91 days’ notice (without imposing any
material obligation or liability on a Tribune Party);

(viii) any Cubs Contract with a remaining term in excess of 12 months
that provides for annual aggregate payments to any Cubs Entities (contingent or otherwise,
including milestones, earn-outs, contingent payments and other future payment obligations) that
exceed have exceeded or would reasonably be expected to exceed $350,000, other than
Contracts that are terminable by a Tribune Party on less than 91 days’ notice (without imposing
any material obligation or liability on a Tribune Party);

(ix) any Cubs Contract: (A) containing non-competition, non-
solicitation or other similar limitations restricting the conduct of the Cubs Business, or the ability
of the Cubs Business (including Newco or any of its Subsidiaries after the Closing) to compete
with any Person or to solicit the employees or customers of any Person; (B) that grants to the
other party “most favored nation” status; or (C) that grants to the other party any material
exclusive right or rights;

(x) all Cubs Contracts pursuant to which any Cubs Entity licenses
software that is material to the operation of the Cubs Business (other than COTS Software);

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(xi) any Contract imposing any material restrictions or limitations on
the sale or other transfer of any of the Cubs Contributed Assets, other than for purposes of this
clause (xi), anti-assignment provisions;

(xii) any Cubs Contract for a partnership, joint venture or similar
agreement;

(xiii) any Cubs Contracts involving any obligation or liability (whether
direct or indirect, fixed or contingent, known or unknown, due or to become due, accrued or
otherwise, and whether or not determined or determinable) as surety, co-signer, endorser, co-
maker, indemnitor or otherwise in respect of the obligations of any Person (other than a Cubs
Entity) (other than endorsements for collection or deposit made in the Ordinary Course);

(xiv) any Cubs Contract containing or providing for any Tax sharing,
Tax allocation or Tax indemnification;

(xv) any purchase, license or sale agreement, other than lP Licenses,
relating to the pending acquisition, licensing or disposition of any business or, other than in the
Ordinary Course, any Cubs Contributed Assets or Cubs Liabilities;

(xvi) any marketing or advertising Cubs Contract (A) with anticipated
revenue to a Cubs Entity in any 12-month period reasonably expected to be greater than
$100,000 or (B) granting any material exclusive rights;

(xvii) any written Contract with any Cubs Player Employees involving
payments in excess of $250,000 per year;

(xviii) other than Benefit Plans, any written Contract with any Cubs Non-
Player Employees relating to employment or compensation;

(xix) any Cubs Contract with any independent contractor that performs
services in connection with the Cubs Business with a remaining term of longer than 12 months or
involving the payment of more than 8100,000 per year, other than Contracts that either (i) are
terminable by either party on less than 91 days’ notice without imposing any material obligation
or liability on a Cubs Entity or (ii) do not require any material future payments by a Cubs Entity;

(xx) any material Contracts pursuant to which material services remain
to be performed with developers, architects, contractors, tenants or potential tenants, or licensees
relating to the Triangle Property (including any building proposed to be built thereon) or to any
of the following relating to Wrigley Field: left field expansion and club, right field expansion and
club, terrace reserved club, upgrade of current mezzanine boxes, addition of upper deck boxes,
addition of management boxes, behind horne lounge, left field upper deck expansion, and right
field upper deck expansion;

(xxi) any Contract that would change the name of, or grant the right to
any Person to change the name of, Wrigley Field (including by adding the association with
another name);

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(xxii) any Contract that would grant the right to any Person to name the
Triangle Property or any buildings or assets to be located thereon or to associate the name of
such Person or any other Person with the Triangle Property, any other Owned Real Property or
any buildings or assets to be located thereon;

(xxiii) any Contracts involving royalty payments to any Cubs Entity with
respect to the live, in-person viewing of any Major League Baseball game from a building
adjacent to Wrigley Field (the “Rooftop Agreements”) or any Contract that affects in any
material respect any royalty payments under a Rooftop Agreement or that will otherwise require
any Cubs Entity to refund any material royalty payments or otherwise make any material
payments under a Rooftop Agreement;

(xxiv) any Contracts related to non-baseball events scheduled to occur
after the date hereof at Wrigley Field pursuant to which a Tribune Party or any of its Subsidiaries
will or would reasonably be expected to receive $350,000 or more;

(xxv) other than pursuant to any MLB Rules and Regulations, any Cubs
Contracts granting any rights to broadcasts, whether radio, television or otherwise, of Major
League Baseball games in which the Club is a participant;

(xxvi) any Contracts providing for concession services at Wrigley Field
or the Triangle Property providing for annual payments to any Cubs Entity that would reasonably
be expected to exceed $100,000 during any baseball season;

(xxvii) any Contracts the primary purpose of which is to provide space for
parking multiple vehicles on days of Major League Baseball games or other events at Wrigley
Field;

(xxviii) any Contracts the primary purpose of which is to provide
services or systems related to the sale, exchange or resale of tickets;

(xxix) any written Player Development Agreements with any minor
league ball clubs; and

(xxx) any power of attorney.

(b) Except as set forth on Schedule 2.17gbj, Tribune Parties have prior to the
date of this Agreement made available to Bidder copies of all written Material Contracts, in each
case together with all material modifications, amendments and supplements thereto.

(c) With such exceptions as, individually and in the aggregate, do not have,
and are not reasonably likely to have, a Cubs Material Adverse Effect and except as listed on
Schedule 2.17gc): (i) all of the Material Contracts are in full force and effect and are valid and
binding on and enforceable against the applicable Contributing Tribune Entities, in accordance
with their terms and, to the Knowledge of Tribune Parties, on and against the other parties
thereto; (ii) none of the Contributing Tribune Entities is, nor to the Knowledge of Tribune
Parties, is any other party to any Material Contract, in breach of, or default under, any such

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Material Contract; (iii) neither Tribune nor any of its Subsidiaries has waived any material future
right under any Material Contract; (iv) no event has occurred that, with the giving of notice or
the lapse of time or both, would constitute a breach of, or default under, any Material Contract;
and (v) since January 1, 2007, neither Tribune nor any of its Subsidiaries has given to or received
from any other Person, any written notice or other written communication regarding any actual
or alleged violation or breach of, or default under, any Material Contract that has not been
resolved Notwithstanding the foregoing, with respect to any Material Contracts entered into on
behalf of Cubs LLC by a third party pursuant to authority granted to such third party by the
Major League Baseball Documents, such representations and warranties are made to Tribune’s
Knowledge.

(d) Except for Contracts that are entered into in connection with the services
being provided under the Transition Services Agreement and as set forth on Schedule 2.17§dl,
neither Tribune nor any of its Affiliates (other than the Cubs Entities) are parties to any Contract
that is primarily used in the Cubs Business or material to the operation of the Cubs Business.

Section 2.18 Transactions with lnsiders/Affiliate Transactions. Schedule 2.18 lists all
Contracts: (a) between (i) a Cubs Entity, on the one hand and (ii) Tribune or one or more
Affiliates of a Tribune Party (each of the foregoing Persons in this clause (a)(ii) being referred to
hereafter as an “Insider”), on the other hand (other than agreements entered into in the Ordinary
Course relating to the purchase of tickets at the same price as such tickets are offered to the
general public); and (b) to the Knowledge of the Tribune Parties, to which an insider is a party
that affects the Cubs Business or any of the Cubs Contributed Assets or Cubs Liabilities or under
which the Cubs Business or any of the Cubs Contributed Assets or Cubs Liabilities has received
any benefits. Schedule 2. 18 describes the material services provided to the Cubs Business by
Tribune and those of its Affiliates that are not Cubs Entities.

Section 2. 19 No Brokerage. Except as set forth on Schedule 2.19, all of the fees of
which shall be borne by the Cubs Entities (and none of which shall be Cubs Liabilities), there is
no investment banker, broker, finder or other similar intermediary who has been retained by or
on behalf of any Tribune Party or any of its Affiliates who might be entitled to any fee,
commission or other payment from Newco, any Newco Sub or any of their respective
Subsidiaries or from Bidder or any of their respective Affiliates upon consummation of the
Transactions (including the Newco Sale).

Section 2.20 Maior League Baseball Matters.

(a) Cubs LLC is the owner, holder and operator of a valid subsisting and
effective Major League Baseball franchise, which permits and authorizes Cubs LLC to operate a
professional Major League Baseball team currently known as the “Chicago Cubs.”

(b) Except as set forth on Schedule 2.20(bl, none of Tribune Parties is in
default in any material respect under the provisions of the Major League Baseball Documents.
To the Tribune Parties’ Knowledge, the Club is not subject to any pending investigation by
Major League Baseball nor is any investigation involving the Club, the Cubs Business or the
Cubs Contributed Assets threatened by Major League Baseball.

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(c) Since January 1, 2007, Tribune Parties have made all required and
currently due contributions to, and paid all material assessments, fines and other charges
(including revenue sharing payments) which have been assessed by Major League Baseball and
which are due, and there are no material outstanding unpaid contributions to, or assessments,
fines or other charges, which will not be included in the Statement and have been assessed by
Major League Baseball against Tribune Parties but have not been paid Since January 1, 2005,
the Tribune Parties have made all required revenue sharing payments to Major League Baseball,
except for any instances which have been cured without ongoing material consequence to the
operation of the Cubs Business and are not part of a pattern or course of conduct that would
reasonably be expected to continue after the Escrow Closing and to have a material adverse
impact on the Cubs Business.

(d) [Intentionally omitted]

(e) Except as set forth on Schedule 2.20§e), all Material Contracts and Club
player contracts required to be filed with Major League Baseball since January 1, 2007 have
been filed with Major League Baseball, and no such Material Contract or Club player contract
has been disapproved or rejected by Major League Baseball. Since January 1, 2007, Major
League Baseball has not notified Tribune Parties in writing that any of those Material Contracts
or Club player contracts violates Major League Baseball’s substantive requirements in any
material respects, including the requirements set forth in the MLB Rules and Regulations.

(f) Schedule 2.20gf)(i) lists and attaches all Major League Baseball revenue
sharing rulings issued to the Club since January 1, 1999. Schedule 2.20§f}§ ii) lists all pending
requests by the Club for a revenue sharing ruling. Schedule 2.20§§)§ iii) lists all years subject to a
revenue sharing audit, and with respect to each year, identifies the issues under review.

(g) Schedule 2.20§ gt sets forth a true and complete list of all annuities, life
insurance policies and other investment vehicles as in effect as of the date hereof (collectively,
the “Investment Vehicles”) purchased by Tribune Parties to discharge an obligation to any past
or present player or coach, and the amount to be discharged by such lnvestment Vehicles. All
such lnvestment Vehicles are in the name of Tribune Parties. Tribune Parties have paid all

premiums and made all investment contributions required in connection with the lnvestment
Vehicles.

Section 2.21 Player Matters. To Tribune Parties’ Knowledge, except as disclosed on
Schedule 2.21, no Cubs Player Employee is subject to suspension by the Club or Major League
Baseball, and no Cubs Player Employee is subject to any investigation by Major League
Baseball or the Club that may result in suspension, expulsion or material fines. Schedule 2.21
sets forth a list of each Cubs Player Employee and his service time under the Major League
Rules.

Section 2.22 Suites. Set forth on Schedule 2.22 is a list of all Suite Licenses to which
any of the Tribune Parties is a party with a term that extends beyond the 2009 Major League
Baseball season other than Contracts regarding marketing or sponsorship that provide for the use
of suites for longer periods, which are listed on Schedule 2.17gal. No Insider has any unsatisfied

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obligation to pay a Tribune Party pursuant to a Suite License for the 2009 Major League
Baseball season, regardless of whether such obligation was due prior to the date hereof or is due
on or after the date hereof.

Section 2.23 No Other Representations and Warranties. Except for the representations
and warranties contained in this Article ll, in Section 4.14(d), in the Tribune Escrow Closing
Certificate or in any other Transaction Documents, (a) no Tribune Party, and none of their
respective Affiliates and no other Person, makes any representations or warranties, written or
oral, statutory, express or implied with respect to the Cubs Business, the Cubs Contributed
Assets, the Cubs Liabilities, Cubs Entities or their respective business, assets, liabilities, results
of operation or financial condition, and (b) without limiting the foregoing, no Tribune Party, and
none of their respective Affiliates and no other Person, is making any representation or warranty
to Bidder with respect to the Newco Sale (except as otherwise expressly set forth in Section
ZM or any financial projection or forecast relating to the business, assets, liabilities, results of
operation or financial condition of the Cubs Business or the information contained in the Data
Room, any confidential information memorandum or similar document relating to the Cubs
Business or contained in any other written or oral presentation by management, discussion or
other commentary of Tribune or any Cubs Entity, Bidder, Newco and any Newco Sub each
hereby expressly waives any other claims and causes of action and any other representations or
warranties, express, implied at common law, by Law or otherwise, in each case relating to the
accuracy, completeness or materiality of any other information, data or other materials (written
or oral) heretofore furnished to them and their Representatives by or on behalf of Tribune or any
of its Subsidiaries. Nothing in this Section 2.23 shall limit the right of any Bidder lndemnified
Person with respect to fraud or the inaccuracy or breach of any of the representations and
warranties contained in this Article ll, in Section 4.14(d) or in the Tribune Escrow Closing
Certificate and the indemnity obligations for inaccuracy or breach thereof pursuant to Section

8.2ga)(i).

ARTICLE lll

REPRESENTATIONS AND WARRANTIES OF BIDDER

Bidder represents and warrants to and for the benefit of Tribune Parties, and the Ricketts
Lender represents and warrants to and for the benefit of Tribune Parties only with respect to
Sections 3.1 to §§ and only then as such sections relate to the Ricketts Lender, as of the date of
this Agreement, the Escrow Closing Date and the Closing Date as follows:

Section 3.1 Organization', Good Standing. Bidder is a limited liability company duly
organized validly existing and in good standing under the laws of the State of Delaware. Bidder
Trust is an irrevocable trust that was created under the laws of the State of Nebraska and is
currently administered under the laws of the State of Delaware. Each of Bidder, Bidder Trust
and Ricketts Lender (collectively, the “Bidder Parties”) is duly qualified or licensed to do
business and is in good standing in the jurisdictions in which the conduct of its business requires
such qualification or licensing, except for such failures to be qualified and in good standing that,
individually or in the aggregate, do not have, and are not reasonably likely to have, a material
adverse effect on the ability of Bidder Parties to perform their obligations, if any, under this

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Agreement or any of the other Transaction Documents to which they are a party. Bidder Trust
owns all of the issued and outstanding equity interests of Bidder.

Section 3.2 Authority. Each Bidder Party has all requisite power and authority to
execute and deliver this Agreement (if applicable) and the other Transaction Documents to
which it is or will be a party, to perform its obligations, if any, hereunder and thereunder and to
consummate the Transactions. The execution and delivery by each Bidder Party of this
Agreement (if applicable) and the other Transaction Documents to which it is or will be a party,
the performance by each Bidder Party of its obligations, if any, hereunder and thereunder and the
consummation by each Bidder Party of the Transactions have been duly and validly authorized
by all necessary action on the part of each Bidder Party and no other proceedings on the part of
either Bidder Party, its members, trustee, beneficiaries or otherwise is required to authorize this
Agreement (if applicable) or other Transaction Documents to which either Bidder Party is or will
be a party or for either Bidder Party to consummate the Transactions. This Agreement (if
applicable) has been, and, upon execution and delivery thereof by each Bidder Party, each of the
other Transaction Documents to which either Bidder Party is or will be a party shall be, duly and
validly executed and delivered by each Bidder Party and assuming the due and valid
authorization, execution and delivery by the other parties thereto, constitute, or in the case of
each such other Transaction Document, shall constitute, a valid and binding obligation of each
Bidder Party, enforceable against it in accordance with their respective terms, except as
enforceability may be limited by bankruptcy, insolvency, fraudulent transfer, reorganization,
moratorium or other similar Laws affecting or relating to creditors’ rights and general principles
of equity.

Section 3.3 Non~Contravention. The execution and delivery by each Bidder Party of
this Agreement (if applicable) and the other Transaction Documents to which it is or will be a
party, the performance by each Bidder Party of its obligations hereunder (if applicable) and
thereunder, the consummation by each Bidder Party of the Transactions, and the compliance by
each Bidder Party with any of the provisions hereof (if applicable) and thereof, does not and
shall not: (a) conflict with or violate any provision of the certificate of incorporation or bylaws
(or comparable organizational documents) of Bidder or Ricketts Lender or (ii) the Bidder Trust
Governing Documents; (b) require on the part of Bidder Party any material notice or material
filing with, or any material Permit, or other material authorization of, or any material exemption
by, any Government Authority, except in connection with or in compliance with the provisions
of the HSR Act; (c) conflict with, result in a violation or breach of, constitute a default under,
result in the acceleration of, give rise to any right to accelerate, terminate, modify or cancel, or,
except for the MLB Approvals as provided under this Agreement, require any notice, consent,
authorization, approval or waiver under, or create or change any rights or obligations under, any
Contract to which any Bidder Party is a party or any Perrnit by which any of the assets or
businesses is bound; or (d) with the passage of time, the giving of notice or the taking of any
action by another Person, have any of the effects described in clauses (a) through (c) of this
Section 3.3, with such exceptions as, individually and in the aggregate, do not have, and are not
reasonably likely to have, a material adverse effect on the ability of Bidder to perform its
obligations, if any, under this Agreement or any of the other Transaction Documents to which it
is a party.

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Section 3.4 Financing. Attached hereto as Exhibit M-l is a true and complete copy of
an equity commitment letter (the “Equity Commitment Letter”), dated the date of this
Agreement, which provides for (a) an amount to be funded to the Closing Agent on the Escrow
Closing Date and released to Newco as an equity contribution to Newco on the Closing Date
equal to the sum of (i) $150,000,000, plus (ii) an amount, if any, equal to the Transaction
Expense Shortfall, and (b) an amount to be funded to the Closing Agent on the Escrow Closing
Date and released to Ricketts Lender as an equity contribution to Ricketts Lender on the Closing
Date equal to $35,000,000. Attached hereto as Exhibit M-2 is a true and complete copy of an
amended and restated debt commitment letter, dated as of August 21, 2009 (the “Senior Debt
Commitment Letter”), which in the aggregate provides for Senior Debt Financing of
$450,000,000 (subject to reduction as set forth in Section 4.11(e)) for Newco, of which an
amount equal to $425,000,000 (subject to reduction as set forth in Section 4.11(e[) would be
funded to the Senior Lender Agent on the Escrow Closing Date and released to the Closing
Agent on the Closing Date, Attached hereto as Exhibit M-3 is a true and complete copy of the
commitment (the “Subordinated Debt Commitment Letter,” and together with the Equity
Commitment Letter and the Senior Debt Commitment Letter, are referred to as the
“Commitment Letters”; the Commitment Letters other than the Equity Commitment Letter are
referred to as the “Debt Commitment Letters”), dated on or prior to the date of this Agreement,
which provides for (x) Subordinated Debt Financing for Newco in an amount of $248,750,000
(which amount may be increased in accordance with the terms of Section 4.11§e)), which amount
will be funded to the Closing Agent on the Escrow Closing Date and released on the Closing
Date upon the issuance of such Subordinated Debt Financing, and (y) $20,000,000 to be funded
to the Closing Agent on the Escrow Closing Date and released on the Closing Date to capitalize
Ricketts GuarantyCo. The Commitment Letters are in full force and effect and are valid and
binding on the financing sources parties thereto; provided however, that after the date of this
Agreement, Commitment Letters may be replaced in accordance with Section 4.11(c1 or §_e_), and
on the Escrow Closing Date, the Senior Debt Commitment Letter will expire and be replaced by
the Bank Credit Agreement. The obligations of the financing sources to fund the commitments
under the Commitment Letters are not subject to any condition other than as set forth in the
Commitment Letters or, following execution thereof in accordance with the Commitment
Letters, the Bank Credit Agreement. The Lead Arrangers (as defined in the Senior Debt
Commitment Letter) and the Lenders (as defined in the Senior Debt Commitment Letter) have
received (i) the full amount of the lriitial Payment (as defined in the Senior Debt Commitment
Letter) and (ii) all lriitial Costs (as defined in the Senior Debt Commitment Letter). To the
Knowledge of Bidder, no event has occurred that (with or without notice, lapse of time, or both)
would constitute a breach or default under the Commitment Letters by any party thereto. Bidder
has no Knowledge of any facts or circumstances that are reasonably likely to result in (i) any of
the conditions set forth in the Commitment Letters not being satisfied or (ii) the funding to
Newco contemplated in the Commitment Letters not being made available to Newco on a timely
basis in order to consummate the Transactions.

Section 3.5 No Brokerage. Other than GSP Securities LLC and Barclays Capital lnc.
(as successor to Lehman Brothers lnc.), all of the fees of which (in their capacities as investment
banker, broker, finder or other similar intermediary) are to be borne by Bidder or one of its
Affiliates (other than Newco or its Subsidiaries), there is no investment banker, broker, finder or

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other similar intermediary who has been retained (in such capacity) by or on behalf of any
Bidder Party or any of its Subsidiaries who might be entitled to any fee, commission or other
payment from Newco, any Newco Sub or any of their respective Subsidiaries or from any
Tribune Party or any of their respective Affiliates upon consummation of the Transactions

Section 3.6 Title and Survey. Bidder has received and is satisfied with (a) (i) the pro
forma owners title insurance policies with respect to each parcel of Cubs Contributed Owned
Real Property and (ii) the pro forma leasehold title insurance policies with respect to each parcel
of lnsured Leased Real Property, all as attached hereto as Exhibit G-2 (collectively, the “Pro
Forma Title Policies”) and all as issued by Chicago Title lnsurance Company (the “Title
Company”) and (b) the surveys for the Cubs Contributed Owned Real Property, in each case
described on Schedule 3.6.

Section 3.7 Bidder Trust Documents, Prior to the date of this Agreement, Bidder has
delivered to Tribune true and complete copies of the Bidder Trust Governing Documents, each
as in effect on the date hereof. Bidder Trust owns 100% of the equity interest of Bidder.

 

Section 3.8 Inforrnation Provided to Major League Baseball. Bidder has provided all
information to Major League Baseball concerning itself and its Affiliates required by Major
League Baseball in compliance with the MLB Rules and Regulations, which information is
accurate in all material respects and does not contain any untrue statement of material fact or
omit to state a material fact necessary to make the statements therein not misleading.

Section 3.9 Newco. Newco has not conducted any business or taken any actions (and

prior to Closing will not conduct any business or take any actions) other than in furtherance of
the consummation of the Transactions contemplated hereby.

Section 3.10 No Other Representations and Warranties. Except for the representations
and warranties contained in this Article lll, in the Bidder Escrow Closing Certificate or in any
other Transaction Documents, (a) no Bidder Party and none of their respective Affiliates and no
other Person, makes any representations or warranties, written or oral, statutory, express or
implied with respect to any Bidder Party or any of their respective Affiliates or their respective
business, assets, liabilities, results of operation or financial condition, and (b) without limiting
the foregoing, no Bidder Party, and none of their respective Affiliates and no other Person, is
making any representation or warranty to Tribune Parties with respect to any financial projection
or forecast relating to any Bidder Party or any of their respective Affiliates or their respective
business, assets, liabilities, results of operation or financial condition or the information
contained in any proposals submitted by or on behalf of any Bidder Party to Tribune. Tribune
Parties each hereby expressly waive any claims and causes of action and any other
representations or warranties, express, implied at common law, by Law or otherwise, in each
case relating to the accuracy, completeness or materiality of any other information, data or other
materials (written or oral) heretofore furnished to them and their Representatives by or on behalf
of any Bidder Party or any of their respective Affiliates. Nothing in this Section 3.10 shall limit
the right of any Tribune Party with respect to fraud or the inaccuracy or breach of any of the
representations and warranties contained in this Article lll or in the Bidder Escrow Closing

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Certificate and the indemnity obligations for inaccuracy or breach thereof pursuant to Section

8.2§b §§ i ).
ARTICLE IV

COVENANTS

Section 4.1 Conduct of Cubs Business. Except (w) as set forth on Schedule 4.1, (x) as
required by applicable Law (provided that Tribune will to the extent permissible under Law and
the MLB Rules and Regulations provide notice to Bidder), (y) as otherwise expressly required or
permitted by this Agreement, or (z) with the prior written consent of Bidder (which consent shall
not be unreasonably withheld conditioned or delayed; otherwise, such consent may be withheld
in Bidder’s sole discretion), from and after the date of this Agreement and until the Closing,
Tribune Parties shall, and Tribune shall cause each Contributing Tribune Entity to:

(a) except to the extent restricted by the terms of this Agreement (including
the remainder of this Section 4.1 >, conduct the Cubs Business in the Ordinary Course in all
material respects;

(b) subject to the limitations imposed by the remainder of this Section 4.1, use
reasonable best efforts consistent with past practice to: (A) preserve intact the Cubs Business;
(B) keep available to Bidder the services of all Cubs Non~Player Employees (without obligation
to increase or pay additional compensation to any such Cubs Non-Player Employees); (C)
preserve for Bidder the goodwill of sponsors, advertisers and broadcasters of the Cubs Business,
which shall not require the Tribune Parties to renew any Contracts or exercise any rights
thereunder outside of the Ordinary Course; (D) not shorten or lengthen the customary payment
cycles for any of its payables or receivables; and (E) continue in full force and effect all
insurance listed as placed by “Cubs” and, to the extent that Tribune Parties can control the
continuation of such policies, “MLB” on Schedule 2.16 covering any of the Cubs Business or
any Cubs Contributed Assets; in each case, in all material respects;

(c) promptly deliver notice to Bidder in writing of any specific event or
circumstance of which they have Knowledge, or of which they receive notice, that: (A) has
resulted or could reasonably be expected to result in any of the conditions set forth in Section
Z._l, Section 7.2 or Section 7.4 not being satisfied; (B) with respect to any such event or
circumstance occurring on or after the Escrow Closing, would have resulted or would have
reasonably been expected to result in any of the conditions set forth in Section 7.1 or Section 7.2
not being satisfied if such event or circumstance had occurred prior to the Escrow Closing; (C)
any Action is pending or, to the Knowledge of Tribune Parties, threatened that relates to the
Transactions (including the Newco Sale); or (D) any of the covenants or agreements of Tribune
Parties contained in this Agreement is breached in any material respect;

 

(d) not establish, adopt, enter into or institute any material increase or material
change in any Benefit Plan with respect to the Cubs Non-Player Employees, except to the extent
required by the terms of such benefit plan or to comply with the terms of this Agreement or to
comply with notice and bargaining obligations under federal labor law; provided however, that

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Tribune Parties may amend any Benefit Plan with respect to Cubs Non~Player Employees if (A)
such amendment applies generally to similarly situated employees of Tribune or its Affiliates
participating in such Benefit Plan who are not Cubs Non-Player Employees or (B) such
amendment does not materially increase the cost of providing such benefits;

(e) use reasonable best efforts to obtain all consents required from third
parties whose consent or approval is required pursuant to any Material Contract, or otherwise to
consummate the Transactions (other than the Newco Sale), including all MLB Approvals;
provided however, that notwithstanding anything to the contrary in this Agreement, such action
shall not include any requirement of Tribune Parties or any of their Affiliates to pay money to
any third Person, commence or participate in any litigation, offer or grant any accommodation or
undertake any obligation or liability (in each case financial or otherwise) to any third Person
(including any Govemment Authority);

(f) not enter into (A) any advertisement or sponsorship Contract with any
Person for any Major League Baseball season after the 2009 season if (l) such Contract involves
revenues over the life of the Contract in excess of $5,000,000, (ll) such Contract was not
negotiated on an arm’s length basis, (lll) such Contract involves a disproportionate payment of
the revenues under such Contract in the 2009 season, (lV) the period of sponsorship or
advertisement thereunder includes any baseball season after the 2010 season or (V) such Person
has a material business relationship with Tribune or any of its Affiliates (other than the Cubs
Entities) and under such Contract the Cubs Entities will receive terms that are below market in
any material respect in respect of the Cubs Business and Tribune or any of its Affiliates (other
than the Cubs Entities) will (whether or not under such Contract) receive terms with respect to
any other business relationship that are better in any material respect than the terms that the
Tribune or any of such Affiliates would have received absent such Contract, (B) any Contract of
the type described in Sections 2.17(a)(xxi) or (xxii), (C) any Contract of the type described in
Section 2.17§ a)gxx) that, individually or in the aggregate with other such Contracts entered into
after the date of this Agreement, requires the payment of more than $250,000 after Closing, or
(D) any Contract pursuant to which any Newco Sub will have liability for capital expenditures
after the Effective Time in excess of $1,000,000 in the aggregate; provided that the restriction in
this clause (C) shall not apply to (l) amounts set forth or provided for in the most recent versions
of the 2008 and/or 2009 budgets for the Cubs Business made available to Bidder prior to the date
of this Agreement, or (ll) amounts to the extent otherwise reasonably necessary to address a
public safety issue;

(g) complete ordinary and necessary repairs on the Owned Real Property in
the Ordinary Course, continue capital expenditure projects on the Owned Real Property in
accordance with the Club’s 2009 capital expenditure budget, and operate each parcel of Owned
Real Property in a manner consistent with the manner in which such parcel is currently used in
connection with the Cubs Business in each case in all material respects;

(h) maintain the confidentiality of Confidential lnformation, except (A) to the
extent of any disclosures made by the Cubs Entities in the Ordinary Course, (B) to the extent
necessary in connection with the administration of the Bankruptcy Case or obtaining the
Approval Orders (including, but not limited to, by providing such information to committees or

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professionals representing constituencies in the Bankruptcy Case), (C) in connection with the
obligations pursuant to Sections 4.7, 4.11 or 4.14, (D) to Bidder, its Affiliates and their
representatives, (E) otherwise in furtherance of consummating the Transactions (other than the
Newco Sale), or (F) to any Major League Baseball Entities;

(i) not enter into or amend any employment agreement with a Cubs Non-
Player Employee;
(j) if any material claims arise from or after the date of this Agreement until

the Closing, or otherwise exist, of which the Tribune Parties have Knowledge, that the Tribune
Parties have Knowledge, or should have Knowledge, are covered under any Policy, then, to the
extent consistent with past practice, use their reasonable best efforts to report all such claims
within such time and in such manner as required under the Policies, and shall further use their
reasonable best efforts to pursue recovery on all such claims consistent with past practice;

(k) not settle any disputes set forth as item numbers 5, 11, 12 and 26 on
Schedule 2.5ga) if such settlement would reasonably be expected to have a direct and material
adverse impact on the Cubs Business after the Closing; and

(1) not settle any Tax Audits set forth on Schedule 2.15gc) (other than any
such Tax Audits involving Tribune’s federal income taxes or any Benefit Plans of Tribune the
liabilities of which will not be included in the Cubs Liabilities) if such settlement would
reasonably be expected to have a direct and material adverse impact on the Cubs Business after
the Closing.

Notwithstanding the foregoing, nothing herein shall limit or otherwise impair Tribune Parties’
operation of the Club, or give Bidder, directly or indirectly, any right to control or direct the
operations of the Club, including, but not limited to (i) the making or not making of any player
trades, acquisitions, dispositions, waivers, drafts, or the like, (ii) hiring or firing of any manager,
coach or other Cubs Player Employee and (iii) the conduct of, performance or management of
any baseball activities; provided however, that prior to (A) entering into any Contract with any
Cubs Player Employee which provides for (l) potential payments during any season in an amount
greater than $1,000,000 or a signing bonus which will not be paid prior to the Escrow Closing in
an amount greater than $1,000,000, or (ll) potential payments over the life of the Contract in an
aggregate amount greater than $5,000,000 or (Ill) a remaining term of three years or more, (B)
hiring or firing any manager of the Club, or (C) trading any Cubs Player Employee who has been
on the Club’s 40-man roster during the 2009 season, in each case (with respect to clauses (A),
(B) or (C)), prior to the taking of any such action, to the extent reasonably practicable and in
compliance with MLB Rules and Regulations, the Tribune Parties shall give reasonable notice
thereof to Bidder and shall consult with Bidder with respect thereto but, for the avoidance of
doubt, the taking of any action set forth in clauses (A)-(C) (following such notice and
consultation to the extent reasonably practicable and in compliance with MLB Rules and
Regulations) shall not be a breach of this Agreement.

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Section 4.2 Reasonable Best Efforts; HSR.

(a) Each Tribune Party, Bidder and the Ricketts Lender (but, with respect to
the Ricketts Lender, only to the extent the Ricketts Subordinated Loan Commitment Agreement
is implicated) agrees to (and to cause its Affiliates to) cooperate with the other parties and to use
its reasonable best efforts to take, or cause to be taken, all actions, and do, or cause to be done,
all things, necessary, proper or advisable, in each case, as promptly as practical, to (i) cause the
conditions to the Escrow Closing and Closing to be satisfied and to consummate, as promptly as
practical, the Transactions (including, for purposes of this Section 4.2, to prevent the occurrence
of, in the case of Tribune Parties, any Major Tribune Payment Trigger, Middle Tribune Payment
Trigger or Minor Tribune Payment Trigger or, in the case of Bidder, Major Bidder Payment
Trigger, Middle Bidder Payment Trigger or Minor Bidder Payment Trigger), (ii) provide all
notices to, and obtain all approvals, consents, waivers, registrations, Permits and other
authorizations from, any Governmental Authority or other Person necessary, proper or advisable
to consummate such Transactions, and (iii) furnish the other parties and their counsel with such
information and assistance as may be reasonably required in order to effectuate the foregoing
actions.

(b) ln furtherance and not in limitation of the foregoing, each party hereto
agrees to (i) make all pre-closing notification filings required under the HSR Act or any other
applicable Law within five (5) Business Days after the date of this Agreement, (ii) keep the other
party informed on a reasonably current basis of any material communication received by such
party from, or given by such party to, any Government Authority and of any material
communication received or given in connection with any proceeding by a private party, in each
case regarding any of the Transactions (including by promptly providing the other party with
copies of any written (including email) communications with any Government Authority or
private party), (iii) permit the other party to review and incorporate the other party’s reasonable
comment to, any material communication delivered to, and consult with the other party in
advance of any meeting or conference with, any Government Authority relating to the
Transactions or in connection with any proceeding by a private party, and give the other party
the opportunity to attend and participate in such meetings and conferences (to the extent
permitted by such Government Authority or private party), (iv) respond to and comply with, as
promptly as practical, any request for information or documentary material pursuant to the HSR
Act and take or cause to be taken, all other actions necessary to cause the expiration or
termination of the applicable waiting periods under the HSR Act as soon as practicable, but in no
event later than the Termination Date and (v) use its reasonable best efforts to take, or cause to
be taken, all actions, and to do, or cause to be done, all things, necessary, proper or advisable to
(A) resolve objections, if any, as may be asserted by a Governmental Authority or other Person
with respect to the Transaction, and (B) defend any lawsuits or other legal proceedings, whether
judicial or administrative, challenging this Agreement or the consummation of the Transactions,
including by seeking to have any stay or temporary restraining order entered into by any court or
other Govemment Authority vacated or reversed No party to this Agreement shall consent to
any voluntary delay of the consummation of the Transactions at the behest of any Government
Authority without the prior written consent of the other party to this Agreement, which consent
shall not be unreasonably withheld conditioned or delayed; provided however, that for purposes

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of this sentence, a consent will not be considered voluntary if the failure to give it will result in
adverse consequence for such party from the Government Authority (including, for example, a
fine or other penalty).

(c) The parties shall not and shall cause their respective Affiliates not to (i)
directly or indirectly, acquire, purchase, lease or license (or agree to acquire, purchase, lease or
license) any business or collection of assets of any kind or nature if doing so would reasonably
be expected to delay consummation of the Transactions (including the Newco Sale), or (ii) take
any action that would reasonably be expected to prevent or delay the obtaining of clearance or
any necessary approval of any Government Authority or the expiration of any waiting period

(d) Each party agrees to (and shall cause its Affiliates to) use reasonable best
efforts to take any and all action necessary in order to bring about the expiration or termination
of the waiting period under the HSR Act, or any other Law. ln the event that any action is
threatened or instituted challenging the Transactions as violative of any Law, each party shall use
(and shall cause its Affiliates to use) reasonable best efforts to take all action necessary to avoid
or resolve such action.

Section 4.3 Public Announcements. From and after the date of this Agreement, except
as required by Law or MLB Rules and Regulations or directions from any Major League
Baseball Entity or the Commissioner, no party to this Agreement will issue, or permit any of its
Affiliates or Representatives to issue, any press release or otherwise make any public statements
with respect to this Agreement and the Transactions (including the Newco Sale) without the prior
written consent of the other party (or parties); provided however, that, to the extent permitted by
MLB Rules and Regulations and in compliance with all directions by any Major League Baseball
Entity and the Comrnissioner, the parties shall be permitted to issue or make, and permit their
respective Affiliates and Representatives to issue or make, statements to the extent reasonable
and appropriate to (a) complete the Debt Financing or obtain the Approval Orders or (b) satisfy
their obligations under applicable Law, including under federal labor law with respect to notice
to a union and/or bargaining unit regarding the decision to enter into and/or the effects of this
Agreement and the other Transaction Documents.

Section 4.4 Non-Solicitation.

(a) During the period beginning on the date of this Agreement and ending on
the second anniversary of the Closing Date, Tribune Parties will not, and they will cause their
Subsidiaries not to, directly or indirectly, solicit for employment, recruit or hire any Cubs Non-
Player Employee with a position (prior to, on or after the Closing) of sales manager or director or
above to become an employee or consultant of, or otherwise provide services to, Tribune or any
Subsidiary thereof; provided however, that this Section 4.4§al shall not prohibit: (i) a solicitation
by way of a broad-based advertisement that is not targeted at employees of Newco, any Newco
Sub or any of their respective Subsidiaries or the hiring of any such Person who responds to such
solicitation; or (ii) the solicitation or employment of any employee after the employment of such
employee was terminated by Newco or any Newco Sub, and not by such employee,

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(b) During the period beginning on the date of this Agreement and ending on
the second anniversary of the Closing Date, Bidder, Newco, and the Newco Subs will not, and
they will cause their Subsidiaries not to, directly or indirectly, solicit for employment, recruit or
hire any employee of Tribune and its Subsidiaries (prior to, on or after the Closing) whose
primary responsibilities relate to sales to become an employee or consultant of, or otherwise
provide services to, the Bidder Parties, Newco, any Newco Sub or any Subsidiary thereof;
provided however, that this Section 4.4gbl shall not prohibit: (i) a solicitation by way of a broad
based advertisement that is not targeted at employees of Tribune or any of its Subsidiaries or the
hiring of any such Person who responds to such solicitation; or (ii) the solicitation or
employment of any employee after the employment of such employee was terminated by
Tribune or any of its Subsidiaries, and not by such employee,

(c) lt is the desire and intent of the parties hereto that the provisions of this
Section 4.4 shall be enforced to the fullest extent permitted under the Laws and public policies of
each jurisdiction in which enforcement is sought. Without limitation of Bidder’s rights under
Section 10.14, if any court determines that any provision of this Section 4.4 is unenforceable,
then such court will have the power to reduce the duration or scope of such provision, as the case
may be, and, in reduced form, such provision shall be enforceable; it is the intention of the
parties hereto that the foregoing restrictions shall not be terminated unless so terminated by a
court, but shall be deemed amended to the extent required to render them valid and enforceable,
such amendment to apply only with respect to the operation of this Section 4.4 in the jurisdiction
of the court that has made the adjudication.

(d) The parties acknowledge and agree that the restrictions contained in this
Section 4.4 are a reasonable and necessary protection of the immediate interests of the parties,
and any violation of these restrictions would cause substantial injury to the parties and that the
parties would not have entered into this Agreement without receiving the additional
consideration offered hereby in binding themselves to these restrictions, ln the event of a breach
or a threatened breach by any party or any of their Affiliates of these restrictions, the non-
breaching party will be entitled to seek an injunction restraining such parties from such breach or
threatened breach (without the necessity of proving the inadequacy as a remedy of money
damages or the posting of a bond); provided however, that the right to injunctive relief will not
be construed as prohibiting the non-breaching party from pursuing any other available remedies,
whether at law or in equity, for such breach or threatened breach.

Section 4.5 Confidential lnformation,

(a) From and after the Closing, Tribune Parties shall, and shall cause their
Affiliates and Representatives to, maintain the confidentiality of, and shall not use for the benefit
of themselves or others, any confidential information relating primarily to the Cubs Business, the
Cubs Contributed Assets or the Cubs Liabilities (the “Confidential Information”); provided
however, that Confidential lriforrnation shall be deemed not to include information that (i) is or
becomes generally available to the public other than as a result of a disclosure, in violation of
this Agreement, by Tribune Parties or any of their Affiliates or Representatives, (ii) is or
becomes available to Tribune Parties on a non-confidential basis from a source not known by
such party to be bound by an obligation or duty of confidentiality, or (iii) is independently

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developed by Tribune or its Affiliates (other than the Cubs Entities) or their Representatives after
the consummation of the Closing without use of any of the Confidential lnformation,

(b) (i) From and after the date hereof until Closing, Bidder shall, and shall
cause its Affiliates and Representatives to, maintain the confidentiality of, and shall not use for
the benefit of themselves or others, any Confidential information (which will include for this
purpose any of the terms of this Agreement and the other Transaction Documents), and (ii) from
and after the Closing Date, Bidder, Newco and each Newco Sub shall, and shall cause their
Affiliates and Representatives to, maintain the confidentiality of, and shall not use for the benefit
of themselves or others, any confidential information of Tribune and its Affiliates (other than
Confidential information but including any of the terms of this Agreement and the other
Transaction Documents) (“Tribune Confidential Information”); Provided however, that
Tribune Confidential information for purposes of this Section 4.5(bl shall be deemed not to
include information that (A) is or becomes generally available to the public other than as a result
of a disclosure, in violation of this Agreement, by Bidder Parties, Newco, any Newco Sub or any
of their Affiliates or Representatives, (B) is or becomes available to Bidder Parties, Newco or
Newco Sub on a non-confidential basis from a source not known by such party to be bound by an
obligation or duty of confidentiality, or (C) is independently developed by Bidder Parties, Newco
or Newco Sub or any of their Affiliates or their Representatives after the consummation of the
Closing without use of any of the Tribune Confidential information

(c) in the event that any party or any of their Subsidiaries, Affiliates or
Representatives are required by interrogatories, requests for information or documents,
subpoenas, demand or similar process to disclose any Confidential information or Tribune
Confidential information of the other party, such party shall provide the other party with prompt
prior written notice of such request or requirement so that the other party may seek an
appropriate protective order (and provide and cause their Subsidiaries, Affiliates and
Representatives to provide such cooperation, at the requesting party’s expense, as the requesting
party shall reasonably request). lf, in the absence of a protective order, a party or any of its
Affiliates, Subsidiaries or Representatives are nonetheless required to disclose Confidential
information or Tribune Confidential lnformation, as the case may be, such party or its Affiliates,
Subsidiaries or Representative, as the case may be: (x) may, and will cause each of its Affiliates,
Subsidiaries and Representatives to, disclose only that portion of the Confidential information or
Tribune Confidential lnformation, as the case may be, that such party or its Subsidiaries,
Affiliates or Representative is legally compelled to disclose; and (y) shall, and shall cause each
of its Affiliates, Subsidiaries and Representatives to, at the request of the requesting party, use its
reasonable best efforts, at the requesting party’s expense, to obtain assurance that confidential
treatment will be accorded such Confidential information or Tribune Confidential lnformation,
as the case may be. The parties agree to keep the terms of this Agreement confidential except
that the parties may disclose such terms to their respective accountants, lenders, investors and
other representatives to the extent necessary in connection with consummation of the
Transactions and in accordance with MLB Rules and Regulations (so long as such Persons are
advised that they must keep the terms of this Agreement confidential).

(d) Notwithstanding anything to the contrary in this Agreement, (i) Tribune or
any of its Subsidiaries may disclose or use any Confidential information to the extent necessary

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to (A) discharge, settle or resolve any Cubs Excluded Liabilities, (B) perform services pursuant
to the Transition Services Agreement, (C) collect Retained Cubs Accounts Receivable, or (D)
prepare its financial statements or respond to any audit, (ii) the parties may disclose or use any
Confidential information to the extent necessary to comply with their respective obligations
under this Agreement, including in connection with the obtaining of any consents pursuant to
Section 1.6 or the taking of any actions pursuant to Sections 4.2 or 4_._1_1_, and (iii) the parties and
their Affiliates may disclose or use any Confidential information to the extent necessary in
connection with the administration of the Bankruptcy Case or obtaining the Approval Grders
(including, but not limited to, by providing such information to committees or professionals
representing constituencies in the Bankruptcy Case).

(e) The Tribune Parties and Bidder shall use their respective reasonable best
efforts to (i) maintain and continue the confidentiality and protection of the information related
to the Transactions (including the Newco Sale) filed under seal pursuant to orders of the
Bankruptcy Court, whether pursuant to Section 107 of the Bankruptcy Code, Bankruptcy Rule
9018 or otherwise, and (ii) oppose any effort to terminate or modify such confidentiality and
protection.

Section 4.6 Access. From and after the date of this Agreement and until the Closing,
Tribune Parties will give Bidder and its Representatives, upon reasonable notice and during
normal business hours, reasonable access to the properties, facilities, Contracts, senior managers
and books and records of the Tribune Parties or Trusts related to the Cubs Business, the Cubs
Contributed Assets and the Cubs Liabilities, and they will, and will cause their respective
Representatives to, furnish to Bidder all other documents, records and information (and copies
thereof) relating to the Cubs Business, as Bidder may reasonably request; provided however,
that (a) Tribune Parties and Trusts shall not be required to provide such access to the extent that
it would subject any of the properties of Tribune or any of its Subsidiaries to invasive physical
testing or violate applicable Laws, (b) competitively sensitive information, if any, shall only be
provided in accordance with applicable Law pursuant to the Confidentiality Agreement and (c)
all such access shall be in compliance with all applicable MLB Rules and Regulations. From
and after the date of this Agreement and until the Closing, upon a reasonable request from
Bidder, Tribune Parties shall in good faith request CSN Chicago to provide Bidder reasonable
access to the Contracts, senior managers and books and records of CSN Chicago. No
investigation or receipt of information by Bidder Parties pursuant to, or in connection with, this
Agreement will diminish or obviate any of the representations, warranties, covenants or
agreements of Tribune Parties under this Agreement or the conditions to the obligations of
Bidder under this Agreement.

Section 4.7 Negotiations.

(a) From and after the date of this Agreement until the termination of this
Agreement in accordance with its terrns: (i) Tribune Parties shall, and they shall cause their
Representatives and Affiliates to, negotiate exclusively and in good faith with Bidder with
respect to any Acquisition Transaction; and (ii) Tribune Parties shall not, and shall cause their
Representatives and Affiliates not to: (A) solicit or initiate or knowingly encourage any inquiries,
proposals or offers (an “Acquisition Proposal”) from any Persons other than Bidder and Bidder

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Trust and their respective Affiliates and Representatives for or relating to (or which may
reasonably be expected to lead to) any investment in, acquisition of, transfer of, purchase of or
other disposition of, directly or indirectly (other than sales of debt or equity of Tribune), all or
any portion of the ownership interests or any of the assets of the Cubs Business or any of the
Cubs Contributed Assets, whether by way of merger, business combination, reorganization, joint
venture, sale of stock, sale of assets (other than (l) sales of assets in the Ordinary Course not
expressly prohibited by this Agreement and (2) any such transfer to any other wholly owned
Subsidiary of Tribune in accordance with the terms of this Agreement so long as such Subsidiary
is bound by all obligations under this Agreement applicable to the transferring entity and such
transfer does not materially adversely affect Bidder or Newco with respect to the assets to be
contributed to or the liabilities to be assumed by Newco pursuant to this Agreement or adversely
affect, in any material respect, the economic terms or other material terms of the Transactions
(including the Newco Sale) with respect to Bidder or Newco) or otherwise (any of the foregoing,
an “Acquisition Transaction”); (B) participate in any discussions, conversations, negotiations
or other communications with any Person other than Bidder and Bidder Trust and their
respective Affiliates and Representatives regarding, or furnish to or continue to provide access to
(whether directly or indirectly through third party hosting sites or other means) any Person other
than Bidder and Bidder Trust and their respective Affiliates and Representatives any information
with respect to, or afford access to the business, properties, assets, books or records of the Cubs
Business or any of the Cubs Contributed Assets in connection with, or otherwise assist or
participate in, or knowingly facilitate or encourage any effort or attempt by any other Person
relating to or in connection with, any Acquisition Proposal; or (C) enter into any agreement,
arrangement or understanding with any other Person with respect to or in connection with any
Acquisition Proposal. Tribune Parties shall immediately cease and cause to be terminated all
existing discussions, conversations, access to information, negotiations and other
communications with any Persons other than Bidder and Bidder Trust and their respective
Affiliates and Representatives, with respect to any Acquisition Proposal. Upon the receipt by
any Tribune Party of any bona fide written Acquisition Proposal, Tribune Parties shall notify
Bidder in writing as soon as practicable (such notice to include the terms of such Acquisition
Proposal and the identity of the Person making the Acquisition Proposal), and shall promptly
notify the Person making the Acquisition Proposal of Tribune Parties’ obligations under this
Section 4.7.

(b) Notwithstanding the foregoing or any other provisions of this Agreement,
if any Tribune Party receives an Acquisition Proposal or any communication that may
reasonably be expected to lead to or otherwise relates to a potential Acquisition Proposal, the
Tribune Parties shall be entitled but not obligated to advise the Bankruptcy Court of such
Acquisition Proposal and shall be permitted to take any action or refrain from taking any action
ordered (or otherwise directed) by the Bankruptcy Court with respect thereto, provided that
Tribune Parties shall continue to use reasonable best efforts to obtain entry of the Approval
Orders and to otherwise carry out the provisions hereof unless otherwise directed by order or
direction on the record of the Bankruptcy Court. Advising the Bankruptcy Court of any
Acquisition Proposal or communication relating thereto and/or compliance with any resulting
order or direction on the record of the Bankruptcy Court shall not be a breach or default of this

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Agreement and, except as provided in Section 4.15, shall not create any liability under this
Agreement.

(c) After Closing, upon the request of Bidder, Tribune Parties shall promptly
request all other Persons previously provided with information, documentation and other
materials (whether in hard copy or electronic format) relating to any Acquisition Proposal either
to return all such tangible documentation and other materials (including such Person’s notes) to
Tribune or to destroy, and certify the destruction of, such tangible documentation and other
materials.

Section 4.8 Certain Matters. Without limitation of the rights of lndemnified Parties
under Article Vlli and except with respect to any Action between a Tribune Party, on the one
hand and a Bidder, Newco or any Newco Sub, on the other hand:

(a) Tribune Parties agree that, following the Closing, they shall, upon
Bidder’s reasonable request, use reasonable best efforts to cooperate, at Bidder’s expense, with
Bidder and its Affiliates in connection with any claim, defense, negotiation or settlement of any
Cubs Liability or any Action relating to the Cubs Contributed Assets, the Cubs Liabilities or the
Cubs Business; and

(b) Bidder (and, from and after the time they shall execute the Joinder to this
Agreement, Newco and each Newco Sub) agrees that, following the Closing, it shall, upon
Tribune Parties’ reasonable request, use reasonable best efforts to cooperate, at Tribune Parties’
expense, with Tribune Parties and their Affiliates in connection with any claim, defense,
negotiation or settlement of any Cubs Excluded Liability or any Action relating to the Cubs
Contributed Assets or the Cubs Business.

Section 4.9 Disposition, Transfer or Destruction of Records. Without limitation of
rights and obligations of the parties under Section 6.1 or Article Vlli, for a period of seven years
after the Closing;

(a) Tribune Parties shall provide Bidder with 90 days prior written notice of
any disposition or destruction of any financial or accounting books and records relating to the
Cubs Business, the Cubs Contributed Assets or the Cubs Liabilities that are not included in the
Cubs Contributed Assets, and Tribune Parties shall provide Bidder a reasonable opportunity to
copy the relevant portions of such books and records prior to any such disposition, transfer or
destruction; provided however, that (i) for any books and records that contain information or
data related to the Cubs Business, the Cubs Contributed Assets or the Cubs Liabilities that is
combined with information relating to Tribune and its Subsidiaries (other than the Cubs Entities)
that are capable of being redacted at Bidder’s reasonable request, Tribune Parties shall provide
Bidder a reasonable opportunity to copy the relevant portions of such books and records redacted
to remove such information relating to Tribune and its Subsidiaries (other than the Cubs
Entities), and (ii) for any books and records that contain information or data related to the Cubs
Business, the Cubs Contributed Assets or the Cubs Liabilities that is combined with information
relating to Tribune and its Subsidiaries (other than the Cubs Entities) that are not capable of

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being redacted Bidder’s right to copy such books and records under this Section 4.9(al shall not
apply; and

(b) Bidder, Newco and each Newco Sub shall provide Tribune Parties with 90
days prior written notice of any disposition or destruction of any financial or accounting books
and records relating to the Cubs Excluded Assets or the Cubs Excluded Liabilities that are
included in the Cubs Contributed Assets, and Bidder shall provide Tribune Parties a reasonable
opportunity to copy the relevant portions of such books and records prior to any such disposition,
transfer or destruction.

Section 4. 10 Post-Closing Access and Cooperation. Without limitation of the rights
and obligations of the parties under Section 6.2 (Tax Cooperation) and Article Vlil, and except
with respect to any Action between a Tribune Party, on the one hand and Bidder, Newco or any
Newco Sub, on the other hand after the Closing Date;

(a) Newco and its Subsidiaries shall provide Tribune and its Subsidiaries, for
a period consistent with the record retention policies and practices of Newco, reasonable access
to those records of Newco and its Subsidiaries insofar as they are Cubs Contributed Assets that
relate to periods prior to the Closing, during normal business hours and on at least three (3)
Business Days’ prior written notice (or such shorter time period as reasonably necessitated by the
urgency of the underlying facts and circumstances), in order to enable Tribune and its
Subsidiaries to prepare financial statements or to discharge and defend any Cubs Excluded
Liabilities; and

(b) Tribune Parties shall provide Newco and its Subsidiaries, for a period
consistent with the record retention policies and practices of Tribune Parties, reasonable access
to those records of Tribune or any of its Subsidiaries insofar as they are Cubs Excluded Assets
that relate to periods before or after the Escrow Closing, during normal business hours and on at
least three (3) Business Days’ prior written notice (or such shorter time period as reasonably
necessitated by the urgency of the underlying facts and circumstances), in order to enable Newco
and its Affiliates to prepare financial statements or to discharge and defend any Cubs Liabilities,

Section 4.11 Financing.

(a) Bidder shall (and shall cause its Affiliates to) use its reasonable best
efforts to take, or cause to be taken, all actions and to do, or cause to be done, all things
necessary, proper or advisable to arrange and consummate the Debt Financing, Equity Financing
and Ricketts GuarantyCo and Ricketts Lender Equity Financing on the terms and conditions
described in the Commitment Letters, including (i) using reasonable best efforts to (x) satisfy on
a timely basis all terms, covenants and conditions set forth in the Commitment Letters and Bank
Credit Agreement; (y) enter into definitive agreements with respect thereto on terms and
conditions substantially similar to the terms and conditions contemplated by the Commitment
Letters; and (z) consummate the funding of (A) the Equity Financing, the Ricketts GuarantyCo
and Ricketts Lender Equity Financing and an amount equal to the Subordinated Debt Financing
to the Closing Agent and (B) an amount equal to the Senior Debt Financing (other than the
Revolver) to the Senior Lender Agent, in each case, on the Escrow Closing Date as contemplated

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by Section 1.1; and (ii) using reasonable best efforts to seek to enforce its rights under the
Commitment Letters and Bank Credit Agreement. To the extent the Ricketts Subordinated Loan
Commitment Agreement is implicated the Ricketts Lender shall use its reasonable best efforts to
take, or cause to be taken, all actions and to do, or cause to be done, all things necessary, proper
or advisable to arrange and consummate the Debt Financing on the terms and conditions
described in the Commitment Letters. Bidder will furnish correct and complete copies of all
such definitive agreements to Tribune promptly upon their execution. Bidder shall not, nor shall
it permit its Affiliates to, amend or alter, or agree to amend or alter, the Equity Commitment
Letter or, except for an amendment to provide for an increase in the amount of Subordinated
Debt to be provided thereunder to the extent permitted in Section 4.11ge), the Subordinated Debt
Commitment Letter without the prior written consent of Tribune,

(b) Each of the Bidder Covered Parties shall keep Tribune informed on a
reasonably current basis with respect to all material activity of which Bidder has Knowledge
concerning the status of their efforts to arrange and consummate the Debt Financing, Equity
Financing and the Ricketts GuarantyCo and Ricketts Lender Equity Financing and shall give
Tribune prompt notice of any material adverse change with respect thereto of which Bidder has
Knowledge. Bidder shall provide Tribune, on a reasonably current basis, copies of all material
documents and agreements prepared in connection with the Debt Financing, Equity Financing
and the Ricketts GuarantyCo and Ricketts Lender Equity Financing that are provided to or from
the lenders or the administrative agent for the lenders (in each case, including any drafts thereof
provided to or from the lenders or the administrative agent for the lenders, but not any internal
drafts). For the avoidance of doubt, such copies of material agreements (including drafts thereof)
shall be deemed “Company Confidential lnformation” under the Confidentiality Agreement and
shall be treated by Tribune Parties accordingly. Without limiting the foregoing, Bidder agrees to
provide written notice to Tribune promptly, and in any event within three (3) Business Days, if at
any time (i) any Commitment Letter or any lender’s commitment under the Bank Credit
Agreement shall expire or be terminated for any reason (other than the expiration of the Senior
Debt Commitment Letter upon the execution of the Credit Agreement providing for
$450,000,000 (subject to reduction as set forth in Section 4.1 lge)) of Senior Debt Financing and,
in the case of any lender’s commitment under the Bank Credit Agreement, other than if such
commitment when terminated is simultaneously replaced by the commitment of another lender
or lenders that are Unaffiliated Third Party Lenders on the same terms and for the same
aggregate amount or if such commitment is terminated or reduced as of Closing and is
simultaneously replaced by the funding by another lender or lenders that are Unaffiliated Third
Party Lenders for the aggregate amount subject to the termination or reduction on the terms of
the Senior Notes), (ii) any financing source that is a party to a Commitment Letter or Credit
Agreement notifies Bidder that such source no longer intends to provide financing to Bidder on
substantially the terms set forth therein, (iii) any financing source that is a party to a
Commitment Letter or Credit Agreement communicates information to Bidder that should
reasonably cause Bidder to believe that a condition to such financing source's obligation to
provide the Debt Financing is reasonably likely to not be satisfied or waived by such financing
source, or (iv) Bidder, to its Knowledge, believes in good faith that it will be unable to obtain all
or any portion of the Debt Financing, Equity Financing or Ricketts GuarantyCo and Ricketts
Lender Equity Financing on substantially the terms described in the Commitment Letters or

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Credit Agreement, as applicable, provided that in the case of clauses (ii) and (iv), Bidder shall
not be required to provide such notice to Tribune as a result of the parties providing the financing
under the Commitment Letters or Credit Agreement, as applicable, proposing new or additional
terms for such financing that are more favorable to Newco than the terms contained in the
Commitment Letters or Credit Agreement, as applicable, The Bidder Covered Parties shall not,
and shall not permit any of their Affiliates to, take any action or enter into any merger,
acquisition, joint venture, disposition or other material transaction, that could reasonably be
expected to materially impair, delay or prevent consummation of the financing contemplated by
the Debt Financing, the Equity Financing or the Ricketts GuarantyCo and Ricketts Lender Equity
Financing or take any other action with the purpose of, or which would reasonably be expected
to have the effect of, materially impairing, delaying or preventing consummation of the financing
contemplated by the Commitment Letters or Credit Agreement. Bidder shall not, without the
prior consent of Tribune, amend or alter, or agree to amend or alter, the Senior Debt
Commitment Letter or Bank Credit Agreement in any manner that (x) would be reasonably likely
to prevent or materially impair or delay the consummation of Transactions; (y) relates to the
following terms of such Senior Debt Financing: (A) amount of such Senior Debt Financing (not
more than 110% and not less than 100% of the aggregate amount set forth in the definition of
Senior Debt Financing (other than as set forth in Section 4.11§e)), (B) maturity of any of the
Senior Debt Financing earlier than four (4) years or later than nine (9) years after Escrow
Closing (but in the case of Senior Notes, not later than twelve (12) years after Closing), (C) any
amortization within the first four (4) years after Closing or any other amortization in excess of
the permitted amortization under the Tax Matters Agreement, (D) the terms of the Ricketts
Subordinated Loan Commitment Agreement or the terms and conditions of any other credit
enhancements that provide for or require commitments to fund capital, contractual obligations
such as guarantees, indemnifications, reimbursement agreements, providing collateral for loans
other than the assets of Newco or Newco Subs and other obligations running directly to creditors
of Newco or Newco Subs from someone other than Newco or Newco Subs (for the avoidance of
doubt, the terms of such Senior Debt Financing shall provide that the creditors’ rights thereunder
to repayment must be limited solely to the assets of Newco or Newco Subs and pursuing
remedies under the Tribune Guarantees), (E) identity of lenders if other than Unaffiliated Third
Party Lenders or (F) interest rate if less than the applicable federal funds rate or in excess of ten
percent (10%); or (z) contemplates that the amount of principal or interest on any such
indebtedness would be determined in any respect by the profits or distributions of the Newco or
Newco Subs (the standards set forth in subparts (x), (y) and (z) are referred to as the “Key Debt
Terms”).

(c) if any portion of the Debt Financing, Equity Financing or Ricketts
GuarantyCo and Ricketts Lender Equity Financing becomes unavailable on terms and conditions
substantially similar to the terms and conditions contemplated in the Debt Commitment Letters
or any of the Debt Commitment Letters shall be terminated (other than the expiration of the
Senior Debt Commitment Letter upon the execution of the Bank Credit Agreement) or, unless
Tribune otherwise consents in writing, if any of the Key Debt Terrns are modified (collectively,
the "Unavailable/Modified/Terminated Commitment Letters”), the Bidder Covered Parties
shall (and shall cause their Affiliates to) use their reasonable best efforts to obtain and, if
obtained will promptly provide Tribune with a copy of, a new financing commitment (the “New

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Commitment Letter”) from alternative sources on terms and conditions substantially similar to
the terms and conditions contemplated in the Debt Commitment Letters being replaced or on any
other terms and conditions acceptable to Tribune in its reasonable discretion (“Alternate
Financing”). Any such Altemate Financing with respect to Debt Financing must be used to fund
all or a portion of the Estimated Special Distribution Amount and Final Special Distribution
Amount, in addition, the Altemate Financing shall not contain any changes to the Key Debt
Terrns from those set forth in the Debt Commitment Letters as of the date hereof without
Tribune’s prior written consent, provided that Tribune shall not have a right to consent to any
changes to the Key Debt Terms to the extent any such Key Debt Terrn is within a range for such
term set forth in the definition of Key Debt Terms or, if there is no such range, is otherwise
consistent with the Key Debt Terms. To the extent applicable, Bidder shall (and shall cause its
Affiliates to) use its reasonable best efforts to take, or cause to be taken, all actions and to do, or
cause to be done, all things necessary, proper or advisable to arrange promptly and consummate
the Altemate Financing on the terms and conditions described in any New Commitment Letter,
including (i) using reasonable best efforts to (x) satisfy on a timely basis all terms, covenants and
conditions set forth in the New Commitment Letter; (y) enter into definitive agreements with
respect thereto on terms and conditions substantially similar to the terms and conditions
contemplated by the New Commitment Letter; and (z) consummate the funding of the Altemate
Financing to the Closing Agent on the Escrow Closing Date as contemplated by Section 1.1 and
(ii) using reasonable best efforts to seek to enforce its rights under the New Commitment Letter.
To the extent applicable and to the extent the Ricketts Subordinated Loan Commitment
Agreement is implicated the Ricketts Lender shall use its reasonable best efforts to take, or
cause to be taken, all actions and to do, or cause to be done, all things necessary, proper or
advisable to arrange and consummate the Altemate Financing on the terms and conditions
described in any New Commitment Letter. in the event Altemate Financing is obtained in
accordance with this Section 4.1 l(c) or Section 4.11( e) and a New Commitment Letter is entered
into, references in this Agreement to the Commitment Letters shall be deemed to include the
New Commitment Letter and to exclude the Unavailable/Modified/Terminated Commitment
Letter(s) it replaces, as applicable. in addition, in the event Altemate Financing is obtained
references in this Agreement to the Debt Financing, Equity Financing or Ricketts GuarantyCo
and Ricketts Lender Equity Financing, as applicable, shall be deemed to include the Altemate
Financing and to exclude the Debt Financing, Equity Financing or Ricketts GuarantyCo and
Ricketts Lender Equity Financing, as applicable, that the Altemate Financing replaces.

(d) The Tribune Parties agree to use their reasonable best efforts to provide all
cooperation reasonably requested by Bidder in connection with the Debt Financing (including, as
applicable, any Altemate Financing), including: (i) providing and causing their advisors to
provide all available information reasonably deemed necessary by Bidder or the providers of
such Debt Financing to complete syndication of the Debt Financing, including available financial
information that is customarily provided in such financings and is deemed necessary by Bidder
or the providers of such Debt Financing for the consummation of such Debt Financing; (ii)
assisting in the preparation and updating of materials to be used in connection with the Debt
Financing and any related syndication efforts, including, as applicable, participating in due
diligence and drafting sessions; (iii) cooperating in procuring any requisite rating for the Debt
Financing from an accredited rating agency, including by having senior management of Cubs

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Entities participating in meetings with ratings agencies; (iv) making the officers and advisors of
Cubs Entities and their respective Subsidiaries available from time to time to attend and make
presentations regarding their respective businesses and prospects at one or more meetings of
prospective lenders; (v) assisting in the preparation of credit and other definitive financing
agreements and other certificates and documents, including solvency certificates, opinions of
Bidder’s counsel, officers’ certificates demonstrating compliance with restrictive covenants,
consents, pledge and security documents and perfection certificates, as may be reasonably '
requested in connection with the foregoing; (vi) seeking consent of the members of CSN
Chicago, other than Tribune Sports, to the pledge of the CSN interests in connection with the
Debt Financing as provided in Section 4.23 provided that such reasonable best efforts shall not
require the payment by the Tribune Parties of any fee or other amount; (vii) seeking to obtain all
consents necessary to pledge their membership interest in Newco in favor of the Senior Lenders
during the term of the Credit Agreement (and any refinancing thereof) and any Senior Notes
issued at Closing, provided that such reasonable best efforts shall not require the payment by the
Tribune Parties of any fee or other amount; and (viii) executing (or in the case of the legal
opinion, causing to be executed by Tribune’s counsel) the Tribune Guarantees, Subordination
Agreement, a legal opinion of counsel to Tribune (regarding the due authorization of the
execution, delivery and performance of the Tribune Guarantees and the Pledge Agreement, if
applicable, and the valid, binding and enforceable (subject to customary exceptions) nature of
such documents) reasonably acceptable to the Senior Lenders (to be dated as of the Escrow
Closing) and, to the extent Tribune obtains the consent of its lenders to pledge its membership
interest in Newco, a Pledge Agreement, together with any incumbency, perfection certificate or
closing certificate reasonably requested by the Senior Lender Agent, in each case, in a customary
form typically provided in similar financings by pledgors and guarantors that do not materially
increase Tribune’s liability to the Senior Lenders beyond the terms of the Subordination
Agreement, such pledge agreements or Tribune Guarantees (all such documents are referred to as
the “Tribune-Related Debt Documents”); provided however, that with respect to all matters
described in this Section 4.11gdl the Tribune Parties and their officers, directors and advisors
shall not be required to execute any other document or make any statements, certifications, or
analysis for the benefit of Newco, Bidder Parties or any other Person,

 

(e) Notwithstanding anything in Section 4.11(cl to the contrary, prior to the
Escrow Closing, Bidder may elect to replace up to $150,000,000 of the Senior Debt Financing
with Subordinated Debt Financing pursuant to the Subordinated Debt Documents, provided that
Bidder shall send prompt written notice thereof to Tribune together with a copy of the duly
executed Subordinated Debt Commitment Letter with respect thereto, which shall be in full force
and effect as of such date.

(f) Notwithstanding anything in this Agreement to the contrary, in no event
shall the reasonable best efforts of either Bidder Covered Party under this Section 4.11 require
either Bidder Covered Party (or their respective Affiliates), directly or indirectly, to contribute,
make available (including through the Ricketts Subordinated Loan Commitment Agreement) or
otherwise become liable for (including by way of a guarantee), including on a contingent basis,
any additional capital beyond what is contemplated by the terms of the Equity Commitment
Letter or the Subordinated Debt Commitment Letter.

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(g) Each Tribune Party acknowledges and agrees, on behalf of itself and each
of its Affiliates, that none of J.P. Morgan Securities lnc., JPMorgan Chase Bank, N.A., Citibank,
N.A., Banc of America Securities LLC, Bank of America, N.A., any of the other Senior Lenders
or any of their respective Affiliates, successors or assigns (collectively, the “Senior Lender
Parties”) shall have any duty (including any fiduciary duty or any other express or implied
duty), liability, obligation or responsibility whatsoever to any Tribune Party or any of their
Affiliates arising from, in connection with or relating to (i) the Senior Debt Financing, (ii) the
Senior Debt Commitment Letter, or (iii) any of the transactions contemplated by this Agreement,
the Senior Debt Commitment Letter or any of the Senior Debt Documents, including any actual
or alleged breach, misrepresentation or failure to perform any of their respective duties or
obligations (including any failure to fund or otherwise extend credit) under the Senior Debt
Commitment Letter or any Senior Debt Document (clauses (i)-(iii), collectively, the “Financing
Matters”). No Senior Lender Party shall be liable to any Tribune Party or any of their respective
Affiliates for any action taken or not taken by such Senior Lender Party in connection with any
of the Financing Matters. Each Tribune Party hereby waives, releases and forever discharges
each of the Senior Lender Parties from any and all actions, causes of action, suits, debts, losses,
costs, controversies, damages, liabilities, judgments, claims and demands whatsoever, in law or
equity, whether known or unknown (collectively, “Claims”) directly or indirectly arising out of
or relating to any of the Financing Matters, that any of the Tribune Parties or their Affiliates ever
had now has or hereafter can, shall or may have against any of Senior Lender Parties.
Furthermore, the Tribune Parties jointly and severally covenant not to sue any Senior Lender
Party in connection with or assert, and agree to cause their respective Affiliates not to sue any
Senior Lender Party in connection with or assert, any Claims which they or any other party now
or may hereafter have in connection with any Financing Matter. Each of the Senior Lender
Parties shall be an intended third party beneficiary of this Section 4.11(g) and may enforce the
terms of this Section 4.1 ll gl as if such Senior Lender Party were a direct party to this
Agreement, and this Section 4.1 l(gl may not be amended supplemented waived or otherwise
modified without the prior written consent of each of JPMorgan Chase Bank, N.A., Citibank,
N.A. and Bank of America, N.A.

(h) Bidder and Newco shall deliver a true and complete copy of each of the
Newco Senior Debt Escrow Closing Certificate and the Senior Lenders Escrow Closing
Certificate to Tribune promptly upon receipt thereof,

(i) Bidder shall seek to extend the term of the commitments under the Senior
Debt Commitment Letter or Bank Credit Agreement, if at all, as follows:

(i) At any time prior to the Escrow Closing Date, Tribune may request
that Bidder seek to extend the expiration date of the Senior Debt Commitment Letter. If Tribune
makes such a request, then Bidder shall use its reasonable best efforts to obtain such extension,
provided that: (A) any such extension must be on terms and conditions reasonably satisfactory to
Tribune and Bidder, and (B) no such extension shall extend past December 31, 2009, unless
Bidder in its sole discretion agrees to such extension. if the Senior Lenders require that any
incremental Financing Costs be paid to obtain such extension, Bidder shall not be required to pay
such incremental Financing Costs. lf Bidder elects not to pay such incremental Financing Costs,
then it will provide written notice of such election to Tribune and then Tribune shall have the

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option of paying the incremental Financing Costs, and in such event Bidder shall use its
reasonable best efforts to take all other actions reasonably necessary to complete such extension.

(ii) At any time prior to the Escrow Closing Date, Bidder may seek to
extend the expiration date of the Senior Debt Commitment Letter, provided that (A) if the only
change to the Senior Debt Commitment Letter is a change in the expiration date, then Bidder
may obtain such extension without Tribune’s consent and (B) if any of the other terms or
conditions of the Senior Debt Commitment Letter are amended or changed in connection with
such extension, then any such extension must be on terms and conditions reasonably satisfactory
to Tribune and Bidder. if the Senior Lenders require that any incremental Financing Costs be
paid in order to obtain such extension, Bidder shall not be required to pay such incremental
Financing Costs.

(iii) An extension of the expiration date of the Senior Debt
Commitment Letter obtained in accordance with clauses (i) or (ii) of this Section 4.11 i is
referred to as a “Senior Debt Commitment Letter Extension”.

(iv) At any time after the Escrow Closing Date, Tribune may request
that Bidder seek to extend the commitment of the Senior Lenders to provide the Senior Debt
Financing under the Bank Credit Agreement beyond the date that is forty-five (45) Business
Days after the completion of the Escrow Closing. if Tribune makes such a request, then Bidder
shall use its reasonable best efforts to obtain such an extension, which reasonable best efforts for
purposes of this clause (iv) shall require the payment by Bidder of up to $4,000,000 of
incremental Financing Costs, provided that: (A) any extension must be on terms and conditions
satisfactory to Tribune and Bidder, and (B) no such extension shall extend such commitment for
more than thirty (30) days beyond the date that is forty-five (45) Business Days after the
completion of the Escrow Closing, unless Bidder in its sole discretion agrees to such extension,

(v) At any time after the Escrow Closing Date, Bidder may seek to
extend the commitment of the Senior Lenders to provide the Senior Debt Financing under the
Bank Credit Agreement beyond the date that is forty-five (45) Business Days after the
completion of the Escrow Closing, provided that any such extension must be on terms and
conditions satisfactory to Tribune, To the extent the Senior Lenders require that any incremental
Financing Costs be paid to obtain such extension Bidder shall have the option to pay such
incremental Financing Costs.

(vi) An extension of the Senior Lenders’ commitment under the Bank
Credit Agreement obtained in accordance with clauses (iv) or (v) of this Section 4.11§i) is
referred to as a “Credit Agreement Extension”.

(vii) The parties acknowledge that the Senior Lenders shall have no
obligation to extend their respective commitments under the Senior Debt Commitment Letter,
the Bank Credit Agreement or any other Senior Debt Document and may elect to extend or not
extend such commitments in their sole and absolute discretion (except for any extensions
provided for under the express terms of the Senior Debt Commitment Letter or the Bank Credit
Agreement, as applicable).

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(i) Unless otherwise agreed to in writing by Tribune and Bidder, Bidder shall
exercise its right to extend the “Escrow End Date” (as defined in the Senior Debt Commitment
Letter) pursuant to the terms of the Bank Credit Agreement (as described in the term sheet
attached to the Senior Debt Commitment Letter) for each of the two 15 Business Day extensions
provided for therein.

Section 4. 12 Certain Bidder Covenants. From and after the date of this Agreement and
until the Closing, Bidder shall promptly deliver notice to Tribune in writing of any specific event
or circumstance of which Bidder has Knowledge, or of which Bidder receives written notice, that
(a) has resulted or could reasonably be expected to result in any of the conditions set forth in
Section 7.1, Section 7.3 or Section 7.4 not being satisfied or (b) with respect to any such event or
circumstance occurring on or after the Escrow Closing, would have resulted or would have
reasonably been expected to result in any of the conditions set forth in Section 7.1 or Section 7.3
not being satisfied if such event or circumstance had occurred prior to the Escrow Closing.

 

Section 4. 13 lnsurance.

(a) To the extent any Policy listed as placed by MLB on Schedule 2. 16
provides “occurrence based” liability insurance, the Tribune Parties shall use their reasonable
best efforts, prior to the Escrow Closing, to cause Bidder, Newco and the Newco Subs to be
added as additional insureds, on a primary and noncontributory basis, under such Policy for the
current policy year and the preceding six policy years solely with respect to pre-closing
occurrences, injury and/or damage. Additionally, unless and until Bidder advises Tribune
otherwise, to the extent any Policy provides “claims made” Directors and Officers or Fiduciary
liability insurance coverage, the Tribune Parties shall use reasonable best efforts to ensure that
such Policy or any renewal, replacement or extension thereof that is obtained by Tribune
continues to provide similar coverage, in all material respects, for pre-Closing wrongful acts,
errors or omissions arising from or relating to the Cubs Business for a period of not less than six
(6) years following the Closing; provided that, Tribune may provide Newco with written notice
of any out-of-pocket costs incurred after Closing by Tribune outside Tribune’s ordinary course
renewal, if any, of such coverage, and to the extent such costs are reasonably allocable to the
continued coverage described in this Section 4. 13 applicable to the Cubs Business, such costs
shall be paid by Newco, Notwithstanding the foregoing, (i) in the case of Healthcare
Professional liability insurance, upon request by Newco, Tribune shall use reasonable best efforts
(which shall not include the payment of any fee) to provide Newco, to the extent available, with
an insurer’s quote for continuing such coverage or purchasing a tail insurance policy with respect
thereto, and Tribune shall only be required to maintain such coverage or purchase such tail if
Newco pays in advance the costs of such insurance, and (ii) in the case of Directors and Officers
and Fiduciary liability insurance, if Tribune does not renew, replace or extend such policy with a
policy that includes coverage for pre-Closing wrongful acts, errors or omissions arising from or
relating to the Cubs Business, then Tribune shall use reasonable best efforts (which shall not
include the payment of any fee) to provide Newco with an insurer’s quote for purchasing a tail
insurance policy with respect thereto (which tail shall include coverage for pre-Closing
wrongful acts, errors or omissions arising from or relating to the Cubs Business for not less than
6 years following the Closing) and Tribune shall only be required to purchase such tail if Newco
pays in advance the costs of such insurance

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(b) lf Newco provides a written notice to Tribune after the Closing that any
claim has arisen, or otherwise exists, that is covered under any Directors’ and Officers’,
Fiduciary or Healthcare Professional liability insurance listed on Schedule 2. 16 as placed by
“Tribune,” including any extension of “claims made” liability coverage as referenced in Section
4.13§a), then promptly following receipt of such written request from Newco the Tribune Parties
shall use their reasonable best efforts, consistent with past practice for submitting Tribune Party
claims, to report all such claims within such time and in such manner as required under the
insurance policies (to the extent such time period has not expired), shall further use their
reasonable best efforts consistent with their past practices to pursue recovery on all such claims,
and upon the receipt by any Cubs Entities of any insurance proceeds, the Cubs Entities shall, and
Tribune shall cause the Cubs Entities to, promptly pay Newco such proceeds (but only to the
extent those proceeds represent payment or reimbursement by an insurer for any losses, damages
or other amounts borne by Newco or a Newco Sub arising from such claims); provided
however, that Newco shall be responsible for and reimburse the Tribune Parties for any out-of-
pocket costs (which shall include a reasonable charge for wages, salaries, benefits or other
overhead expenses associated with the Tribune Parties’ own employees) incurred by the Tribune
Parties in pursuing any claims for the benefit of Newco or any Newco Sub pursuant to their
obligations under this Section 4.13gbl, along with the amount of any deductibles, self-insured
retentions, coinsurance or similar expenses that would otherwise be borne by the Tribune Parties
as a result of any such claims.

(c) To the extent that any of the Cubs Entities’ rights to insurance under the
Policies and condemnation proceeds relating to the damage, destruction, taking or other
impairment of any Cubs Contributed Assets prior to the Closing, including insurance for direct
property loss and business interruption or other time element losses, are not assignable, upon a
written notice from Newco, the Cubs Entities shall, and Tribune shall cause the Cubs Entities to,
use their reasonable best efforts consistent with Tribune’s past practice to pursue recovery on all
such claims. Upon the receipt by any Cubs Entities of any such insurance and condemnation
proceeds relating thereto, the Cubs Entities shall, and Tribune shall cause the Cubs Entities to,
promptly pay Newco such proceeds (but only to the extent those proceeds represent payment or
reimbursement by an insurer for any damage, destruction, other impairment or other time
element losses actually suffered by Newco or a Newco Sub, or the costs of repair borne by
Newco or a Newco Sub), Additionally, the Tribune Parties may withhold from any such
payments any out-of-pocket costs (which shall include a reasonable charge for wages, salaries,
benefits or other overhead expenses associated with the Tribune Parties’ own employees)
incurred by the Tribune Parties in pursuing such recovery for the benefit of Newco or any Newco
Sub along with the amount of any deductibles, self-insured retentions, coinsurance or similar
expenses (other than increases in premiums) that are otherwise borne by the Tribune Parties as a
result of any such claims.

Section 4.14 Compliance with Baseball Rules; MLB Approvals.

(a) Tribune and Bidder shall, as promptly as practicable, submit all materials
necessary to obtain all MLB Approvals.

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(b) Bidder Covered Parties and Tribune Parties shall (and shall cause their
Affiliates to) use their reasonable best efforts to take, or cause to be taken, all actions, and do, or
cause to be done, all things, necessary, proper or advisable, in each case, as promptly as possible,
to obtain all MLB Approvals, including becoming a party to any and all agreements required by
the Commissioner, the Major League Clubs, the Office of the Commissioner of Baseball or any
other MLB Entity and divesting any interest of Bidder or Bidder’s Affiliates in conflicting
businesses and sports teams. ln connection with the foregoing, Bidder and Tribune Parties shall
(and shall cause their Affiliates to) furnish Major League Baseball with all information and
assistance as may be required in order to obtain all MLB Approvals, Bidder Covered Parties
shall (and shall cause their Affiliates to) use their reasonable best efforts to respond to any
requests for modifications or changes by Major League Baseball to the Debt Financing provided
that such modifications or changes are approved in advance by Tribune, and to otherwise comply
with all requirements of Major League Baseball. The parties’ obligations under this Section 4. 14
shall include, if necessary, making amendments or modifications to, or agreeing to any changes
to, the form and/or structure of the transactions contemplated by this Agreement or Bidder,
Newco or any Subsidiary of Newco, this Agreement, any Transaction Document (including any
revisions required to form agreements to be entered into at the Escrow Closing or Closing) or
any agreement or document relating to the Debt Financing. The parties acknowledge that, as a
condition to granting the MLB Approvals, Major League Baseball may require modifications to
be made to the form and/or structure of the transactions contemplated by this Agreement or
Bidder, Newco or any Subsidiary of Newco and in order to obtain the MLB Approvals, it shall
be necessary to implement such modifications Notwithstanding anything in this Agreement to
the contrary (including in the first sentence of this Section 4.14gb)), neither the Bidder Covered
Parties nor the Tribune Parties, without Bidder’s (in the case of Bidder Covered Parties) or
Tribune’s (in the case of Tribune Parties) prior written consent, shall be required to take any
action under this Section 4.14§bl if such action in the aggregate with all other changes requested
by Major League Baseball after the date hereof (i) adversely affects, in any material respect, the
economic terms or other material terms of the Transactions with respect to such party, including
the transactions contemplated by the Debt Financing, or (ii) has or would reasonably be expected
to have a material adverse effect on the operation of the Cubs Business. Bidder shall not add any
equity investors to its ownership group who would reasonably be expected to cause any material
delay in the receipt of, or reversal of, any MLB Approvals and any equity investor not listed on
Schedule 4.14gb) who is subsequently added to Bidder’s ownership group who is not acceptable
to Major League Baseball shall be removed from Bidder’s ownership group and Bidder shall
cause all equity financing that would have been contributed by such removed investor to be
satisfied

(c) At or prior to Closing, Newco shall pay to Major League Baseball the
unpaid amount of all documented expenses of Major League Baseball related to the
Transactions, including those related to background checks performed by Major League Baseball
in connection with consideration of Bidder, Bidder Trust and their respective Affiliates, and
outside legal counsel for the transaction, except that with respect to bankruptcy legal counsel
fees and expenses relating to the Transactions, Newco shall only be obligated to pay up to
$187,500 of such fees and expenses (collectively, the “Covered MLB Transaction Expenses”).
At or prior to the Closing, Tribune Parties shall pay to Major League Baseball the unpaid amount

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of (i) all fees, costs and expenses of Major League Baseball associated with any other
contemplated Acquisition Transaction (whenever contemplated) with any Person other than
Bidder, Bidder Trust or their respective Affiliates, including all fees and expenses of any legal
counsel engaged by Major League Baseball to review any other Acquisition Transaction, all
expenses related to background checks and investigations performed by Major League Baseball
in connection with consideration of various bidders, other than Bidder, Bidder Trust and their
respective Affiliates, (ii) all fees, costs and expenses of Major League Baseball associated with a
contemplated Acquisition Transaction generally and without reference to any particular Person,
and (iii) all fees and expenses of Major League Baseball for bankruptcy legal counsel relating to
the Transactions with Bidder, Bidder Trust and their respective Affiliates in excess of $187,500
(the fees, costs and expenses in clauses (i), (ii) and (iii) are collectively referred to as the “Cubs
Excluded MLB Expenses”).

(d) The parties are aware of the provisions contained in the Major League
Constitution and the “Control interest Transfers -- Guidelines & Procedures” issued by the
Commissioner on November 9, 2005 (as the same may be amended supplemented or otherwise
modified from time to time, the “Guidelines”). Tribune, as required by the MLB Rules and
Regulations, represents to Major League Baseball and Bidder that it has notified the
Commissioner and the Office of the Commissioner of Baseball of the proposed transaction and
has applied for approval of such transaction pursuant to the Major League Constitution, the
Guidelines and any other applicable MLB Rules and Regulations. Such approval, as required by
the MLB Rules and Regulations, is recognized by the parties to be in the sole and absolute
discretion of the Commissioner, the Office of the Commissioner of Baseball and the Major
League Clubs, as applicable. Each party, as required by the MLB Rules and Regulations,
represents to Major League Baseball that to date it has acted and covenants to Major League
Baseball that it will continue to act, in full and strict compliance with the Major League
Constitution and the Guidelines in connection with the proposed transaction. Each party, as
required by the MLB Rules and Regulations, further represents to Major League Baseball that all
information contained in documents or statements provided or to be provided by or on behalf of
it or its Affiliates to the Commissioner, the Office of the Commissioner of Baseball or any other
Major League Baseball Entity shall be true, complete and correct in all material respects and, to
its Knowledge, shall not contain any untrue or misleading information

(e) Each party, as required by the MLB Rules and Regulations, acknowledges
and agrees that the Escrow Closing is conditioned upon and subject to the prior approval of the
Commissioner, the Office of the Commissioner of Baseball and the Major League Clubs, in each
case, in its or their sole and absolute discretion under the Major League Constitution, the
Guidelines and any other applicable MLB Rules and Regulations.

(f) Bidder shall have the right to designate a member of the Ricketts family as
the “control person” of the Club, including a member of the Ricketts family to replace Tom
Ricketts as the intended “control person” if MLB Approval cannot be obtained for Tom Ricketts
as the “control person” of the Club. Bidder shall continue to have the same rights as to each
member of the Ricketts family that Bidder designates as the successor nominee as “control
person” of the Club,

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(g) From and after Closing, Bidder shall and shall cause Newco, Newco Subs
and its Affiliates to use best efforts (which shall not in any event include the expenditure of
money or incurrence of a liability that will not be borne by WGN) to obtain the approval from
Major League Baseball of the Superstation Extension. Upon approval by Major League Baseball
of the Superstation Extension, Cubs Newco Sub shall execute and deliver the Superstation
Extension to Tribune,

(h) if Bidder or Tribune Parties have a reasonable basis to believe that MLB
Approval is not likely to be obtained on a timely basis, such party shall promptly, upon
becoming aware of such basis, notify the other thereof,

Section 4. 15 Bankruptcy Court Approval and Related Matters.

(a) From and after the execution of this Agreement, the Tribune Parties shall
use their reasonable best efforts to keep Bidder informed on a current basis with respect to all
material objections to approval or consummation of the Transactions (including the Newco Sale)
raised by or on behalf of the Creditors Committee or the Steering Committee (the “Tribune
Committees”) of which the Tribune Parties have Knowledge Without limiting the foregoing,
Tribune will deliver written notice to Bidder promptly, and in any event within three (3) days, if
at any time the Tribune Parties believe in good faith that either of the Tribune Committees or any
creditor with a material claim against any of the Tribune Parties will object to the approval and
consummation of the Transactions (including the Newco Sale). Upon Bidder’s request, the
Tribune Parties shall use their reasonable best efforts to facilitate meetings and communications
among Bidder, the Tribune Parties and either of the Tribune Committees. Bidder shall not
communicate (whether in writing, orally or otherwise) with the Tribune Committees, the
members thereof, or their respective Representatives, in such capacities, unless such
communication is in the presence of Tribune and its Representatives, or Tribune has approved of
such communication in advance, with such approval not to be unreasonably withheld by Tribune.
lf Bidder or any of its Representatives is contacted by any members of the Tribune Committees
or any of their respective Representatives, in such capacities, in connection with the Transactions
(including the Newco Sale), then Bidder or its Representatives will promptly notify Tribune of
such communication (such notice to include the identity of the party, a summary of any oral
communication and a copy of any written communication). The Tribune Parties shall use
reasonable best efforts (which, for this purpose, shall not be deemed to include any requirement
that any Tribune Party expend any money or pay any fees or agree to any delay in having the
Transaction Approval Orders entered or becoming final and non-appealable orders) to seek
approval by the Bankruptcy Court of the Newco Sale in connection with the Bankruptcy Court’s
approval of the Approval Orders; provided however, the Parties agree and acknowledge that (i)
approval of the Newco Sale by the Bankruptcy Court is not a condition precedent to any Party’s
obligation to complete the Transactions, (ii) Tribune will not have any liability or obligation
under this Agreement (including under this Section 4.15) by virtue of such approval not being
obtained and (iii) if such approval is not obtained references in this Section 4. 15 related to the
approval of the Bankruptcy Court of the Transactions shall be deemed to exclude the Newco
Sale,

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(b) Within five (5) Business Days after the date of this Agreement, Tribune
shall file (i) motions with the Bankruptcy Court seeking entry of the Notice and Procedures
Approval Order and related procedural orders (the “Notice and Procedures Approval
Motions”), and (ii) a motion pursuant to Bankruptcy Code Sections 105, 363 and 365 seeking
Bankruptcy Court approval of this Agreement, the Transactions (including the Newco Sale), and
the entry of the Tribune Transaction Approval Order (the “Tribune Transaction Approval
Motion,” and together with the Notice and Procedures Approval Motions, the “Approval
Motions”). Except as Tribune and Bidder may otherwise agree in writing, the Notice and
Procedures Approval Motions shall be in substantially the form(s) attached hereto as Exhibit W
and the Tribune Transaction Approval Motion shall be in substantially the form attached hereto
as Exhibit X. The Tribune Parties will use their reasonable best efforts to obtain entry of the
Approval Orders and any other orders mutually agreed upon by Tribune and Bidder that are
necessary to consummate the Transactions (including the Newco Sale, which, for this purpose,
shall not be deemed to include any requirement that any Tribune Party expend any money or pay
any fees or agree to any delay in having the Transaction Approval Orders entered or becoming
final and non-appealable orders). Bidder will use its reasonable best efforts to (and will cause its
Affiliates to use their reasonable best efforts to) assist the Debtors and the Additional Filers in
obtaining entry of the Approval Orders and any other orders mutually agreed upon by Tribune
and Bidder that are necessary to consummate the Transactions. Bidder and the Tribune Parties
shall not, and shall not permit any of their respective Affiliates to, take any actions, or fail to take
any actions, that could reasonably be expected to materially impair, delay or prevent the entry of
the Approval Orders or any other orders mutually agreed upon by Tribune and Bidder that are
necessary to consummate the Transactions, unless required to do so by an order or a direction on
the record of the Bankruptcy Court, provided that both Bidder and the Tribune Parties shall use
their reasonable best efforts to oppose entry of such an order, Tribune shall have the option to
file the Bidder Financing Affidavits with the Bankruptcy Court. lf Tribune does elect not to file
one or more of the Bidder Financing Affidavits, then Bidder shall have the option to file such
Bidder Financing Affidavit(s) with the Bankruptcy Court. Tribune shall as promptly as
practicable, and in any event at least eight (8) Business Days prior to the original scheduled
hearing date on the Tribune Transaction Approval Motion, notify Bidder in writing of such
scheduled hearing date. lf the scheduled hearing date is thereafter changed then Tribune shall as
promptly as practicable, and in any event at least three (3) Business Days prior to the new
scheduled hearing date, notify Bidder in writing of such new scheduled hearing date. The
scheduled hearing date, whether the original or a rescheduled date, shall not, without Bidder’s
consent, be prior to September 24, 2009. Notwithstanding the foregoing, if at any time Bidder
has informed Tribune pursuant to Section 4.11§bl that (i) any Commitment Letter or any lender’s
commitment under the Bank Credit Agreement has expired or terminated for any reason (other
than the expiration of the Senior Debt Commitment Letter upon the execution of a Bank Credit
Agreement providing for $450,000,000 (subject to reduction as set forth in Section 4.11{el) of
Senior Debt Financing and, in the case of any lender’s commitment under the Bank Credit
Agreement, other than if such commitment when terminated is simultaneously replaced by the
commitment of another lender or lenders that are Unaffiliated Third Party Lenders on the same
terms and for the same aggregate amount or if such commitment is terminated or reduced as of
Closing and is simultaneously replaced by the funding by another lender or lenders that are
Unaffiliated Third Party Lenders for the aggregate amount subject to the termination or reduction

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on the terms of the Senior Notes), (ii) any financing source that is a party to a Commitment
Letter or Bank Credit Agreement has notified Bidder that such source no longer intends to
provide financing to Bidder on substantially the terms set forth therein, (iii) any financing source
that is a party to a Commitment Letter or Bank Credit Agreement or any Senior Lender
communicates information to Bidder that should reasonably cause Bidder to believe that it is
reasonably likely that a condition to such financing source’s obligation to provide the Debt
Financing will not be satisfied or waived by such financing source or (iv) Bidder, to its
Knowledge, believes in good faith that it will be unable to obtain all or any portion of the Debt
Financing, Equity Financing or Ricketts GuarantyCo and Ricketts Lender Equity Financing on
substantially the terms described in the Commitment l_etters or Credit Agreement (clauses (i)
through (iv) are collectively referred to as the “Financing Tolling Events”), then, except as
otherwise set forth in the next sentence, until Bidder has notified Tribune in writing that the
Financing Tolling Events referred to in such notice have been cured or otherwise resolved
(including by obtaining New Commitment Letters pursuant to Section 4.11(cl or, to the extent
Senior Debt Financing is implicated replacing such Senior Debt Financing pursuant to Section
4.11§el), the Tribune Parties shall not be required to seek to obtain entry of the Approval Orders
or any other orders related to the Transactions and any related deadlines (including the deadline
provided for in Section 4.15§ i lt ii)) for the entry or effectiveness of such orders shall be extended
for such number of days equal to the number of days that elapse after the date that Tribune has
been informed of the Financing Tolling Events until Tribune receives written notice that the
Financing Tolling Events have been cured or otherwise resolved Notwithstanding the preceding
sentence, if (x) in Bidder’s notice to Tribune regarding one or more Financing Tolling Events,
Bidder claims that a breach of this Agreement by any Tribune Party is a material cause of a
Financing Tolling Event and (y) such Tribune Party has breached this Agreement as so claimed
and such breach is a material cause of such Financing Tolling Event, and (z) such breach is not
cured within five (5) Business Days thereafter (provided that no Tribune Party shall have the
benefit of such five (5) Business Day cure period if Bidder had delivered written notice of such
breach to the Tribune Party at least five (5) Business Days prior to the notice of the Financing
Tolling Event and such breach had not been cured within five (5) Business Days after receipt of
such earlier written notice), then Tribune Parties shall continue to be required to seek to obtain
entry of the Approval Orders and any other orders related to the Transactions (including the
Newco Sale) and any related deadlines (including the deadline provided for in Section 4.15§ i )g ii ll
for the entry or effectiveness of such orders shall not be extended

(c) if the Notice and Procedures Approval Order is not entered by the
Bankruptcy Court on or before the date that is the earlier to occur of (x) fourteen (14) days after
the date the Notice and Procedures Approval Motions are filed or (y) twenty (20) days after the
date of this Agreement, then thereafter Bidder or Tribune, at their respective option, may
terminate this Agreement by written notice to the other parties so long as the Notice and
Procedures Approval Order has not been entered by the Bankruptcy Court prior to the delivery of
such notice, Following termination of this Agreement pursuant to this Section 4.15§cl, the Cubs
Entities, jointly and severally, shall pay Bidder an amount equal to

(i) the lesser of (x) the Bidder Covered Expenses (as hereinafter
defined) or (y) $1,700,000, plus

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(ii) fifty percent (50%) of any underwriting fees or capital
commitment fees (including any advisory fees related to capital commitments) paid by Bidder or
its Affiliates (including those paid after termination of this Agreement) to the Senior Lenders as
a result of Bidder or its Affiliates entering into the Senior Debt Commitment Letter (such
underwriting fees and capital commitment fees are collectively referred to as the “Commitment
Fees”), provided however, that the amount that the Cubs Entities are obligated to pay to Bidder
pursuant to this clause (ii) shall not exceed in the aggregate, an amount equal to (x) $l,800,000
minus (y) any amounts previously paid by any of the Cubs Entities to Bidder or any of its
Affiliates pursuant to the Fee Reimbursement Agreement as reimbursement of Commitment
Fees.

Any Bidder Covered Expenses shall be paid jointly and severally, by the Cubs Entities to Bidder
within five (5) Business Days after such termination of this Agreement. The portion of the
Commitment Fees payable pursuant to clause (ii) above shall be payable by the Cubs Entities at
the later of five (5) Business Days after such termination of this Agreement or two (2) Business
Days after Bidder has delivered to the Cubs Entities evidence reasonably satisfactory to the Cubs
Entities that Bidder or its Affiliates have paid such Commitment Fees.

(d) llntentionally omitted]

(e) lf, after the Notice and Procedures Approval Order has been entered by
the Bankruptcy Court, this Agreement has been terminated pursuant to Section 91ng and any of
the following has occurred after the date of this Agreement but prior to such termination of this
Agreement (each, a “Major Tribune Payment Trigger”):

(i) either of the Tribune Committees timely files with the Bankruptcy
Court an objection to the consummation of the Transactions (excluding the Newco Sale) (other
than an objection (A) to preserve rights with respect to the treatment or disposition of proceeds
received as a result of the Transactions, (B) to prevent an implied waiver of any other rights in
the Bankruptcy Case not associated with the Transactions, (C) with respect to non-material
elements of the Transactions, or (D) to a material amendment to or material waiver of this
Agreement or any other Transaction Document), and such objection is not withdrawn within two
(2) Business Days of its filing;

(ii) any Tribune Party (A) engages in any act intended to be in
furtherance of an Acquisition Transaction with any Person other than Bidder or any Affiliate of
Bidder, other than as permitted by Section 4.7gbl, (B) seeks entry of an order by the Bankruptcy
Court authorizing an Acquisition Transaction with any Person other than Bidder or any Affiliate
of Bidder, or (C) withdraws any of the Tribune Transaction Approval Motion or Additional Filer
Motions;

(iii) a motion or other court filing seeking an order authorizing the
disposition or transfer of the Cubs Business or the Cubs Contributed Assets, or any material
portion of either, to any Person other than Bidder or any Affiliate of Bidder is filed in the
Bankruptcy Case and/or any Additional Bankruptcy Case, and Tribune or the Additional Filers,
as applicable, do not promptly file and pursue in good faith an objection to such motion or other

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court filing (other than orders providing for a transfer to any other wholly-owned Subsidiary of
Tribune in accordance with the terms of this Agreement provided that (A) such Subsidiary is
bound by all obligations under this Agreement applicable to the transferring entity, (B) such
transfer does not materially and adversely impair the Tribune Parties’ (after giving effect to such
transfer) ability to perform their obligations hereunder, including Article Vlli, and (C) if such
transfer is to be made prior to Closing, such transfer does not materially adversely affect Bidder,
Newco or any Direct Newco Sub with respect to the assets to be contributed to or the liabilities
to be assumed by Newco or such Direct Newco Sub pursuant to this Agreement or adversely
affect, in any material respect, the economic terms or other material terms of the Transactions
(including the Newco Sale) with respect to Bidder, Newco or any Direct Newco Sub);

(iv) an order is entered by the Bankruptcy Court authorizing or
directing the disposition or transfer of the Cubs Business or the Cubs Contributed Assets, or any
material portion of either, to any Person other than Bidder or any Affiliate of Bidder (other than
an order providing for a transfer to any other wholly-owned Subsidiary of Tribune in accordance
with the terms of this Agreement provided that (A) such Subsidiary is bound by all obligations
under this Agreement applicable to the transferring entity, (B) such transfer does not materially
and adversely impair the Tribune Parties’ (after giving effect to such transfer) ability to perform
their obligations hereunder, including Article Vlli, and (C) if such transfer is to be made prior to
Closing, such transfer does not materially adversely affect Bidder, Newco or any Direct Newco
Sub with respect to the assets to be contributed to or the liabilities to be assumed by Newco or
such Direct Newco Sub pursuant to this Agreement or adversely affect, in any material respect,
the economic terms or other material terms of the Transactions (including the Newco Sale) with
respect to Bidder, Newco or any Direct Newco Sub);

(v) Major League Baseball notifies Tribune in writing that it does not
intend to grant, in whole or in part, MLB Approvals due, in whole or in part, to a failure by the
Tribune Parties, in bad faith, to disclose, or an intentional misrepresentation by the Tribune
Parties of, material information relating to the Transactions not known to Major League Baseball
as of the date hereof, in violation of MLB Rules and Regulations, and after Tribune has had a
reasonable opportunity to address Major League Baseball’s objections, the MLB Approvals are
not granted primarily as a result of such failure to disclose or intentional misrepresentation;

(vi) the Escrow Closing does not occur within five (5) Business Days
after all of the conditions set forth in Sections 7.1 (Conditions Precedent of all Parties to Escrow
Closing), 7.2 (Conditions Precedent of Bidder to Escrow Closing) and 7_._3 (Conditions Precedent
of Tribune Parties to Escrow Closing) (other than the condition set forth in Section 7.2gh)
(Additional Filing Assurance) and those conditions which by their nature require the delivery of
a document or the taking of an action (including the actual funding of the Senior Debt Financing
(other than the Revolver) to the Closing Agent) at the Escrow Closing) have been satisfied or
waived by the applicable parties; or

(vii) the Escrow Closing has occurred and the Additional Bankruptcy

Cases are not commenced or the Additional Filer Motions are not filed in each case within four
(4) Business Days thereafter,

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then, subject to Section 4.15(kl, within five (5) Business Days following such termination of this
Agreement, Tribune Parties, jointly and severally, shall (in the aggregate) pay Bidder a
liquidated sum of $20,000,000 (the “Major Tribune Payment Amount”), which payment, if
made by a Debtor, shall be treated as payment of an allowed (on a final, and not provisional or
interim, basis) administrative priority claim pursuant to Sections 503(b) and 507(a)(2) of the
Bankruptcy Code, without further order of the Bankruptcy Court, and shall be included in any
plan filed by Tribune Parties. The Major Tribune Payment Triggers described in clauses (ii), (iii)
and (iv) are referred to as the “Covered Major Tribune Payment Triggers.”

(f) lf, after the Notice and Procedures Approval Order has been entered by
the Bankruptcy Court, this Agreement has been terminated pursuant to Section 9. l§bl and any of
the following has occurred after the date of this Agreement but prior to such termination of this
Agreement (each a “Major Bidder Payment Trigger”):

(i) (A) all of the conditions to the Escrow Closing set forth in Sections
7_._1_ (Conditions Precedent of all Parties to Escrow Closing) and 7_.2 (Conditions Precedent of
Bidder to Escrow Closing) were satisfied (other than the condition to Escrow Closing described
in Section 7.2§ g) (Senior Debt Financing) and those conditions which by their nature require the
delivery of a document or the taking of an action at the Escrow Closing) or waived by the
applicable parties, (B) the Tribune Transaction Approval Order has been entered and either is
final and non-appealable or both the Senior Lenders and the Tribune Parties have waived any
requirement that it be final and non-appealable, (C) the Escrow Closing does not occur by the
earlier of (x) eight (8) Business Days following the date on which the Tribune Parties notify
Bidder that all of such conditions (including the satisfaction of the condition in clause (B)) were
satisfied or waived by the applicable parties or (y) the Termination Date, and (D) a Class lll Debt
Condition Precedent F ailure occurs;

(ii) (A) the Escrow Closing has occurred all of the conditions to the
Closing set forth in Section 7.4 (Conditions Precedent to Closing) were satisfied (other than
those conditions which by their nature require the delivery of a document or the taking of an
action at the Closing) or waived by the applicable parties, (B) the Closing does not occur by the
earlier of (x) seven (7) Business Days following the date on which the Tribune Parties notify
Bidder that all of such conditions were satisfied or waived by the applicable parties or (y) the
Termination Date, and (C) a Class lll Debt Condition Precedent Failure occurs;

(iii) at least two (2) Business Days prior to the scheduled hearing date
on the Tribune Transaction Approval Motion, Bidder has not delivered or caused to be
delivered to the Tribune Parties each of the three affidavits in substantially the forms attached
hereto as Exhibit JJ (collectively, the “Bidder Financing Affidavits”), and any one of the
Bidder Financing Affidavits was not delivered either (A) due, in whole or in part, to any such
affiant’s good faith reasonable determination that a Class ill Debt Condition Precedent Failure
will exist on the Anticipated Escrow Closing Date (as defined in the Bidder Financing
Affidavits) or (B) for any reason other than the good faith reasonable determination by such
affiant (s)that a Class l Debt Condition Precedent Failure, a Class ll Debt Condition Precedent
Failure, a Special Class ll Debt Condition Precedent Failure or a Class lll Debt Condition
Precedent Failure will exist on the Anticipated Escrow Closing Date;

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(iv) Major League Baseball notifies Bidder in writing that it does not
intend to grant, in whole or in part, the MLB Approvals due, in whole or in part, to a failure by
Bidder or any of its Affiliates, in bad faith, to disclose, or an intentional misrepresentation by
Bidder or any of its Affiliates of, material information not known to Major League Baseball as of
the date hereof, in violation of MLB Rules and Regulations, and after Bidder has had a
reasonable opportunity to address Major League Baseball’s objections, the MLB Approvals are
not granted primarily as a result of such failure to disclose or intentional misrepresentation;

(v) there is a breach of the Subordinated Debt Commitment Letter; or
(vi) there is a breach of the Equity Commitment Letter,

then, subject to Section 4.15gkl, within five (5) Business Days following such termination of this
Agreement, Bidder shall pay the Tribune Parties (in the aggregate and as directed by Tribune) a
liquidated sum of $20,000,000 (the “Major Bidder Payment Amount”). The Major Bidder
Payment Triggers described in clauses (i), (ii), (iii), (v) and (vi) are referred to as the “Finance
Major Bidder Payment Triggers.”

(g) lf, after the Notice and Procedures Approval Order has been entered by
the Bankruptcy Court, this Agreement has been terminated pursuant to Section 9. lgb) and any of
the following has occurred after the date of this Agreement but prior to such termination of this
Agreement (each, a “Middle Tribune Payment Trigger”):

(i) the Tribune Parties materially breach their obligations under
Section 4.1 lgdl, such material breach is not cured within five (5) Business Days after Bidder
delivers written notice of such breach to Tribune, and such material breach is tire primary cause
of the failure of the conditions set forth in Sections 7.2§ gl (Senior Debt Financing) and 7.3gel
(Debt and Equity Financing) to be satisfied; or

(ii) (A) (i) an objection to any of the Approval Motions or Additional
Filer Motions is filed by or on behalf of a Competing Bidder in the Bankruptcy Case and/or
Additional Bankruptcy Case that supports such Competing Bidder or any Affiliate of such
Competing Bidder, (ll) a motion or other court filing is filed by or on behalf of a Competing
Bidder, the Bankruptcy Case and/or any Additional Bankruptcy Case seeking an order
authorizing the disposition or transfer of the Cubs Business or the Cubs Contributed Assets, or
any material portion of either, to such Competing Bidder or any Affiliate of such Competing
Bidder, or (lll) an appeal of the Notice and Procedures Approval Order, the Tribune Transaction
Approval Order or the Additional Filers Transaction Approval Order is filed by or on behalf of a
Competing Bidder that supports such Competing Bidder or any Affiliate of such Competing
Bidder, and (B) the action taken in clause (A) was the primary cause of the Closing not
occurring,

then, subject to Section 4.15(k1, within five (5) Business Days following such termination of this
Agreement, Tribune Parties, jointly and severally, shall (in the aggregate) pay Bidder a
liquidated sum of 810,000,000 (the “Middle Tribune Payment Amount”), which payment, if
made by a Debtor, shall be treated as payment of an allowed (on a final, and not provisional or

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interim, basis) administrative priority claim pursuant to Sections 503(b) and 507(a)(2) of the
Bankruptcy Code, without further order of the Bankruptcy Court, and shall be included in any
plan filed by Tribune Parties.

(h) lf, after the Notice and Procedures Approval Order has been entered by
the Bankruptcy Court, this Agreement has been terminated pursuant to Section 9.1gbl and any of
the following has occurred after the date of this Agreement but prior to such termination of this
Agreement (each a “Middle Bidder Payment Trigger”):

(i) (A) all of the conditions to the Escrow Closing set forth in Sections
:/_.l (Conditions Precedent of all Parties to Escrow Closing) and 1._2 (Conditions Precedent of
Bidder to Escrow Closing) were satisfied (other than the condition to Escrow Closing described
in Section 7.2§ gl (Senior Debt Financing) and those conditions which by their nature require the
delivery of a document or the taking of an action at the Escrow Closing) or waived by the
applicable parties, (B) the Tribune Transaction Approval Order has been entered and either is
final and non-appealable or both the Senior Lenders and the Tribune Parties have waived any
requirement that it be final and non-appealable, (C) the Escrow Closing does not occur by the
earlier of (x) eight (8) Business Days following the date on which the Tribune Parties notify
Bidder that all of such conditions (including the satisfaction of the condition in clause (B)) were
satisfied or waived by the applicable parties or (y) the Termination Date, and (D) a Class ll Debt
Condition Precedent Failure occurs;

(ii) (A) the Escrow Closing has occurred all of the conditions to the
Closing set forth in Section 7.4 (Conditions Precedent to Closing) were satisfied (other than
those conditions which by their nature require the delivery of a document or the taking of an
action at the Closing) or waived by the applicable parties, (B) the Closing does not occur by the
earlier of (x) seven (7) Business Days following the date on which the Tribune Parties notify
Bidder that all of such conditions were satisfied or waived by the applicable parties or (y) the
Termination Date, and (C) a Class il Debt Condition Precedent Failure occurs;

(iii) at least two (2) Business Days prior to the scheduled hearing date
on the Tribune Transaction Approval Motion, Bidder does not deliver to Tribune one or more of
the Bidder Financing Affidavits due, in whole or in part, to any such affiant’s good faith
reasonable determination that a Class ll Debt Condition Precedent Failure will exist on the
Anticipated Escrow Closing Date,

then, subject to Section 4.15(kl, within five (5) Business Days following such termination of this
Agreement, Bidder shall pay the Tribune Parties (in the aggregate and as directed by Tribune) a
liquidated sum of $10,000,000 (the “Middle Bidder Payment Amount”).

(i) lf, after the Notice and Procedures Approval Order has been entered by
the Bankruptcy Court, this Agreement has been terminated pursuant to Section 9.lgbl and any of

the following has occurred after the date of this Agreement but prior to such termination of this
Agreement (each a “Minor Tribune Payment Trigger”):

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(i) Major League Baseball notifies Bidder or Tribune in writing that
Major League Baseball does not intend to grant, in whole or in part, the MLB Approvals due, in
whole or in part, to the amount of the Debt Financing, after Tribune and Bidder have had a
reasonable opportunity to address Major League Baseball’s objections, the MLB Approvals are
not granted primarily as a result of such reason; or

(ii) the Tribune Transaction Approval Order is not entered by the

Bankruptcy Court on or before November 6, 2009, and all of the conditions to the Escrow
Closing set forth in Sections 7.1 (Conditions Precedent of all Parties to Escrow Closing) and :/_.3
(Conditions Precedent of Tribune Parties to Escrow Closing) have been satisfied (other than the
condition to the Escrow Closing set forth in Section 7.1§d) (Tribune Transaction Approval
Order), the conditions in Section 7.3gel (Debt and Equity Financing) and those conditions which
by their nature require the delivery of a document or the taking of an action at the Escrow
Closing) or waived by the applicable parties,

then, subject to Section 4.15gk), within five (5) Business Days following such termination of this
Agreement, Tribune Parties, jointly and severally, shall (in the aggregate) pay Bidder the
liquidated sum of $5,000,000 (the “Minor Tribune Payment Amount”), which payment, if
made by a Debtor, shall be treated as payment of an allowed (on a fmal, and not provisional or
interim, basis) administrative priority claim pursuant to Sections 503(b) and 507(a)(2) of the
Bankruptcy Code, without further order of the Bankruptcy Court, and shall be included in any
plan filed by Tribune Parties.

(i) lf, after the Notice and Procedures Approval Order has been entered by
the Bankruptcy Court, this Agreement has been terminated pursuant to Section 9.l§bl and any of
the following has occurred after the date of this Agreement but prior to such termination of this
Agreement (a “Minor Bidder Payment Trigger”):

(i) Major League Baseball notifies Bidder or Tribune in writing that
Major League Baseball does not intend to grant, in whole or in part, the MLB Approvals due, in
whole or in part, to a failure by Major League Baseball (i) to approve the Ricketts family as
controlling owner of the Cubs Business and/or (ii) to approve Thomas Ricketts or another
member of the Ricketts family designated by Bidder as the “control person,” and after Bidder has
had a reasonable opportunity to address Major League Baseball’s objections, the MLB
Approvals are not granted primarily as a result of either or both of such reasons;

(ii) (A) all of the conditions to the Escrow Closing set forth in Sections
:/_.l (Conditions Precedent of all Parties to Escrow Closing) and 7._2 (Conditions Precedent of
Bidder to Escrow Closing) were satisfied (other than the condition to Escrow Closing described
in Section 7.2§ gl (Senior Debt Financing) and those conditions which by their nature require the
delivery of a document or the taking of an action at the Escrow Closing) or waived by the
applicable parties, (B) the Tribune Transaction Approval Order has been entered and either is
final and non-appealable or both the Senior Lenders and the Tribune Parties have waived any
requirement that it be final and non-appealable, (C) the Escrow Closing does not occur by the
earlier of (x) eight (8) Business Days following the date on which the Tribune Parties notify
Bidder that all of such conditions (including the satisfaction of the condition in clause (B)) were

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satisfied or waived by the applicable parties or (y) the Termination Date, and (D) a Special Class
ll Debt Condition Precedent Failure occurs;

(iii) (A) the Escrow Closing has occurred all of the conditions to the
Closing set forth in Section 7.4 (Conditions Precedent to Closing) were satisfied other than those
conditions which by their nature require the delivery of a document or the taking of an action at
the Closing) or waived by the applicable parties, (B) the Closing does not occur by the earlier of
(x) seven (7) Business Days following the date on which the Tribune Parties notify Bidder that
all of such conditions were satisfied or waived by the applicable parties or (y) the Termination
Date, and (C) a Special Class ll Debt Condition Precedent Failure occurs; or

(iv) at least two (2) Business Days prior to the scheduled hearing date
on the Tribune Transaction Approval Motion Bidder does not deliver to Tribune one or more of
the Bidder Financing Affidavits due, in whole or in part, to any such affiant’s good faith
reasonable determination that a Special Class ll Debt Condition Precedent Failure will exist on
the Anticipated Escrow Closing Date,

then, subject to Section 4.l5gk), within five (5) Business Days following such termination of this
Agreement, Bidder shall pay the Tribune Parties (in the aggregate and as directed by Tribune)
the liquidated sum of $5,000,000 (the “Minor Bidder Payment Amount”).

(k) The obligation to pay any Payment Amount in respect of a Payment
Trigger under this Section 4,15 is subject to the following:

(i) lf a Finance Major Bidder Payment Trigger has occurred after the
date of this Agreement but prior to termination of this Agreement pursuant to Section 9. l(b l,
then, regardless of whether any Major Tribune Payment Triggers, Middle Tribune Payment
Triggers or Minor Tribune Payment Triggers have also occurred (A) Bidder shall be obligated
under Section 4.15§§) to pay to the Tribune Parties (in the aggregate) the Major Bidder Payment
Amount and no other Bidder Payment Amount(s) and (B) the Tribune Parties shall have no
obligation to pay any Tribune Payment Amounts.

(ii) lf one or more Middle Bidder Payment Triggers (but no Major
Bidder Payment Triggers) and one or more Major Tribune Payment Triggers have occurred after
the date of this Agreement but prior to termination of this Agreement pursuant to Section 9. l(b l,
then neither Bidder nor Tribune Parties shall have any liability to pay any Payment Amounts in
respect of any Payment Triggers, except that if one of such Major Tribune Payment Triggers is a
Covered Major Tribune Payment Trigger, then the Tribune Parties shall be obligated to pay to
Bidder the Major Tribune Payment Amount and no other Tribune Payment Amount(s), and
Bidder shall have no obligation to pay any Bidder Payment Amounts.

(iii) Except as otherwise set forth in Sections 4.15(k)(i) and 4.15(k)(ii),
if (A) one or more Bidder Payment Triggers and one or more Tribune Payment Triggers have
occurred after the date of this Agreement but prior to termination of this Agreement pursuant to
Section 9.l(bl, and (B) (l) the highest Bidder Payment Amount due under any of such Bidder
Payment Triggers (or the sole Bidder Payment Amount if there is only one Bidder Payment

 

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Trigger) is equal to the highest Tribune Payment Amount due under any of such Tribune
Payment Triggers (or the sole Tribune Payment Amount if there is only one Tribune Payment
Trigger), then neither Bidder nor Tribune Parties shall have any obligation to pay any Payment
Amounts; (ii) the highest Bidder Payment Amount due under any of such Bidder Payment
Triggers (or the sole Bidder Payment Amount if there is only one Bidder Payment Trigger) is
greater than the highest Tribune Payment Amount due under any of such Tribune Payment
Triggers (or the sole Tribune Payment Amount if there is only one Tribune Payment Trigger),
then Bidder shall be obligated to pay to the Tribune Parties (in the aggregate) such highest
Bidder Payment Amount and no other Bidder Payment Amount(s), and Tribune Parties shall
have no obligation to pay any Tribune Payment Amounts; and (lll) the highest Tribune Payment
Amount due under any of such Tribune Payment Triggers (or the sole Tribune Payment Amount
if there is only one Tribune Payment Trigger) is greater than the highest Bidder Payment
Amount due under any of such Bidder Payment Triggers (or the sole Bidder Payment Amount if
there is only one Bidder Payment Trigger), then the Tribune Parties shall be obligated to pay to
Bidder such highest Tribune Payment Amount and no other Tribune Payment Amount(s), and
Bidder shall have no obligation to pay any Bidder Payment Amounts.

(iv) Without duplication of Section 4.15gk)gi), if more than one Bidder
Payment Trigger and no Tribune Payment Triggers have occurred after the date of this
Agreement but prior to termination of this Agreement pursuant to Section 9. lgbl, then Bidder
shall pay to the Tribune Parties (in the aggregate) the highest Bidder Payment Amount in respect
of such Bidder Payment Triggers and no other Bidder Payment Amount(s), and Tribune Parties
shall have no liability for any Tribune Payment Amounts.

(v) if more than one Tribune Payment Trigger and no Bidder Payment
Triggers have occurred after the date of this Agreement but prior to termination of this
Agreement pursuant to Section 9.l§bl, then the Tribune Parties shall (in the aggregate) pay to
Bidder the highest Tribune Payment Amount in respect of such Tribune Payment Triggers and
no other Tribune Payment Amount(s), and Bidder shall have no liability for any Bidder Payment
Amounts.

(l) Promptly following consummation of the Escrow Closing, and in no event
more than four (4) Business Days following consummation of the Escrow Closing, Cubs LLC
shall file a voluntary petition for relief under Chapter ll of the Bankruptcy Code (the
“Additional Filer”). Upon at least two (2) days’ prior written notice to Bidder, Tribune shall
also have the option to file a voluntary petition for relief under Chapter 11 of the Bankruptcy
Code for some or all of the other Cubs Entities so long as appropriate notice is delivered to
creditors of such other Cubs Entities (any such other entities which do file, collectively with
Cubs LLC are also referred to as the “Additional Filers”). The Additional Filers will then file
motions with the Bankruptcy Court seeking the joint administration of such bankruptcy cases
with Tribune’s Bankruptcy Case (each an “Additional Bankruptcy Case” and collectively, the
“Additional Bankruptcy Cases”) and the entry of the Additional Filers Transaction Approval
Order (the “Additional Filer Motions”). Except as otherwise mutually agreed in writing by
Tribune and Bidder, the Additional Filer Motions shall be in substantially the form(s) attached
hereto as Exhibit Y, with such changes as are mutually agreed upon by Tribune and Bidder, with
neither party to unreasonably withhold condition or delay its agreement, provided that any

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Additional Filer Motion, if not already attached as part of Exhibit Y, will seek relief to
implement the Tribune Transaction Approval Order and this Agreement and shall be consistent
in all material respects with Exhibit Y. Bidder hereby consents to any such filings and agrees
that the completion of such filings shall (i) not result in or constitute a breach of any of the
representations and warranties contained herein (and any such representation or warranty that
could be made untrue as a result of such filing or the effects thereof will be deemed amended in
all respects such that there shall not be a breach thereoD, (ii) not be considered when determining
if there is a Cubs Material Adverse Effect and (iii) not be prohibited by Section 4.1 or any other
provision of this Agreement. Any Cubs Entities that are not Additional Filers shall be bound by,
and subject to the relief in, the Transaction Approval Orders and any other orders entered in the
Bankruptcy Case and any case commenced by an Additional Filer.

(m) Notwithstanding anything in this Agreement to the contrary, (i) a party
may not terminate this Agreement pursuant to Section 4.15gcl if such party breached its
obligations under this Agreement, such breach was not cured within five (5) Business Days after
the other party delivers written notice of such breach to such breaching party and such breach
was a material cause of the Notice and Procedure Approval Order not being entered when
required under Section 4.15(cl, (ii) Bidder shall not be entitled to any payment under Section
4.15§e), §g) or (i) if Bidder breached its obligations under this Agreement, such breach was not
cured within five (5) Business Days after Tribune delivers written notice of such breach to
Bidder and such breach was a material cause of the Major Tribune Payment Trigger, Middle
Tribune Payment Trigger or Minor Tribune Payment Trigger, respectively, that is being asserted
as the basis for such payment to occur and (iii) no Tribune Party shall be entitled to any payment
under Section 4.15gfl, fig or (j) if any Tribune Party breached its obligations under this
Agreement, such breach was not cured within five (5) Business Days after Bidder delivers
written notice of such breach to such Tribune Party and such breach was a material cause of the
Maj or Bidder Payment Trigger, Middle Bidder Payment Trigger or Minor Bidder Payment
Trigger, respectively, that is being asserted as the basis for such payment to occur.

(n) The parties acknowledge and agree that the agreements contained in this
Section 4. 15 are an integral part of the transactions contemplated by this Agreement, and that,
without these agreements, the parties would not enter into this Agreement. if a party fails to pay
the amount due by it pursuant to this Section 4.15 within five (5) Business Days, interest shall
accrue on such amount from the date such payment was required to be paid pursuant to the terms
of this Agreement until the date of payment at the Interest Rate. lf, to obtain such payment, the
other party commences a suit that results in judgment for such party for such amount, the
defaulting party shall pay the other party its reasonable costs and expenses (including reasonable
attorneys’ fees and expenses) incurred in connection with such suit. Each of the parties hereto
further acknowledges that the payment of the amounts specified in this Section 4.15 are not a
penalty, but are liquidated damages in a reasonable amount that will compensate the parties, in
the circumstances in which such amounts are payable, for the efforts and resources expended and
the opportunities foregone while negotiating this Agreement and in reliance on this Agreement
and on the expectation of the consummation of the Transactions (including the Newco Sale),
which amount would otherwise be impossible to calculate with precision. Notwithstanding
anything to the contrary in this Agreement, the parties agree that, following termination of this

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Agreement pursuant to Section 9. lgb ), the monetary remedies after the result of the operation of
Section 4.15gk) with respect to subsections Q), (e), L_fi_, (g), §_li), fi) or (j) in this Section 4.15,
other than the monetary remedies provided for as a result of the occurrence of the events
described in Section 4.15gf)gvl or §§ for which this limitation on remedies shall not apply, shall
be the sole and exclusive remedies of:

(i) the Tribune Parties against Bidder or any of its Affiliates or any
Senior Lender Party for any loss suffered by the Tribune Parties in connection with the failure of
the Closing to be consummated following the occurrence of any of the Major Bidder Payment
Triggers, Middle Bidder Payment Triggers or Minor Bidder Payment Triggers specified in
Section 4.15(f), 4.15(h) or 4.15(`1), respectively, and Bidder and its Affiliates shall have no
further liability or obligation relating to or arising out of a termination of this Agreement
pursuant to Section 9.1gbl after the occurrence of the events specified in Section 4.15gfl, 4.15gh)
or 4.15 ' , regardless of whether a payment is actually required to be made pursuant to Section
4.15§k), except in the case of fraud or a knowing and intentional breach by Bidder of any of its
covenants, representations or warranties contained in this Agreement; and

 

(ii) Bidder against the Tribune Parties or any of its Affiliates for any
loss suffered in connection with the failure of the Notice and Procedures Order to be entered by
the Bankruptcy Court when required pursuant to Section 4.15gcl or the failure of the Closing to
be consummated following the occurrence of any of the Maj or Tribune Payment Triggers,
Middle Tribune Payment Triggers or Minor Tribune Payment Triggers specified in Section
4.15(e), 4.15(g) or 4.15(i), respectively, and none of the Tribune Parties nor any of their
Affiliates shall have any further liability or obligation relating to or arising out of a termination
of this Agreement for the reasons specified in Section 4.15gc) (but only if the Tribune Parties
have satisfied their payment obligation under Section 4.15gc)) or pursuant to Section 91ng after
the occurrence of the events specified in Section 4.15(e), 4.15(g) or 4.15(i), regardless of
whether a payment is actually required to made pursuant to Section 4.15gk), except in the case of
fraud or a knowing and intentional breach by the Tribune Parties of any of their covenants,
representations or warranties contained in this Agreement.

 

(o) Any plan under Subchapter ll of Chapter 11 of the Bankruptcy Code filed
by any of the Tribune Parties in the Bankruptcy Case and any Additional Bankruptcy Cases shall
not be materially inconsistent with the terms of this Agreement, the other Transaction
Documents, the Tribune Transaction Approval Order or the Additional Filers Transaction
Approval Order and any such plan shall not disallow or impair any allowed administrative
priority claims granted to Bidder, Newco or the Newco Subs under and in accordance with the
terms of this Agreement or the other Transaction Documents. The Tribune Parties shall use
reasonable best efforts to oppose the inclusion of any provision in any plan for any of the
Tribune Parties in the Bankruptcy Case and any Additional Bankruptcy Cases, whether or not
proposed by the Tribune Parties, that is materially inconsistent with the terms of this Agreement,
the other Transaction Documents, the Tribune Transaction Approval Order, the Additional Filers
Transaction Approval Order, and the consummation and carrying out of the Transactions

Section 4.16 Title. Prior to the Escrow Closing and continuing thereafter to the
Closing, the parties shall use reasonable best efforts to obtain (a) an owners policy of title

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insurance for each parcel of Cubs Contributed Owned Real Property (or a Pro Forrna Title
Policy, signed by the Title Company and accompanied by a commitment from the Title
Company to issue an owners policy of title insurance for each parcel of Cubs Contributed Owned
Real Property following recordation of the applicable Deed), in each case, in the forms identical
to the Pro Forrna Title Policies (as such may be updated in accordance with this Section 4.16),
and (b) a leasehold policy of title insurance for each parcel of insured Leased Real Property (or a
Pro Forrna Title Policy, signed by the Title Company and accompanied by a commitment from
the Title Company to issue a leasehold policy of title insurance for each parcel of lnsured Leased
Real Property following the Escrow Closing), in each case, in the forms identical to the Pro
Forrna Title Policies (as such may be updated in accordance with this Section 4.16) (with respect
to the policies referred to in clauses (a) and (b), each, a “Title Policy” and collectively, the “Title
Policies”). With respect to each parcel of Cubs Contributed Owned Real Property, each Title
Policy shall have named as its insured Newco, and with respect to each lnsured Leased Real
Property each Title Policy shall have named as its insured the entity selected by Bidder to hold
title or lessee’s interest in the insured Leased Real Property in accordance with Section 4.19gcl.
lf Newco sells or otherwise transfers any of the Cubs Contributed Owned Real Property to
Newco Subs pursuant to the Newco Sale, the Tribune Parties shall use reasonable best efforts to
cooperate with Newco and the applicable Newco Sub to which Newco desires to sell or
otherwise transfer any of the Cubs Contributed Owned Real Property in order that each Title
Policy shall have named as its insured the entity selected by Bidder to hold title to such Cubs
Contributed Owned Real Property. Upon reasonable request from Bidder, the Tribune Parties
shall order “bring-down” Pro Forrna Title Policies from time to time between the date hereof and
the Closing. To the extent an exception is disclosed on a Pro Forrna Title Policy or otherwise
arises after the Pro Forrna Title Policy’s “effective date” (the date set forth on the Pro Forrna
Title Policy attached hereto as Exhibit G-2) and prior to the Escrow Closing that is not a
Permitted Lien or a Lien that will be extinguished by the Tribune Transaction Approval Order or
the Additional Filers Transaction Approval Order, Tribune (subject to the limitations below),
Bidder and Newco shall use reasonable best efforts to cause the Title Company to provide title
insurance coverage under the Title Policies over any such Liens, which efforts shall include the
payment by Newco to the Title Company of the title endorsement fees with respect to such
Liens, which shall not, without Bidder’s consent, exceed $10,000 in tire aggregate, Any such
additional payment by Newco to the Title Company shall be considered a Transaction Expense
hereunder. For any amount of charges payable to the Title Company with respect to such Liens
in excess of $10,000 in the aggregate, Tribune may elect to pay such excess amount, which
excess amount shall not be considered a Transaction Expense. Notwithstanding the foregoing,
(1) in no event will the Tribune Parties be obligated to provide any additional indemnification,
payments or deposits to or with the Title Company, which shall be made, if at all, by Newco or a
Newco Sub, and (2) to the extent such a Lien (A) relates to actions approved by Bidder in
writing or (B) is a Permitted Lien, Tribune shall have no obligations pursuant to this Section 4. 16
with respect thereto,

Section 4.17 Name Change. Each Cubs Entity (other than Tribune Sports) shall, and
Tribune shall cause each such Cubs Entity to, take all action needed to amend its certificate of
formation and operating agreement to change its name upon the Closing to a name that does not
include any of the following: “Cubs,” “Wrigley Field,” “Premium Ticket,” “Premium Ticket

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Services,” “Diana Quentin,” any Cubs lntellectual Property, MLB Cubs intellectual Property or
any name, trademark, service mark or logo related thereto or any part or variation of any of the
foregoing.

Section 4.18 Chicago Cubs Charities. Promptly after the Closing, the parties hereto
shall make reasonable best efforts to cause Chicago Cubs Charities to adopt an amendment to its
bylaws to eliminate references to Tribune therein and to elect such members, directors and
officers as directed by Newco,

Section 4. 19 Retained Cubs Current Assets; Cubs Contributed Assets.

(a) When and as provided for pursuant to the Transition Services Agreement
or in any event, following the expiration or termination of the Transition Services Agreement, at
Bidder’s request, Bidder and Tribune Parties shall send a joint notice of Closing to all obligors of
the Cubs Business directing such obligors to remit all funds (which shall include funds related to
Retained Cubs Current Assets) to the applicable Newco Subs. Tribune Parties shall (w) notify
Bidder of any funds that Tribune Parties receive in respect of Cubs Contributed Assets or
Retained Cubs Current Assets and (x) promptly forward to the applicable Newco Subs all such
proceeds that do not represent proceeds of Retained Cubs Current Assets, Bidder shall and shall
cause Newco and the Newco Subs to (i) promptly forward or cause to be forwarded to the Cubs
Entities any and all proceeds from Retained Cubs Current Assets (net of all reasonable out-of-
pocket expenses of collections incurred by Bidder or Newco Subs pursuant to clause (iv) of this
Section 4.19§al to collect such Retained Cubs Current Assets) that are received by Bidder,
Newco or Newco Subs after the Closing, (ii) permit the Cubs Entities, upon notice to Newco, to
collect and to endorse for payment in the name of Bidder, Newco or Newco Subs all checks and
other items which Tribune or any of its Subsidiaries may receive related to the Retained Cubs
Current Assets, (iii) continue to collect, at Newco’s expense, all Retained Cubs Current Assets in
a manner consistent with the Cubs Business’ prior practices, and (iv) at the Cubs Entities’
expense, take such other actions reasonably requested by the Cubs Entities to collect the
Retained Cubs Current Assets not consistent with such prior practices with respect thereto. All
funds received by any Tribune Party or Newco or any of the Newco Subs from the obligor of any
Retained Cubs Accounts Receivable will be allocated to the Retained Cubs Accounts Receivable
until such receivables are fully paid up to the value equal to the amount for such receivables
reflected on the Statement, after which all excess proceeds shall be forwarded to Newco.

(b) Following the Closing, Tribune Parties shall and shall cause the
Contributing Tribune Entities to (i) promptly forward or cause to be forwarded to Newco any
and all proceeds from or in respect of Cubs Contributed Assets (other than Retained Cubs
Current Assets) that are received by Tribune Parties or other Contributing Tribune Entities after
the Closing, and (ii) permit Newco, upon notice to Tribune, to collect and to endorse for payment
in the applicable Contributing Tribune Entity’s name all checks and other items which Newco or
any Newco Sub may receive related to the Cubs Contributed Assets that are in the name of
Contributing Tribune Entities,

(c) At least five (5) Business Days prior to the Escrow Closing, Bidder shall
provide a written notice to the Tribune Parties specifying (i) whether, aside from the Newco Subs

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contemplated as of the date of this Agreement, it will form any other Delaware limited liability
companies to be wholly owned either directly or indirectly, by Newco (each an “Additional
Newco Sub”) and (ii) whether it will be changing the names of Newco or any of tire Newco Subs
from the respective names set forth for such Persons in this Agreement. Bidder will determine in
its sole discretion which Cubs Contributed Assets Newco sells to which Newco Subs as part of
the Newco Sale.

Section 4.20 Entg¢ of Contracts. Tribune Parties shall promptly disclose to Bidder any
Contract that is entered into with respect to the Cubs Business after the date of this Agreement
that the Tribune Parties would have been required to disclose as a Material Contract if such
Contract existed as of the date of this Agreement.

Section 4.21 Transaction Expense Notice/Cubs Expense Notice.

(a) No less than two (2) Business Days prior to the Escrow Closing, Bidder
shall deliver to the Closing Agent and Tribune a notice substantially in the form of, and
containing each of the items set forth on, Exhibit AA setting forth Bidder’s good faith estimate
of all Covered Transaction Expenses that will not have been paid by Newco prior to the Closing
(the “Transaction Expense Notice”) and will include good faith comments from Tribune (based
on items to be included in Covered Transaction Expenses by virtue of the definition of
Transaction Expenses in Section 10.4) with respect to the determination of Covered Transaction
Expenses for purposes of calculating the Equity Financing required to be included in the Closing
Funds. Bidder shall update the Transaction Expense Notice as of Closing and shall provide a
draft of such updated Transaction Expense Notice to Tribune at least four (4) Business Days
prior to Closing, Bidder will include good faith comments from Tribune (based on items to be
included in Covered Transaction Expenses by virtue of the definition of Transaction Expenses in
Section 10.4) on the updated Transaction Expense Notice (as revised in accordance with this
Section 4.21§ a), the “Final Transaction Expense Notice”). At least two (2) Business Days
prior to Closing, Bidder shall deliver the Final Transaction Notice to Tribune and the Closing
Agent, and if the Specified Amount based on the Final Transaction Expense Notice exceeds the
Specified Amount based on the Transaction Expense Notice, then Bidder shall deliver
immediately available funds in the amount of the excess to the Closing Agent at Closing, lf the
Specified Amount based on the Final Transaction Expense Notice is less than the Specified
Amount based on the Transaction Expense Notice, then the Tribune Parties and Bidder shall
jointly instruct the Closing Agent to release funds in the amount of the difference to Bidder at
Closing in accordance with the terms of the Closing Escrow Agreement.

(b) No less than two (2) Business Days prior to the Escrow Closing, Tribune
shall deliver the Cubs Expense Notice to Bidder and the Closing Agent. No less than two (2)
Business Days prior to the Closing, Tribune shall deliver to Bidder an updated Cubs Expense
Notice. The Cubs Expenses at any time shall be deemed to be those expenses set forth in the last
delivered Cubs Expense Notice as of such time in accordance with this Section 4.2lgb l.

Section 4.22 Revenue Sharing. Bidder, Newco and Newco Subs shall cooperate with
the Tribune Parties with respect to Major League Baseball’s review of the Club’s 2006, 2007 and
2008 potential revenue sharing liability with respect to payments made by WGN to Cubs LLC

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pursuant to the Broadcast Agreement between Cubs LLC and WGN dated March 8, 1982, as
amended (the “Open WGN Revenue Sharing Review”). Tribune Parties shall direct (and have
the right to control) the Club’s participation in the Open WGN Revenue Sharing Review,
including any appeal thereof, Bidder, Newco and Newco Subs shall not (i) communicate with
Major League Baseball with respect to the Open WGN Revenue Sharing Review without the
consent of or the participation of a representative of Tribune in such communication, or (ii)
finalize, settle or otherwise agree to any liability of the Club to Major League Baseball with
respect to the Open WGN Revenue Sharing Review without the prior written consent of Tribune,
Bidder, Newco and Newco Subs shall provide Tribune with prompt notice of any communication
from Major League Baseball with respect to, or which otherwise might impact the results of, the
Open WGN Revenue Sharing Review. Tribune Parties shall provide Bidder with prompt notice
of any communication with Major League Baseball with respect to, or which would reasonably
be expected to materially impact the results of, the Open WGN Revenue Sharing Review.
Tribune Parties shall use reasonable best efforts to have the Open WGN Revenue Sharing
Review completed and finally settled prior to the Escrow Closing.

Section 4.23 Consent to Pledge of CSN lnterests. Tribune Parties and Bidder shall use
their respective reasonable best efforts to obtain a consent from all of the members of CSN
Chicago, other than Tribune Sports (or its successor as member of CSN Chicago), in the form
attached hereto as Exhibit HH (with such changes required by the members of CSN Chicago that
are mutually agreed to by Tribune, Bidder and the Senior Lender Agent, each in their reasonable
discretion), to the pledge of the CSN interests as part of the Debt Financing, as contemplated by
the Senior Debt Commitment Letter, provided that such reasonable best efforts shall not require
the payment by the Tribune Parties of any fee or other amount,

Section 4.24 Authority.

(a) At or prior to the Closing, no Tribune Party shall allow any of the Cubs
Authorizing Resolutions to be amended or revoked to the extent any such amendment or
revocation would cause any of the representations or warranties contained in Section 2.3, as of
the date of such amendment or revocation or thereafter, to be untrue.

(b) lf between Escrow Closing and Closing any person who on behalf of any
party to this Agreement executed any Transaction Documents held in escrow pursuant to the
Closing Escrow Agreement or Real Estate Escrow Agreement ceases to be an authorized
signatory for such party as of the Closing Date (including because of the death of such person),
then Tribune Parties, with respect to any such person executing on behalf of a Tribune Party, and
Bidder, with respect to any such person executing on behalf of Bidder, shall cause each such
Transaction Document so executed to be re-executed by a person authorized to sign on behalf of
such party as of the Closing Date.

ARTlCLE V
EMPLOYEE MATTERS
Section 5.1 Employees.
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(a) Tribune Parties shall update Schedule 2.13gal as of the Business Day
immediately prior to the Escrow Closing Date for any changes thereto and deliver the updated
Schedule 2.13gal to Bidder at the Escrow Closing, in addition, within two (2) Business Days
after Closing, Tribune Parties shall be permitted to update Schedule 2. 131 aj for changes between
the Escrow Closing and Closing. For the avoidance of doubt, changes to such Schedule 2.13(a)
pursuant to this Section 5.1§al, whether before, on or after the Escrow Closing Date, shall be
made only in compliance with Section 4.1. Effective upon consummation of the Closing, the
Newco Subs shall (and which of the Newco Subs amongst the Newco Subs shall be as
determined by Bidder), and Bidder shall cause such Newco Subs to, offer employment to the
Cubs Employees listed on such updated Schedule 2.13gal other than Cubs Non~Player
Employees on long-term disability leave, Any such offer of employment to a Cubs Non~Player
Employee who is on a leave of absence other than long-term disability leave, on the Closing
Date, including short-term disability, family, maternity or military leave, whether such leave is
paid unpaid or other (“Inactive Cubs Employee”), may be conditioned upon: (i) the Closing
occurring, and (ii) such inactive Cubs Employee commencing active employment with a Newco
Sub on a date that is not later than nine months after the Closing Date or if such Cubs Employee
is on military leave, commencing employment within any longer time period required with
respect thereto pursuant to Law. As to any Cubs Employee employed pursuant to an
employment agreement with a Cubs Entity, Newco, Tribune or one of its Affiliates, such offer of
employment shall be in accordance with such employment agreement and at the Closing such
Newco Sub shall assume and shall thereafter honor and be deemed the successor under such
employment agreement, including, for the avoidance of doubt, the employment agreements and
letter agreements listed on Schedule 5 .1{cl. As to any Cubs Employee represented by a labor
organization set forth on Schedule 2.13(cl, such offer of employment by the applicable Newco
Sub shall be in accordance with any applicable collective bargaining agreement set forth on
Schedule 2.13(cl, including any side agreement or collectively bargained employee benefit plan
contained or referenced therein or maintained pursuant thereto set forth on Schedule 2.13gc)
(“Collective Bargaining Agreement”), and at the Closing the applicable Newco Sub, shall
assume and shall from and after the Closing honor and be deemed the successor under such
Collective Bargaining Agreement.

(b) All Cubs Non-Player Employees listed on Schedule 2.13§a) who actually
commence employment with a Newco Sub (including all inactive Cubs Employees commencing
employment with a Newco Sub in accordance with Section 5.1ga) ), as well as all Cubs Player
Employees, are referred to as “Transferred Employees.” As used in this Agreement, a
“Rejecting Employee” means any Cubs Non-Player Employees listed on Schedule 2.13(a) who:
(i) rejects employment with a Newco Sub after being offered employment under terms and
conditions that are in the aggregate substantially similar to the then-current terms and conditions
of his or her employment with a Cubs Entity; (ii) rejects employment with a Newco Sub for any
reason (regardless of the terms of the offer of employment from a Newco Sub) and who is,
within 180 days after the Closing, employed by Tribune or its Affiliates; or (iii) is an lnactive
Cubs Employee as of the Closing Date and does not commence employment with a Newco Sub
on a date that is within nine months after the Closing Date or, in the case of an inactive Cubs
Employee on military leave, within any longer time period required with respect thereto pursuant
to Law (unless such inactive Cubs Employee received an offer on terms and conditions that are

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not in the aggregate substantially similar to such employee’s then current terms and conditions of
employment, in which case, he or she will be considered a Declining Employee). As used in this
Agreement, a “Declining Employee” means any Cubs Non~Player Employee listed on Schedule
2.13ga) who declines employment with a Newco Sub after being offered employment under
terms and conditions that are not in the aggregate substantially similar to the then-current terms
and conditions of his or her employment with a Cubs Entity, and who is not, within 180 days
after the Closing, employed by Tribune or its Affiliates; provided that any such Cubs Non-Player
Employee who becomes so employed by Tribune or its Affiliates shall be deemed a Declining
Employee effective upon consummation of the Closing through the date immediately preceding
the date on which he or she is so employed by Tribune or its Affiliates (it being understood that
all Cubs Employees employed pursuant to an employment agreement that is included in the Cubs
Contributed Assets or covered by a Collective Bargaining Unit shall be either Transferred
Employees or Rejecting Employees).

(c) Except as provided under any employment agreement set forth on
Schedule 5. lgcl that is included in the Cubs Contributed Assets or as required by a Collective
Bargaining Agreement, nothing in this Agreement shall obligate any Newco Sub to continue the
employment of any Transferred Employee after the Closing; provided however, that the Newco
Subs shall be responsible for the payments and benefits to be provided to Transferred Employees
and Declining Employees in accordance with Section 5.3 and continuation coverage for
Transferred Employees in accordance with Section 5.7, as well as any other potential liability
relating to any discontinuation of the employment of any Transferred Employees or Declining
Employees on or after the Closing Date, other than any liability that is a Cubs Excluded
Liability. None of Bidder, Newco or any Newco Sub shall have any obligation whatsoever to
provide severance benefits, continuation coverage or any other benefit to any Rejecting
Employee, Bidder shall provide Tribune with written notice of its determination of all Cubs
Non-Player Employees (other than inactive Cubs Employees) who did not accept the offer of
employment made by Newco Sub within one (1) Business Day after the Closing. Any Cubs
Non-Player Employee who is not on such list (other than inactive Cubs Employees) shall be
deemed a Transferred Employee,

Section 5.2 Employee Benefits.

(a) Except as otherwise provided in this Article V or as a result of
negotiations with a labor organization regarding the effects of the Transactions, to the extent any
Transferred Employee was eligible to participate in any of the Benefit Plans effective as of the
Closing Date, to the extent set forth in the Transition Services Agreement, such Transferred
Employee shall continue active participation in such Benefit Plans through December 31, 2009
or such earlier date, if any, as may be specified by Newco (“Bidder Plan Participation Date”).
Effective as of the applicable Bidder Plan Participation Date, Transferred Employees shall be
eligible to participate in such benefit plans as may be offered to similarly situated employees of
Newco or the Newco Subs (or their respective Affiliates) in accordance with the terms of such
plans (“Newco Benefit Plans”); provided however, that the lnactive Cubs Employees shall
remain in the Benefit Plans as Cubs Employees unless and until they (i) are terminated by a Cubs
Entity and not hired by a Newco Sub (and such lnactive Cubs Employees will not in any event
participate in the Newco Benefit Plans) or (ii) become Transferred Employees upon their

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commencement of active employment with the Newco Sub, whereupon under this clause (ii)
they shall commence participation in Newco Benefit Plans in accordance with the terms and
conditions of such Newco Benefit Plans or Benefit Plans adopted by Newco. Following the
Closing, Tribune shall continue to satisfy when due all outstanding obligations to Transferred
Employees under the Benefit Plans (including the payment of all amounts triggered by the
termination of the employment of Transferred Employees with Tribune), other than obligations
assumed by Newco or a Newco Sub pursuant to this Article V.

(b) Transferred Employees shall be credited for their length of service with
Tribune or its Affiliates and for any service recognized by Tribune or its Affiliates for purposes
of determining eligibility to participate in, satisfying any waiting period and vesting under, any
Newco Benefit Plans, to the extent they earned credit (or were credited with service) under
comparable employee benefit plans maintained by Tribune or its Affiliates. Except as provided
under the terms of any Transferred Benefit Plan, Transferred Employees shall not be entitled to
receive such credit for benefit accrual purposes under any Newco Benefit Plan that is a “defined
benefit plan” within the meaning of Section 3(35) of ERlSA. Any preexisting condition clause
in any of the health coverages (including medical and dental coverage) included in Newco
Benefit Plans shall be waived for the Transferred Employees to the extent waived or satisfied
under the applicable Benefit Plan immediately prior to Closing, Newco Subs shall, and Bidder
shall cause Newco Subs to, ensure that each Transferred Employee receives credit under any
Newco Benefit Plan that is a welfare benefit plan (other than any flexible spending accounts) for
any deductibles or co-payments paid by such Transferred Employee and his or her dependents

for the calendar year in which the Closing Date occurs under a plan maintained by Tribune or its
Affiliates.

Section 5.3 Severance and Bonus. Newco Subs shall: (a) provide severance benefits
to Declining Employees and Transferred Employees (other than Cubs Player Employees) (i) in
accordance with the terms set forth on Schedule 5 .3 or (ii) by assuming and complying with the
separate severance agreements listed on Schedule 2.12gal, and (b) pay any annual cash bonus
amounts payable to a Transferred Employee or Declining Employee after the Closing, but, with
respect to amounts relating to fiscal year 2009 or any prior period only to the extent specifically
reflected accrued for or reserved for and included in the calculation of Final Closing Working
Capital.

Section 5.4 Pension Plans. Tribune’s relevant Benefit Plan shall retain all assets and
liabilities under any Benefit Plan that is a defined benefit pension plan (other than a Transferred
Benefit Plan described in Section 5.9 ), including but not limited to the Tribune Company Cash
Balance Pension Plan (f/k/a Times Mirror Pension Plan and the Tribune Company Pension Plan)
and the Tribune Company Hourly Pension Plan, whether qualified or non-qualified

Section 5.5 Savings Plan, Except as otherwise provided in this Article V, Tribune’s
relevant Benefit Plans shall retain all assets and liabilities under all Benefit Plans that are defined
contribution plans, including but not limited to the Tribune Company 401(k) Savings Plan
(“Tribune Savings Plan”). Tribune shall cause each Transferred Employee to be 100% vested
in his or her benefits under the Tribune Savings Plan effective as of the date such individual
commences employment with a Newco Sub, During the term of the Transition Services

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Agreement, Newco shall adopt the Tribune Savings Plan for the benefit of its employees.
Newco shall be permitted to direct Tribune to amend the terms of the Tribune Savings Plan to
increase or decrease employer contributions on behalf of Newco’s employees provided that
Newco provides Tribune with at least 10 Business Days advance written notice of such
amendment As soon as practicable following the expiration of the period during which
Transferred Employees continue to participate in the Tribune Company 401(k) Savings Plan
pursuant to the Transition Services Agreement, Tribune and Newco shall cooperate to effectuate
a plan-to-plan transfer of assets and corresponding liabilities related to Newco Employees’
accounts in such plan to one or more tax-qualified defined contribution plans maintained by
Newco or Newco Subs in which the Transferred Employees participate

Section 5.6 Vacation and Sick Days, Effective as of the date of hire (which shall be
the Closing Date, except for inactive Cubs Employees), the applicable Newco Sub that hires a
Transferred Employee shall recognize and be responsible for all accrued but unpaid vacation
time and sick days of such Transferred Employee, but in the case of vacation only to the extent
specifically reflected accrued for or reserved for and included in the calculation of Final Closing
Working Capital.

Section 5.7 C()BRA. Tribune Parties shall continue to provide continuation coverage
required under the applicable requirements of Section 4980B(f) of the Code and Sections 601 to
608 of ERlSA (“C()BRA Coverage”) to (a) all current and former employees of the Cubs
Business (and the qualified beneficiaries and other covered individuals of such persons) who are
entitled to such coverage with respect to “qualifying events” (within the meaning of Section
4980B(f) of the Code) which occur prior to the Closing, (b) all Rejecting Employees, Declining
Employees and inactive Cubs Employees who never commence active employment with Newco,
and (c) all Transferred Employees who have a “qualifying event” after the Closing and while
participating in a group medical plan maintained by Tribune At Tribune’s request, Newco Subs
will claim, on Newco Subs’ quarterly federal employment tax retum(s), the federal subsidy
provided for under the provisions of the American Recovery and Reinvestment Act of 2009
(“ARRA”) for a portion of the COBRA Coverage premiums paid by Tribune with respect to
those Transferred Employees described in clause (c) above who qualify as “assistance eligible
individuals” under ARRA. Newco Subs will pay over to Tribune, as soon as practicable after
filing of such quarterly employment tax retum, the amount of the federal COBRA Coverage
subsidy, as provided by Section 3001 of ARRA, claimed by Newco Subs with respect to such
Transferred Employees. Newco Subs shall be responsible for providing COBRA Coverage to
any Transferred Employee (and his or her qualified beneficiaries and other covered individuals)
who has a “qualifying event” while participating in a Newco Benefit Plan that provides group
medical plan benefits.

Section 5.8 Post-Retirement Benefit Liabilities. Subject to the terms of the applicable
plans, and Tribune’s right to amend or terminate the plans, Tribune Parties shall retain
responsibility for providing, and shall continue to provide, post-retirement medical and life
insurance benefits with respect to: (a) employees of the Cubs Business who have retired prior to
or on the Closing Date and are receiving or entitled to receive post-retirement medical and life
insurance benefits; and (b) Transferred Employees who (i) have satisfied the eligibility
requirements for post-retirement medical and life insurance benefits as of the Closing Date and

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(ii) elect within 31 days after the Closing Date to receive such benefits. Neither Newco nor any
Newco Sub shall have any obligation under or pursuant to this Agreement to provide any post-
retirement medical or life insurance benefits to Transferred Employees or any other employees
of the Cubs Business.

Section 5.9 Transferred Benefit Plans, Effective as of the Closing, Bidder shall cause
Cubs Newco Sub to adopt the Major League Baseball Pension Plan for Non-Unifoimed
Personnel (“NUPP”), the Minor League Players Pension Plan, MLB College Scholarship
Program and the Minor League Players Health and Welfare Plan (the “Transf`erred Benefit
Plans”) and any related trust, but only for the benefit of Cubs Employees who are minor league
ballplayers who have accrued benefits under such plans as maintained by Cubs LLC or former
employees of the Cubs Business who have accrued benefits under such plans, and Cubs LLC
shall cause all right, title, interest, duties and authorities of Cubs LLC in, to and under the
Transferred Benefit Plans and the related trust to be transferred to Cubs Newco Sub. At the
Closing, the parties shall execute and deliver such documents and instruments as may be
required to effect such assumption and transfer and to reflect the parties’ intent that the
Transferred Benefit Plans not be deemed to be terminated or partially terminated as a result of
this Agreement or the Transactions and that all assets and liabilities of the Transferred Benefit
Plans be transferred

Section 5. 10 Multiemployer Pension Plan, Tribune and Bidder recognize that the
Closing would absent compliance with Section 4204 of ERlSA, result in a complete withdrawal
of the Tribune Parties as a contributing employer to the Major League Baseball Players Pension
Plan (“MEPPA Plan”), thereby resulting in the MEPPA Plan assessing withdrawal liability
against the Tribune Parties in accordance with Section 4203 of ERlSA, The parties hereto agree
to comply with Section 4204 of ERlSA as follows:

(a) Bidder agrees that after Closing it shall cause Cubs Newco Sub, and Cubs
Newco Sub agrees, to make contributions to the MEPPA Plan with respect to the operations of
the Cubs Contributed Assets for at least substantially the same number of contribution base units
for which the Cubs Entities had an obligation to contribute within the meaning of Section
4204(a)(1)(A) of ERlSA,

(b) To the extent required by ERlSA Section 4204(A)(l)(B) and the
regulations issued thereunder, Bidder shall cause Cubs Newco Sub to provide to the MEPPA
Plan a bond letter of credit or amount in escrow in such form and amount as is necessary to
comply with the requirements of Section 4204(a)(1)(B) of ERlSA. To the extent reasonably
requested by Bidder, Tribune will cooperate with Bidder in preparing and submitting a request
for waiver of such bond obligation to the PBGC.

(c) lf Cubs Newco Sub withdraws from the MEPPA Plan in a complete
withdrawal, or a partial withdrawal with respect to the operations represented by the Cubs
Contributed Assets, during the first five plan years commencing with the first plan year that
begins after the Closing, (i) Bidder shall pay, or cause Cubs Newco Sub to pay, any withdrawal
liability Cubs Newco Sub incurs to the MEPPA Plan and (ii) to the extent required by ERlSA
Section 4204(a)(1)(C) and the regulations issued thereunder, Tribune shall be secondarily liable

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to the MEPPA Plan for any withdrawal liability the Tribune Parties would have had to the
MEPPA Plan with respect to such operations (but for this Section and compliance with Section
4204 of ERlSA) if the liability of the Cubs Newco Sub with respect to the MEPPA Plan is not
paid lf the liability of Cubs Newco Sub with respect to the MEPPA Plan is not paid by Cubs
Newco Sub, Bidder shall notify Tribune as soon as practicable following Cubs Newco Sub’s
withdrawal from the MEPPA Plan, and Newco and the Newco Subs agree to jointly and
severally indemnify and hold harmless Tribune for, from, and against any such withdrawal
liability that arises due to Cubs Newco Sub’s withdrawal as described in this Section 5.10§c) and
to which Tribune or any of its Subsidiaries becomes secondarily liable to the MEPPA Plan.

(d) To the extent required by Section 4204(a)(3)(A) of ERlSA, if, all, or
substantially all, of the Tribune Parties’ assets are distributed or if the Tribune Parties are
liquidated before the end of the five plan year period commencing with the first plan year that
begins after Closing, then Tribune shall provide to the MEPPA Plan a bond or amount in escrow
equal to the present value of the withdrawal liability the Tribune Parties would have to the
MEPPA Plan but for this Section and compliance with Section 4204 of ERlSA.

(e) if only a portion of the Tribune Parties’ assets are distributed during the
period described in Section 5.10gd) above, then Tribune shall provide a bond or an amount in
escrow as required by Section 4204 of ERlSA and the regulations thereunder.

Section 5.11 WARN Act. The parties do not anticipate that there will be any
“employment losses” as a consequence of the Transactions that trigger obligations under the
WARN Act or under any similar provision of any federal, state, regional, foreign, or local law,
rule, or regulation (collectively, “WARN Act Obligations”). Notwithstanding the foregoing,
Tribune Parties and their respective Affiliates shall be solely liable for any WARN Act
Cbligations resulting from an “employment loss” (as defined in the WARN Act) occurring on or
prior to the Closing Date, provided that the Newco Subs satisfy their obligations under Section
5._1_. Cubs Newco Sub or other applicable Newco Sub(s) shall be solely liable for any WARN
Act Obligations resulting from any such “employment loss” occurring on or after the Closing
Date with respect to Transferred Employees,

Section 5. 12 Deferred Compensation. At the Closing, Bidder shall cause Cubs Newco
Sub to assume all liabilities and obligations with respect to the deferred compensation
arrangements listed on Schedule 5.12. Tribune shall deliver or cause to delivered notice of the
Approval Motions to anyone who receives or is entitled to deferred compensation,

Section 5. 13 Cooperation. Upon request, prior to and following the Closing, Tribune
Parties shall provide Bidder, and Bidder shall provide Tribune Parties, such documents, data and
information as may reasonably be necessary to implement the provisions of this Article V and to
administer their respective benefit plans.

ARTICLE Vl

TAX MATTERS

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Section 6.1 Retention of Tax Returns. Tribune and Newco each shall retain all Tax
Returns, schedules and work papers, records and other documents in its possession (or in the
possession of its Affiliates) relating to Tax matters relevant to the Cubs Business, Cubs
Contributed Assets or Cubs Liabilities for each taxable period first ending after the Closing and
for all prior taxable periods until the later of: (a) the expiration of the statute of limitations of the
taxable periods to which such Tax Returns and other documents relate, without regard to the
extensions except to the extent notified by the other party in writing of such extensions for the
respective Tax periods; and (b) six years following the due date (with extension) for such Tax
Returns. For the avoidance of doubt, the provisions of Section 4.9 shall thereafter apply to such
documents.

Section 6.2 Tax Cooperation. Newco, on the one hand and Tribune Parties, on the
other hand will each (and Bidder will cause Newco to): (i) provide the other with such
assistance as may reasonably be requested in connection with the preparation of any Tax Retum
relating to the Cubs Business, Cubs Contributed Assets or Cubs Liabilities, any audit or other
examination by any Taxing Authority or any judicial or administrative proceeding with respect
to Taxes relating to the Cubs Business, Cubs Contributed Assets or Cubs Liabilities; and (ii)
provide the other with any records or other information as may be reasonably requested relevant
to such retum, audit, examination or proceeding.

Section 6.3 Transaction Taxes. if the Closing occurs, Newco and the Newco Subs
shall pay all sales, use, transfer, conveyance, recordation and filing fees, Taxes and assessments,
including fees in connection with the recordation of instruments related thereto and other similar
transaction Taxes however designated (but not including income, franchise or gains Taxes), that
are properly levied by any Taxing Authority and are required by Law (any such Taxes or fees,
the “Cubs Transaction Taxes”) applicable to, imposed upon or arising out of the transfers of the
Cubs Contributed Assets contemplated by this Agreement in connection with both the Cubs
Contribution and the Newco Sale. in connection with the Cubs Contribution, Tribune Parties
shall prepare and file any Tax Retum (and in the case of Leased Real Property, detail (and
supporting documents, if applicable) of the manner in which (x) market-rental valuations were
determined and (y) Cubs Transaction Taxes were computed) required to be filed with respect to
such Cubs Transaction Taxes and shall provide Bidder with evidence of the timely filing of such
Tax Retum; provided however, that the preparation of any such Tax Retum shall be subject to
the prior review and approval of Bidder (not to be unreasonably withheld delayed or
conditioned) prior to filing by Tribune Parties under this Section 6.3.

Section 6.4 Real Estate Transfer Tax. lf the Closing occurs, Newco and the Newco
Subs shall pay the amount of any State of lllinois, Cook County and all City of Chicago Taxes
imposed on the transfers of the title to the Cubs Contributed Owned Real Property (both for the
Cubs Contribution and the Newco Sale). With respect to the Cubs Contribution, Tribune shall
furnish completed state, county and city Real Estate Transfer Declaration Forrns signed by
applicable Tribune Party or Trust or their agent required by any state, county or local ordinance
with regard to a transfer or transaction tax, and based on the valuations to be set forth on
Schedule 1.4gel§ ii l. lf after the Closing it is determined by an applicable Government Authority
that any additional Taxes (of the type described in this Section 6.4) are payable by a Tribune
Party in connection with the Transactions (including the Newco Sale) relating to the transfer of

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the title for any parcel of Cubs Contributed Owned Real Property, Newco and Newco Subs agree
to promptly reimburse such Tribune Party therefor upon receipt of evidence of payment thereof.

ARTICLE Vll

C()NDITICNS PRECEDENT

Section 7.1 Conditions Precedent of all Parties to Escrow Closing, The obligations of
each party to this Agreement (including, for these purposes, Newco and Newco Subs) to
consummate the Escrow Closing are subject to the satisfaction, on or prior to the Escrow Closing
Date, of each of the following conditions precedent:

(a) HSR Act. All applicable waiting periods under the HSR Act, including
any extensions thereof, shall have expired or been terminated

(b) lnjunction; Litigation. Other than relating to an Approval Order, the
Bankruptcy Case or the Additional Bankruptcy Cases, (i) no party hereto shall be subject to any
order or injunction (whether preliminary or permanent) restraining or prohibiting the
consummation of the Transactions (excluding the Newco Sale); (ii) no Action by a Government
Authority shall be pending before any arbitrator, court or other Government Authority to restrain
or prohibit, or to obtain substantial damages in respect of, the consummation of the Transactions
(excluding the Newco Sale); and (iii) no action shall have been taken, or no Law or order shall
have been promulgated or enacted by any Govemment Authority, which would prevent or make
illegal the consummation of the Transactions (excluding the Newco Sale). No party to this
Agreement may assert that the condition precedent set forth in the preceding clauses (i) or (ii)
has not been satisfied unless such party shall have used its reasonable best efforts to have any
order, or injunction or Action referred to therein vacated or any Action referred to therein
dismissed

(c) Approval by Major League Baseball. All MLB Approvals shall have been
received

(d) Tribune Transaction Approval Order, The Bankruptcy Court shall have
entered the Tribune Transaction Approval Order,

Section 7.2 Conditions Precedent of Bidder to Escrow Closing, The obligations of
Bidder (and Newco and Newco Subs) to consummate the Escrow Closing are subject to the
satisfaction, on or prior to the Escrow Closing Date, of each of the following conditions
precedent:

(a) Representations and Warranties. The representations and warranties of
Tribune Parties contained in this Agreement shall be true and correct in all respects both as of the
date of this Agreement and as of the Escrow Closing Date, as if made on the Escrow Closing
Date (except for representations and warranties expressly made as of an earlier date, in which
case such representations and warranties need only be true and correct as of such earlier date),
except where the failure of such representations and warranties to be true and correct in all

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respects (without giving effect to any limitation as to “materiality” or “Cubs Material Adverse
Effect” or another similar qualifier) does not have, and would not reasonably be expected to
have, individually and in the aggregate, a Cubs Material Adverse Effect.

(b) Covenants. Tribune Parties shall have performed and complied in all
material respects with all covenants and agreements required by this Agreement to be performed
or complied with by them at or prior to the Escrow Closing,

(c) Escrow Closing Certificate Tribune Parties shall have furnished Bidder
with a certificate dated the Escrow Closing Date and signed by each Tribune Party to the effect
that the conditions set forth in Sections 7.2(a) and 7.2(b) have been satisfied

(d) Escrow Documents and Other Escrow Closing Documents. Tribune
Parties shall have delivered (i) to the Closing Agent, all of the Tribune Escrow Documents, (ii) to
the Real Estate Escrow Agent, all of the Real Estate Escrow Documents required to be delivered
or caused to be delivered by Tribune Parties pursuant to Section 1.4ge), and (iii) to Bidder, all of
the documents set forth in Section 1.4§b).

(e) Title Policies, Title Policies shall have been delivered to the Real Estate
Escrow Agent substantially in the form of Exhibit G-2 (as updated if at all, pursuant to Section
4.__1__6_), with no Liens added thereto other than such additional Liens that have arisen from the
effective date of each respective Pro Forrna Title Policy until the Escrow Closing Date that
individually and in the aggregate would not reasonably be expected to have a Cubs Material
Adverse Effect.

(f) No Cubs Material Adverse Effect. Since the date hereof to the Escrow
Closing Date, there shall not have been any circumstance state of facts or matters, effect,
change, event, occurrence action or omission that, individually or in the aggregate, have had or
are reasonably likely to have a Cubs Material Adverse Effect.

(g) Senior Debt Financing. All of the conditions precedent to the
consummation of the Escrow Closing with respect to the Senior Debt Financing shall have been
satisfied or waived (where the waiver is by those Persons required to provide such waiver
pursuant to the Senior Debt Financing) and the lenders under the Senior Debt Financing shall
have either funded or are prepared to fund an amount equal to the Senior Debt Financing
(exclusive of the Revolver) to the Senior Lender Agent.

(h) Additional Filing Assurance. The Tribune Parties shall have furnished
Bidder with a certificate dated the Escrow Closing Date and duly executed by each Tribune Party
to the effect that each of the Additional Filers is prepared to file, and will file, the petition for
relief under Chapter 11 of the Bankruptcy Code and the Additional Filer Motions (the
“Additional Filing Assurance”).

Section 7.3 Conditions Precedent of Tribune Parties to Escrow Closing. The
obligation of Tribune Parties to consummate the Escrow Closing are subject to the satisfaction,
on or prior to the Escrow Closing Date, of each of the following conditions precedent:

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(a) Representations and Warranties. The representations and warranties of
Bidder contained in this Agreement shall be true and correct in all respects both as of the date of
this Agreement and as of the Escrow Closing Date, as if made on the Escrow Closing Date
(except for representations and warranties expressly made as of an earlier date, in which case
such representations and warranties need only be true and correct as of such earlier date), except
in each instance where the failure of such representations and warranties to be true and correct in
all respects (without giving effect to any limitation as to “materiality” or another similar
qualifier) does not have, and would not reasonably be expected to have, individually and in the
aggregate, a material adverse effect on the ability of Bidder to perform its obligations under this
Agreement or any of the other Transaction Documents to which it is a party,

(b) Covenants. Bidder shall have performed and complied in all material
respects with all covenants and agreements required by this Agreement to be performed and
complied with by Bidder at or prior to the Escrow Closing Date

(c) Escrow Closing Certificate Bidder shall have furnished Tribune Parties
with a certificate dated the Escrow Closing Date and signed by Bidder to the effect that the
conditions set forth in Section 7.3ga) and (b) have been satisfied

(d) Escrow Documents and Other Escrow Closing Documents, Bidder shall
have delivered (i) to the Closing Agent, all of the Bidder Escrow Documents (to the extent not
included in the Real Estate Escrow Documents) and the Newco Escrow Documents (to the extent
not included in the Real Estate Escrow Documents), (ii) to the Real Estate Escrow Agent, all of
the Real Estate Escrow Documents required to be delivered or caused to be delivered by Bidder
pursuant to Sections 1.4§ cl (to the extent included in the Real Estate Escrow Documents), 1.4§ el
and 1_.LKQ (to the extent included in the Real Estate Escrow Documents), and (iii) to Tribune
Parties, all of the documents set forth in Sections 1.4(d) and 1.4(g).

(e) Debt and Equity Financing, (i) All of the conditions precedent to the
consummation of the Escrow Closing with respect to the Senior Debt Financing, the
Subordinated Debt Financing and the Equity Financing shall have been satisfied or waived
(where the waiver is by those Persons required to provide such waiver pursuant to the Debt
Financing or Equity Financing, as applicable) and those Persons providing such Debt Financing
and Equity Financing shall have either funded or are prepared to fund to the Senior Lender Agent
or the Closing Agent (as applicable) and (ii) there shall be no conditions precedent to the Closing
and the release of the proceeds of the Debt Financing and the Equity Financing to Newco (other
than those conditions precedent to the funding of the Senior Debt Financing described in the
Senior Lenders Escrow Closing Certificate) and Tribune shall have received a certificate to that
effect from Bidder, which certificate shall also certify Bidder’s good faith belief that all
conditions precedent to the funding of the Senior Debt Financing set forth in the Senior Lenders
Escrow Closing Certificate (other than the Final CNLBC Bankruptcy Court Approval (as defined
in the Senior Debt Commitment Letter)) will be satisfied as of the Closing Date

(f) Bidder Financing Affidavits. Tribune shall have received all three Bidder
Financing Affidavits

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(g) Final Order. The Tribune Transaction Approval Order shall have become
a final, non-appealable order.

Section 7.4 Conditions Precedent to Closing. The obligations of each party to this
Agreement (including for these purposes, Newco and each Newco Sub) to consummate the
Closing are subject to the satisfaction, at or prior to the Closing, of each of the following
conditions precedent:

(a) Additional Filers Transaction Approval Order. Entry by the Bankruptcy
Court of the Additional Filers Transaction Approval Order,

(b) Debt Financing. All of the conditions precedent to the consummation of
the Senior Debt Financing set forth in the Senior Lenders Escrow Closing Certificate shall have
been satisfied or waived (where the waiver is by those Persons required to provide such waiver
pursuant to the Senior Debt Financing).

Section 7.5 Effect of Closing. Upon satisfaction of the conditions precedent in
Section 7.4, the Closing shall automatically be deemed to have occurred all funds under the
Debt Financing and the Equity Financing will be made available to Newco, all Closing Escrow
Documents and Closing Funds (including the Ricketts GuarantyCo and Ricketts Lender Equity
Financing) shall be released from escrow pursuant to the terms of the Closing Escrow
Agreement, and all Real Estate Escrow Documents shall be released from escrow pursuant to the
terms of the Real Estate Escrow Agreement.

ARTICLE Vlll

SURVIVAL; INDEMNIFICATION

Section 8.1 Survival. All of the representations, warranties, covenants and agreements
of the parties contained in this Agreement shall survive the Escrow Closing and the Closing,
subject to this Section 8.1, and any investigation conducted by any party hereto and any
information that any party may receive The representations and warranties contained in or made
pursuant to this Agreement, the indemnity obligations for the inaccuracy or breach of such
representations and warranties contained in Sections 8.2(a)(i) and 8.2(b)(i), all covenants and
agreements to be performed prior to or in connection with the Escrow Closing and the indemnity
obligations for the breach of any such covenant, shall terminate on, and no claim or Action with
respect thereto may be brought after, the date that is the 12-month anniversary of the Escrow
Closing Date, Notwithstanding the foregoing, (i) claims for a fraudulent breach of a
representation or warranty or fraudulent breach of a covenant or agreement to be performed prior
to or in connection with the Escrow Closing shall survive indefinitely, (ii) the representations
and warranties contained in Section 2.1 ll all il shall terminate at the Closing, (iii) the
representations and warranties contained in (A) Sections 2.1gal (first sentence only), 2.1gbl (first
sentence only), 2. lgdl lOrganization; Good Standing], ._2_.2_ (last sentence only) lOwnership of
Cubs Entities/investments], § lAuthority], 2.9gcl [Assets; Title], 2.11galgiil lReal Property],
§§ [Taxes], and 2412 lNo Brokerage], and in the Tribune Escrow Closing Certificate with
respect to the foregoing matters in this clause (A), and (B) Sections 3.1 (first sentence only)

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[Organization; Good Standing], 3_._2_ [Authority] and § [No Brokerage], and in the Bidder
Escrow Closing Certificate with respect to the foregoing matters in this clause (B), and (C) the
indemnity obligations for the inaccuracy or breach of the representations and warranties in
clauses (A) and (B) contained in Sections 8.2(a)(i) and 8.2(b)(i), as applicable, shall survive until
60 days after the end of the applicable statutes of limitations, (iv) the representations and
warranties contained in Section 2. 14 lEnvironmental Mattersl with respect to the Mueller
Building and T-Building Property only shall survive until the fifth anniversary of the Escrow
Closing Date and (v) the representations and warranties contained in Section 2. 14
[Environmental Matters] (other than with respect to the Mueller Building and T~Building
Property) shall survive until the third anniversary of the Escrow Closing Date, Notwithstanding
anything in this Section 8.1 to the contrary, the representations and warranties and the applicable
indemnity obligations for breach thereof that terminate pursuant to this Section 8.1, and the
liability of any party to this Agreement with respect thereto pursuant to this Article Vlll, shall
not terminate with respect to any claim, whether or not fixed as to liability or liquidated as to
amount, with respect to which the indemnifying Party has been given written notice from the
lndemnified Party setting forth the facts upon which the claim for indemnification is based prior
to the expiration of the applicable survival period

Section 8.2 indemnification

(a) From and after the consummation of the Closing, the Cubs Entities jointly
and severally agree, and from and after the date of confirmation of the Plan of Reorganization,
the Tribune Parties jointly and severally agree, to indenmify and hold harmless, in the case of
Sections 8.2(a)(i), 8.2(a)(iii) and 8.2(a)(iv), Newco and each Newco Sub, and in the case of
Section 8.2§alg iil, Newco, any Newco Sub or any Bidder Party, as applicable, to whom the
benefit of such covenant or agreement is owed (collectively, as applicable, the “Bidder
lndemnified Persons”) for, from, and against all Losses incurred or suffered by such Bidder
lnderrmified Persons based upon, arising out of, asserted against, resulting from, imposed on, in
connection with, or otherwise in respect of:

(i) the inaccuracy or breach of any representation or warranty of any
Tribune Party contained in or made pursuant to Article ll or Section 4.14(d), as of the date of this
Agreement, as of the Escrow Closing Date or as of the Closing Date, or in the Tribune Escrow
Closing Certificate (except, in each case, for representations and warranties expressly made as of
an earlier date, in which case the inaccuracy or breach of such representations and warranties as
of such earlier date), provided that for purposes of determining if there is any such inaccuracy or
breach and for purposes of calculating any Losses arising from such inaccuracy or breach, to the
extent any representation or warranty is qualified by any reference to “material,” “materiality,”
or “Cubs Material Adverse Effect” contained in such representation or warranty, such
representation or warranty shall be treated as if it did not contain any such qualification, provided
further that such qualifications shall not be disregarded in the following Sections: Section 2.5gdl
(second sentence), Section 2.6(c), Section 2.7, the lead-in to Section 2.8, Section 2.8(a) and

Section 2.11galgiil;

 

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(ii) the breach by any Tribune Party of, or the failure by any Tribune
Party to perform, any of their respective covenants or other agreements contained in this
Agreement;

(iii) any Cubs Excluded Liabilities; and

(iv) any applicable bulk transfer Law of any jurisdiction in connection
with the Transactions (including as a result of any non-compliance therewith).

Notwithstanding any other provision herein to the contrary, except with respect to
the inaccuracy or breach of the Tribune Specified Representations (for which the Basket Amount
and Cap Amount shall not apply) and for fraud (in which case the Basket Amount and Cap
Amount shall not apply): (A) Tribune Parties shall not be required pursuant to Section 8.2§ all il,
to indemnify and hold harmless the Bidder lndemnified Persons until the aggregate amount of
the Bidder indemnified Persons’ Losses under Section 8.2gallil exceeds $8,000,000 (the “Basket
Amount”), after which Tribune Parties will only be obligated to indemnify for Losses under
Section 8.2§al§il in excess of the Basket Amount; and (B) the cumulative aggregate indemnity
obligations of Tribune Parties under Section 8.2§ algil (excluding indemnification obligations
with respect to the Tribune Specified Representations) shall in no event exceed $125,000,000
(the “Cap Amount”).

Notwithstanding the foregoing, no Tribune Party shall have any liability to
indemnify the Bidder lndemnified Persons for (i) any Losses to the extent such Losses are
specifically reflected accrued for or reserved for and included in the calculation of Final Closing
Working Capital or (ii) any Cubs Liabilities arising in the Ordinary Course after the Target
Closing Date (even if such Cubs Liabilities or the facts giving rise to such Cubs Liabilities
constitute a breach of a representation or warranty as of the Escrow Closing Date). For the
avoidance of doubt, clause (ii) shall have no effect on Bidder’s remedies for fraud if any, on the
part of a Cubs Entity in respect of a breach of a representation or warranty as of the Escrow
Closing Date or Closing Date,

Notwithstanding anything in this Agreement to the contrary, the breach by
Tribune Parties of Section 1.4gbl§il by delivery of a certificate at the Escrow Closing that is not
in accordance with Section 7.2gcl shall be deemed a breach of a representation or warranty in
such certificate under Section 8.2gallil, and not a breach of a covenant under Section 8.2lalg ii l.

For the avoidance of doubt, from and after the effective date of the Plan of
Reorganization, the Tribune Parties, jointly and severally, shall be obligated to perform all
obligations of the Cubs Entities under this Article Vlll that remain outstanding as of the date of
confirmation of the Plan of Reorganization.

(b) From and after the consummation of the Closing, in the case of Section
8.2lblgil, Bidder, in the case of Sections 8.2(b)(iii), 8.2(b)(iv) and 8.2(b)(v), Newco and Newco
Subs, and in the case of Sections 8.2(b)(ii) and 8.2(b)(vi), Newco, Newco Subs and/or Bidder
(and in the case of Section 8.2gblg iil, depending on the party in breach, with it being understood
that Bidder is responsible for Section 8.2§bl( iil as it applies to any breach by any of the Bidder

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Covered Parties) (collectively, as applicable, the “Bidder lndemnifying Persons”) agree to
indemnify and hold harmless Tribune Parties for, from and against all Losses incurred or
suffered by such Tribune Parties based upon, arising out of, asserted against, resulting from,
imposed on, in connection with, or otherwise in respect of:

(i) the inaccuracy or breach of any representation or warranty
contained in or made pursuant to Article lll, as of the date of this Agreement, as of the Escrow
Closing Date or as of the Closing Date, or in the Bidder Escrow Closing Certificate (except, in
each case, for representations and warranties expressly made as of an earlier date, in which case
the inaccuracy or breach of such representations and warranties as of such earlier date);

(ii) the breach by any Bidder Covered Party, Newco or any Newco
Sub of, or failure by any Bidder Covered Party, Newco or any Newco Sub to perform, any of its
covenants or other agreements contained in this Agreement;

(iii) any Cubs Liabilities;

(iv) any untrue statement or omission or alleged untrue statement or
omission contained in any information memorandum or other materials used in connection with
obtaining the Debt Financing or Equity Financing; provided however, that the indemnity
contained in this Section 8.2lbl shall not relieve Tribune Parties of any liability under Section

8.2gal;

(v) any action taken or information provided pursuant to Section

4.11gdl; and

(vi) all liabilities and obligations of Newco or any Newco Sub (or any
Affiliate thereof) under the Mueller Building and T-Building Property Lease.

Notwithstanding any other provision herein to the contrary, except with respect to
the inaccuracy or breach of the Bidder Specified Representations (for which the Bidder Basket
Amount and Bidder Cap Amount shall not apply) and for fraud (in which case the Bidder Basket
Amount and Bidder Cap Amount shall not apply): (A) the Bidder lndemnifying Persons shall not
be required pursuant to Section 8.2§b lgil, to indemnify and hold harmless the Tribune Parties
until the aggregate amount of the Tribune Parties’ Losses under Section 8.2gbl§ il exceeds
$8,000,000 (the “Bidder Basket Amount”), after which the Bidder lndemnifying Persons will
only be obligated to indemnify for Losses under Section 8.2gblgil in excess of the Bidder Basket
Amount; and (B) the cumulative aggregate indemnity obligations of the Bidder lndemnifying
Persons under Section 8.2gb llil (excluding indemnification obligations with respect to the Bidder
Specified Representations) shall in no event exceed $125,000,000 (the “Bidder Cap Amount”).

Notwithstanding anything in this Agreement to the contrary, in no event shall the
Ricketts Lender or the Bidder Trust have any obligation or liability under this Article Vlll.

Notwithstanding anything in this Agreement to the contrary, the breach by Bidder
of Section 1.4gdl by delivery of a certificate at the Escrow Closing that is not in accordance with

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Section 7.3lcl shall be deemed a breach of a representation and warranty in such certificate under

Section 8.2gb llil, and not a breach of a covenant under Section 8.2§blg iil.

(c) Notwithstanding anything in this Agreement to the contrary, except for
fraud (in which case the following limitation shall not apply), the cumulative aggregate
obligation of Bidder, Newco and Newco Subs, on the one hand or Tribune Parties, on the other
hand for any and all Losses based upon, arising out of, asserted against, resulting from, imposed
on, in connection with, or otherwise in respect of the inaccuracy or breach of any of their
representations or warranties contained in this Agreement or in the Tribune Escrow Closing
Certificate or Bidder Escrow Closing Certificate (as the case may be) shall in no event exceed
the Final Special Distribution Amount,

Section 8.3 indemnification Procedures.

(a) if any Bidder indemnified Persons, on the one hand or any Tribune Party,
on the other hand (the “Indemnified Party”), has a claim or receives actual notice of any claim,
or the commencement of any Action that could give rise to an obligation on the part of Tribune
Parties, on the one hand or Bidder (or Newco and any Newco Sub, as the case may be), on the
other hand other than a Third Party Claim (as defined below), to provide indemnification (the
“Indemnifying Party”) pursuant to this Article Viii, the indemnified Party shall promptly give
the lndemnifying Party notice thereof (the “indemnification Claim NotiC€”); Provided
however, that the failure to give such prompt notice shall not prevent any indemnified Party from
being indemnified hereunder for any Losses, except to the extent that the failure to so promptly
notify the indemnifying Party actually materially damages the indemnifying Party,

(b) Upon receipt by an indemnified Party of actual notice of a claim, or the
commencement of any Action, by a third Person that could give rise to an obligation to provide
indemnification pursuant to this Article ViIi (a “Third Party Claim”), the lndemnified Party
will give the lndemnifying Party prompt written notice thereof (the “Third Party
Indemnification Claim Notice”); Provided however, that the failure of the indemnified Party to
so promptly notify the indemnifying Party shall not prevent any lndemnified Party from being
indemnified for any Losses, except to the extent that the failure to so promptly notify the
lndemnifying Party actually materially damages the indemnifying Party or materially prejudices
the indemnifying Party’s ability to defend against such claim,

(c) Any indemnification Claim Notice or Third Party indemnification Claim
Notice will describe the claim in reasonable detail. if the indemnifying Party demonstrates to the
indemnified Party’s reasonable satisfaction that, as of such time, the indemnifying Party has
sufficient financial resources in order to indemnify for the full amount of any potential liability
in connection with such claim, then the indemnifying Party may elect to assume control over the
compromise or defense of such Third Party Claim at such indemnifying Party’s own expense and
by such indemnifying Party’s own counsel, which counsel will be reasonably satisfactory to the
indemnified Party. if the indenmifying Party so elects to assume control over the compromise
and defense of such Third Party Claim, the indemnifying Party shall promptly notify the
lndemnified Party of such lndemnifying Party’s intent to do so, and the lndemnified Party shall
cooperate, at the expense of the indemnifying Party, in the compromise of, or defense against,

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such Third Party Claim; provided however, that: (i) the lndemnified Party may, if such
indemnified Party so desires, employ counsel at such lndemnified Party’s own expense to assist
in the handling (but not control the defense) of any Third Party Claim; (ii) the iriderrmifying
Party shall keep the lndemnified Party advised of all material events with respect to any Third
Party Claim; and (iii) no lndemnifying Party will, without the prior written consent of each
lndemnified Party, settle or compromise or consent to the entry of any judgment in any pending
or threatened action in respect of which indemnification may be sought hereunder (whether or
not any such lndemnified Party is a party to such action), unless such settlement, compromise or
consent by its terms obligates the indemnifying Party to pay the full amount of the liability in
connection with such Third Party Claim and includes an unconditional release of all such
lndemnified Parties from all liability arising out of such claim or Action.

(d) Subject to Section 8.3gfl, the indemnifying Party shall not be entitled to
have sole control over (and if it so desires, the lndemnified Party shall have sole control over) the
defense, settlement, adjustment or compromise of (but the lndemnifying Party shall nevertheless
be required to pay all Losses incurred by the indemnified Party in connection with such defense,
settlement or compromise to the extent required pursuant to this Article Viii): (i) any Third Party
Claim that seeks an order, injunction or other equitable relief against any indemnified Party or
any of its Affiliates; (ii) any Third Party Claim in which both the lndemnifying Party and the
indemnified Party are named as parties and either the lndemnifying Party or the indemnified
Party reasonably determines with advice of counsel that there may be one or more legal defenses
available to it that are different from or additional to those available to the other party or that a
conflict of interest between such parties is reasonably likely to exist in respect of such Action;
(iii) any Third Party Claim pursuant to Section 8.2lalgil prior to such time as the aggregate
amount of the Losses of Bidder indenmified Persons pursuant to such claims under Section
8.2gall il are reasonably expected to exceed the Basket Amount or after such time as the
aggregate amount of the Losses of Bidder indemnified Persons pursuant to such Third Party
Claim and all prior claims pursuant to Section 8.2galg il are reasonably expected to exceed the
Cap Amount; and (iv) any matter relating to Taxes of Bidder or any of its Affiliates, other than
any matter that (A) might give rise to an indemnification obligation of Tribune Parties pursuant
to Section 8.2lal and (B) would not increase the Tax liability of Bidder or any of its Affiliates,
other than a Tax liability subject to indemnification hereunder, for any Tax period (or portion
thereof) ending after the Closing,

(e) if the indemnifying Party elects not to assume the defense, settlement,
adjustment or compromise of an asserted liability, fails to timely and properly notify the
indemnified Party of its election as herein provided at any time after assuming such defense,
fails to defend against such Third Party Claim in good faith, fails to have sufficient financial
resources to pay the full amount of such potential liability in connection with such Third Party
Claim or if the indemnified Party is otherwise entitled pursuant to this Agreement to have
control over the defense, settlement or compromise of any Third Party Claim, the indemnified
Party may, subject to Section 8.3gfl, at the indemnifying Party’s expense, pay, defend settle or
compromise such asserted liability (but the indemnifying Party shall nevertheless be required to
pay all Losses incurred by the indemnified Party in connection with such payment, defense,
settlement or compromise in accordance herewith). in connection with any defense of a Third

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Party Claim (whether by the indemnifying Parties or the indemnified Parties), all of the parties
hereto shall, and shall cause their respective Affiliates to, cooperate in the defense or prosecution
thereof and to in good faith retain and furnish such records, information and testimony, and
attend such conferences, discovery proceedings, hearings, trials and appeals, as may be
reasonably requested by a party hereto in connection therewith.

(f) With respect to any Third Party Claim to the extent that the indemnified
Party is entitled to indemnification under this Article Viii, if the indemnifying Party
demonstrates that it has sufficient financial resources to pay the full amount of any indemnifiable
Losses in connection with a Third Party Claim, then no indemnified Party will, without the prior
written consent of the indemnifying Party (not to be unreasonably withheld conditioned or
delayed), settle or compromise or consent to the entry of any judgment with respect to such
Third Party Claim.

(g) Unless and until an indemnifying Party assumes the defense of the Third
Party Claim, the indemnified Party may defend against the Third Party Claim in any manner it
reasonably may deem appropriate

Section 8.4 Set-Off.

(a) if any indemnified Party becomes entitled to indemnification from an
indemnifying Party pursuant to this Agreement, then such indemnification payment will be made
in cash upon demand by the indemnified Party; provided however, that if any Bidder
indemnified Person becomes entitled to indemnification from any of the Tribune Parties and if
the indemnity Escrow Amount is then greater than zero, then Tribune Parties shall satisfy such
indemnification obligation through a distribution to such Bidder lndemnified Person pursuant to
the indemnity Escrow Agreement. For the avoidance of doubt, to the extent the entire
indemnification obligation is not satisfied by the indemnity Escrow Amount, any balance shall
remain an outstanding indenmification obligation.

(b) if the indemnity Escrow Amount is not sufficient to satisfy such
indemnification obligation, without the need to obtain any further relief from the Bankruptcy
Court in the Bankruptcy Case or any Additional Bankruptcy Cases, Newco may, at its option (at
any time and from time to time), reduce any distribution or other payment to be made to any
Tribune Party or Tribune Member under or pursuant to the Newco LLC Agreement by all or part
of any amount owed by any Tribune Party or Tribune Member to any of the Bidder Parties,
Newco or Newco Subs under this Agreement (whether pursuant to this Article Viii or otherwise)
or any other Transaction Document (the “Set-Off Amount”). if Newco exercises its rights
pursuant to this Section 8.4gbl by reducing any distribution to be made to any Tribune Party or
Tribune Member under the Newco LLC Agreement, then the Tribune Member shall be treated
for all purposes as if such Set-Off Amount were received by the Tribune Member as a
distribution from Newco and the Tribune Member paid such Set-Off Amount to Newco in
satisfaction of such Tribune Party’s or the Tribune Member’s applicable obligation hereunder.

Section 8.5 Exclusive Remedy. From and after the consummation of the Closing,
other than with respect to claims based on fraud the resolution of disputes pursuant to Section

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L_5_ and any Action seeking injunctive relief pursuant to Section 10.14, indemnification in
accordance with this Article Vlii shall be the sole and exclusive remedy of any Inderrmified
Party for Losses based upon, arising out of, asserted against, resulting from, imposed on, in '
connection with, or otherwise in respect of: (a) the inaccuracy or breach of any of the
representations and warranties contained in or made pursuant to this Agreement; (b) the breach
or failure to perform any of the covenants or obligations contained in this Agreement; (c) the
Cubs Excluded Liabilities and the Cubs Liabilities; and (d) the failure to comply with any
provision of applicable bulk sales or similar Laws in connection with the Transactions, The
parties may not avoid the limitations on liability set forth in this Article Vlli by seeking damages
for breach of contract or tort or pursuant to any other theory or liability.

Section 8.6 Mitigation. Any party entitled to seek indemnification shall take all steps
to mitigate their respective Losses to the extent required by Applicable Law.

Section 8.7 Separate Recovery of Losses. if any indemnified Party or any of its
Affiliates recovers any amounts in respect of Losses from any third Person at any time after the
indenmifying Party has paid all or a portion of such Losses to such lndemnified Party pursuant to
the provisions of this Article Viii, the indemnified Party shall (and Tribune Parties, Bidder,
Newco and each Newco Sub shall cause their respective Affiliates and Representatives to)
promptly (and in any event within three (3) Business Days of receipt) pay over to the
indemnifying Party the amount so received (to the extent previously paid by such indemnifying
Party).

Section 8.8 Characterization of indemnification Payments. The parties hereto agree to
treat any payment made under this Article Vlii as an adjustment to the Final Special Distribution
Amount.

Section 8.9 indemnity Reserve. At Closing, the Cubs Entities shall, collectively
among them and not on an individual basis, deposit an amount of cash, marketable securities, or
other short-term investments with a value not less than the Cap Amount less the indemnity
Escrow initial Amount in one segregated account for all of the Cubs Entities that is separate from
the centralized cash management system maintained by Tribune for the use of itself and its
Affiliates, which amount shall be so held through the effective date of the Plan of
Reorganization. Prior to such date, none of the Cubs Entities shall be authorized or become
obligated to remove, transfer or encumber such amount from the segregated account absent
further order of the Bankruptcy Court in form and substance acceptable to Bidder, except to
satisfy their indemnification obligations under this Agreement, and the Cubs Entities shall
promptly provide Bidder statements or other information regarding such segregated account
within a reasonable period of time of Bidder’s request with respect thereto.

ARTICLE iX
TERM INATION

Section 9.1 Termination. in addition to, and without limiting or modifying, the
termination rights pursuant to Section 4.15gcl, this Agreement may be terminated at any time:

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(a) prior to the Closing, by the written consent of both (i) Bidder, on the one
hand and (ii) Tribune Parties, on the other hand;

(b) by Bidder, on the one hand or Tribune Parties on the other hand if the
Closing has not occurred by the close of business on the Termination Date;

(c) prior to the Escrow Closing, by Bidder, if (A) there has been a material
default or material breach by the Tribune Parties of any covenant, representation or warranty
contained in this Agreement which would result in any of the conditions precedent set forth in
Sections 7.1 or Q not being satisfied if such default or breach were not cured prior to the
Escrow Closing Date, and (B) (i) such material default or material breach has not been waived in
writing by Bidder, (ii) Bidder provided written notice to Tribune Parties of such material default
or material breach, and (iii) Tribune Parties have not cured such material default or material
breach within ten (10) Business Days after receiving written notice thereof from Bidder; or

(d) prior to the Escrow Closing, by Tribune Parties, if (A) there has been a
material default or material breach by Bidder of any covenant, representation or warranty
contained in this Agreement which would result in any of the conditions precedent set forth in
Sections 7.1 or § not being satisfied if such default or breach were not cured prior to the
Escrow Closing Date and (B) (i) such material default or material breach has not been waived in
writing by Tribune Parties, (ii) Tribune Parties have provided written notice to Bidder of such
material default or material breach, and (iii) Bidder has not cured such material default or
material breach within ten (10) Business Days after receiving written notice thereof from
Tribune Parties.

Section 9.2 Effect of Termination.

(a) Any terminating party shall provide written notice of termination to the
other parties specifying in reasonable detail the reason for such termination. Any termination in
accordance with Section 4.15(cl or L shall be effective immediately upon delivery of such
written notice to the other party (or, if later, upon expiration of any applicable cure period). This
Agreement shall thereupon terminate and the Transactions (including the Newco Sale) shall be
abandoned without further action by the parties hereto and there shall be no liability or obligation
on the part of any party, except that (i) the provisions of Article X, Section 4.3 and this Section
B shall survive; (ii) any applicable provisions in Section 4.15 providing for consequences upon
termination of this Agreement pursuant to Section 9.1gbl shall survive; (iii) except as provided in
Section 4.15§nl, nothing in this Agreement shall relieve any party hereto from any claims for
damages or other liability arising from any breach of any covenant or other agreement contained
in this Agreement occurring prior to or in connection with such terrnination; and (iv) the
provisions of the Notice and Procedures Approval Order and any Transaction Approval Order
related to this Agreement shall remain enforceable

(b) Upon termination of this Agreement, no party shall be entitled to
reimbursement of any incremental Financing Costs that such party may have incurred pursuant
to this Agreement.

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Section 9.3 Acquisition Transaction Post-Termination. lf:

(a) this Agreement is terminated by Tribune pursuant to Section 4.15(cl, by
Bidder pursuant to Section 9.1§cl, or by Bidder or any Tribune Party pursuant to Section 9.1gbl
(unless, as a result of such termination pursuant to Section 9.1(b), Bidder is obligated under
Section 4.15 to pay the Tribune Parties (in the aggregate) a Bidder Payment), and

(b) at any time during the period from the date of this Agreement to the date
that is three (3) months after the date on which this Agreement is terminated as described above
any Tribune Party or any of its Affiliates (including, if applicable, after the Cubs Business is
internally reorganized among Tribune and its Affiliates) enters into a written definitive
agreement providing for an Acquisition Transaction with any Person other than Bidder or its
Affiliates (an “Acquisition Transaction Agreement”), and

(c) the Acquisition Transaction contemplated by the Acquisition Transaction
Agreement results in the Tribune Parties: (i) receiving amounts of cash or cash equivalents, (ii)
retaining, including in tlie manner contemplated by this Agreement, non-cash current assets, or
(iii) receiving the benefit of the assumption of debt, in each case (for clauses (i) through (iii)), at
or within two hundred and twenty-five (225) days following consummation of such Acquisition
Transaction, and if such amounts that are received at consummation or within such two hundred
and twenty-five (225) day period are in the aggregate in excess of the Hypothetical Special
Distribution Amount (a “Superior Acquisition Transaction”),

then, within five (5) Business Days following the consummation of the transactions
contemplated by the Acquisition Transaction Agreement which remains a Superior Acquisition
Transaction (or, if later, within five (5) Business Days following the first date on which, as a
result of receipt or retention of amounts during the period set forth in Section 9.3(cl, such
Acquisition Transaction becomes a Superior Acquisition Transaction), Tribune Parties, jointly
and severally, shall pay Bidder (in the aggregate) the liquidated sum of $10,000,000 less the
amount of any payment to Bidder pursuant to Section 4.15 (which difference for the avoidance
of doubt, may be zero or a negative number, in which case, no additional payment shall be due to
Bidder). As used herein, the “Hypothetical Special Distribution Amount” means the Final
Special Distribution Amount that Tribune Parties would have received under this Agreement had
the Transactions been consummated on the date this Agreement was terminated assuming that
there are no Retained Cubs Current Assets.

ARTICLE X

MISCELLANEOUS

Section 10.1 Counterpaits. This Agreement may be executed in one or more
counterparts, all of which shall be considered one and the same agreement, and will become
effective when one or more counterparts have been signed by a party and delivered to the other
parties. Copies of executed counterparts transmitted by telecopy, telefax or other electronic
transmission service shall be considered original executed counterparts for purposes of this
Section 10.1, provided that receipt of copies of such counterparts is confirmed

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Section 10.2 Goveming Law.

(a) This Agreement and (except as expressly set forth therein) the other
Transaction Documents, and any disputes arising hereunder or (except as expressly set forth
therein) thereunder or controversies related hereto, or thereto, shall be governed by and
construed in accordance with the laws of the State of Delaware (other than with respect to title to
the Owned Real Property or leasehold interest in the Leased Real Property in illinois, which shall
be governed by and construed in accordance with Illinois law) that apply to contracts made and
performed entirely within such state without regard to any choice or conflict of Law provision or
rule (whether of the State of Delaware or any other jurisdiction) to the extent they would result in
the application of the Laws of another jurisdiction.

(b) Other than with respect to the matters that must be resolved by the
Accounting Firm pursuant to (and to the extent provided in) Section 1.5lcl, any Action with
respect to this Agreement or any other Transaction Document and any matter arising out of or in
connection with this Agreement or any other Transaction Document shall be brought exclusively
in and determined by (i) the Bankruptcy Court if the Bankruptcy Case is pending or (ii) the state
or federal courts sitting in the State of Delaware if the Bankruptcy Case is not pending (in either
case, the “Applicable Court”), but the foregoing shall not bind Persons who are not parties to
this Agreement, including the Senior Lender Parties. By execution and delivery of this
Agreement, each party hereto hereby accepts (other than with respect to the matters that must be
resolved by the Accounting Firm pursuant to (and to the extent provided in) Section 1.5lcl) for
itself and in respect of such Person’s property, generally and unconditionally, the sole and
exclusive jurisdiction of the Applicable Court (and any appellate courts thereof). Each party
hereto irrevocably consents to service of process in any Action in the Applicable Court by the
mailing of copies thereof by registered or certified mail, postage prepaid or by recognized
overnight delivery service to such party at such party’s address referred to in Section 10.5. Each
party hereto hereby irrevocably and unconditionally waives any objection which such Person
may now or hereafter have to the laying of venue of any of the aforesaid actions or proceedings
arising out of or in connection with this Agreement or any other Transaction Document brought
in the Applicable Court and hereby further irrevocably waives and agrees, to the extent permitted
by applicable Law, not to plead or claim in any such court that any such Action brought in the
Applicable Court has been brought in an inconvenient forum. Nothing herein shall affect the
right of any party hereto to serve process in any other manner permitted by Law.
Notwithstanding anything in this Section 10.2(bl to the contrary, each party agrees that a final
judgment in any such Action shall be conclusive and may be enforced in other jurisdictions by
suit on the judgment or in any other manner provided by Law.

(c) Waiver of Jury Trial. EACH PARTY HERETO, FOR iTSELF AND iTS
AFFiLiATES, HEREBY iRREVOCABLY AND UNCONDiTiONALLY WAIVES TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW ALL RIGHT TO TRIAL BY
JURY iN ANY ACTiON (WHETHER BASED ON CONTRACT, TORT OR OTHERWISE)
ARiSiNG OUT OF OR RELATiNG TO THE ACTiONS OF Ti~[E PARTiES HERETO OR
THEIR RESPECTIVE AFFiLiATES PURSUANT TO THiS AGREEMENT OR (EXCEPT AS

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EXPRESSLY SET FORTH THEREIN) ANY OTHER TRANSACTION DOCUMENT iN THE
NEGOTIATION, ADMINISTRATION, PERFORMANCE OR ENFGRCEMENT HEREOF
AND THEREOF. WiTHOUT LiMiTlNG THE FOREGOING, EACH PARTY HERETO, FOR
ITSELF AND iTS AFFILIATES, FURTHER AGREES THAT iTS RiGHT TO A TRIAL BY
JURY lS WAIVED BY OPERATION OF THiS SECTION AS TG ANY ACTION THAT
SEEKS, iN WHOLE OR lN PART, TO CHALLENGE THE VALiDiTY OR

ENFORCEAB lLiTY OF THiS AGREEMENT OR ANY PROViSiON HEREOF.

Section 10.3 Entire Agreement; No Third Paitv Beneficiarv. This Agreement, the other
Transaction Documents (including the Schedules and Exhibits hereto and thereto) and the
Approval Orders contain the entire agreement by and among the parties with respect to the
subject matter hereof and all prior negotiations, writings and understandings relating to the
subject matter of this Agreement and the other Transaction Documents (written or oral)
(including the letter, dated July 18, 2008, from the Ricketts Family known as the “Preliminary
Proposal” and the letter, dated November 26, 2008, from the Ricketts Family known as the
“Definitive Proposal,” as amended by the confidential presentation entitled “Project North Side
Revised Bid Terms,” dated January 9, 2009, the various term sheets proposed by tire parties and
the “Ricketts July 9, 2009 Offer” among Bidder, Tribune and Cubs LLC) are merged in and are
superseded and canceled by, this Agreement and the other Transaction Documents; provided
however, that the Confidentiality Agreement shall continue in effect after the date of this
Agreement but shall terminate upon the consummation of the Closing, except that the
Confidentiality Agreement shall continue to apply after Closing to the confidential information
of Tribune Parties and Bidder Parties that in each case does not relate to the Transactions
(including the Newco Sale), tlie Cubs Business, the Cubs Contributed Assets or the Cubs
Liabilities (which such provisions survive in accordance with the terms of the Confidentiality
Agreement). For the avoidance of doubt, the Fee Reimbursement Agreement shall terminate on
the date hereof and shall be of no further force or effect and no party shall be entitled to any
amounts thereunder, This Agreement is not intended to confer upon any Person not a party
hereto (or their successors and permitted assigns), including any current or former employees of
Tribune or of any of its Affiliates, any Trust or Non-Cubs Contributing Tribune Entity, or any
creditors of Tribune or its Affiliates (other than (i) the lndemnified Parties under Article Viil, (ii)
the Senior Lender Parties under Section 4.11ggl, (iii) the Major League Baseball under Section
4_.1;4_ and (iv) Bidder Trust under Section 10.8 l, any rights or remedies hereunder.

Section 10.4 Expenses. if and only if the Closing is consummated Newco and Newco
Subs shall pay all of the following (without duplication) out-of-pocket fees, costs, expenses, and
Taxes (and in the case of clause (vi) below, other amounts as contemplated therein) payable by
any of the parties in connection with this Agreement, the other Transaction Documents and the
Transactions (including the Cubs Contribution and the Newco Sale), even if any such tax, fee,
cost or expense would be an obligation of Tribune or any of its Subsidiaries under applicable
Law (the “Transaction Expenses”): (i) except for the escrow agent fees under the Real Estate
Escrow Agreement pursuant to clause (ix) below, all costs and expenses payable in connection
with obtaining the Pro Forrna Title Policies, Title Policies and Co-insurance (if any) as well as
any endorsements to the Title Policy (if available to Bidder, Newco or Newco Subs, as
applicable, but in all events without cost, undertaking or indemnity from any of the Tribune

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Parties, except as otherwise set forth in this Agreement), (ii) all of the filing fees required to be
paid in connection with the HSR Act filing by any party, (iii) the payment of Taxes pursuant to
Sections 6.3 and §4, (iv) any filing, registration or recordation fees and expenses, (v) any out-of-
pocket fees and expenses associated with the Commitment Letters, Debt Financing, Equity
Financing and other financing arrangements of Bidder, Newco or Newco Subs (including any
Post-Escrow Closing Fees and any fees associated with obtaining any related credit opinions and
credit ratings as well as any hedging rate agreements), (vi) any debt service or interest reserve or
similar amount required to be provided by or on behalf of Newco or any Newco Sub pursuant to
the Debt Financing at or promptly following the time of the funding of the Debt Financing, (vii)
any legal fees and expenses of Bidder or any provider of financing to Bidder, Newco or Newco
Subs to be paid by Newco or any Newco Sub, (viii) all Covered MLB Transaction Expenses, and
(ix) all escrow agent fees under the Closing Escrow Agreement, indemnity Escrow Agreement
and Real Estate Escrow Agreement. The Cubs Entities shall be solely responsible for all Cubs
Expenses (other than those to be paid by Newco pursuant to Section 1.3lblgiil). For the
avoidance of doubt, the Transaction Expenses do not include any Cubs Expenses. if any
Transaction Expenses are actually paid by Tribune Parties (but only with respect to clauses (i),
(ii), (iii), (iv) or (viii) above), Bidder or an Affiliate of Bidder (other than Newco or Newco
Subs), then Newco or a Newco Sub will reimburse Tribune Parties (but only with respect to
clauses (i), (ii), (iii), (iv) or (viii) above), Bidder or such Affiliate respectively, therefor;
provided however, that with respect to any Transaction Expenses that are actually paid by
Bidder or any Affiliates of Bidder (other than Newco or Newco Subs) (collectively, the “Bidder
Paid Transaction Expenses”), Newco and Newco Subs shall only be obligated to, and shall
only, reimburse Bidder and any such Affiliates of Bidder (in the aggregate) an amount equal to
the lesser of (A) the amount of the Bidder Paid Transaction Expenses or (B) the greater of (i)
zero or (ii) the amount equal to (1) $46,000,000 minus (2) the total amount of Transaction
Expenses other than Bidder Paid Transaction Expenses, Upon the Escrow Closing and Closing,
except as otherwise set forth in this Agreement (including this Section 10.4), each of the parties
shall bear its own expenses and tire expenses of its counsel and other agents in connection with
the Transactions (including the Newco Sale). Notwithstanding anything in this Section 10.4 to
the contrary, if the Closing does not occur, then except as otherwise provided in Section 4.15,
each of the parties shall bear its own expenses and the expenses of its counsel and other agents in
connection with the Transactions (including the Newco Sale). it is understood and agreed that
any payment of expenses pursuant to this Section 10.4 shall in no way affect the ownership
percentage of any party in Newco. if the Covered Transaction Expenses exceed $46,000,000
and if it is determined after Closing that the amount of Covered Transaction Expenses exceeds
the amount of Covered Transaction Expenses used to determine the amount of Equity Financing
contributed by Bidder to Newco at Closing, then Bidder shall make an additional capital
contribution to Newco equal to such excess for the purpose of satisfying any such Covered
Transaction Expenses, which shall not affect the ownership interests of the parties in Newco.
Following the Closing, no party shall be entitled to reimbursement of any incremental Financing
Costs that such party may have incurred pursuant to this Agreement, and no such incremental
Financing Costs, whether incurred by Bidder or Tribune Parties, shall be included in the
Transaction Expenses for purposes of this Agreement.

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Section 10.5 Notices. All notices and other communications hereunder will be in
writing and given by certified or registered mail, return receipt requested nationally recognized
overnight delivery service such as Federal Express, or facsimile (or like transmission) with
confirmation of transmission by the transmitting equipment or personal delivery against receipt
to the party to whom it is given, in each case, at such party’s address or facsimile number set
forth below or such other address or facsimile number as such party may hereafter specify by
notice to the other parties hereto given in accordance herewith. Any such notice or other
communication shall be deemed to have been given as of the date so personally delivered or
transmitted by facsimile or like transmission (with confirmation of receipt), on the next Business
Day when sent by overnight delivery services or five days after the date so mailed if by certified
or registered mail.

 

if to Bidder or, after the Joinder to this Agreement is executed and delivered to Newco or
any Newco Sub, to:

Ricketts Acquisition LLC
c/o lncapital LLC

200 S. Wacker, Suite 3700
Chicago, iL 60606

Fax No.: (312) 379-3701
Attention: Thomas Ricketts

with copies to:

Hugo Enterprises LLC
1395 S. Platte River Drive
Denver, CO 80223

Fax No.: (303) 200-7086
Attention: Alfred P. Levitt

and

Foley & Lardner LLP

777 E. Wisconsin Avenue

Milwaukee, Wl 53202

Fax No.: (414) 297-4900

Attention: Mary K. Braza and Patrick G. Quick

if to any Tribune Party, to:

Tribune Company

435 North Michigan Avenue
Chicago, IL 6061 1

Fax No.: (312) 222-4206
Attention: General Counsel

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with a copy to:

McDermott Will & Emery LLP

227 West Monroe Street, Suite 4700

Chicago, IL 60606

Fax No.: (312) 984-7700

Attention: Brooks B. Gruemmer and Ryan D. Harris

Section 10.6 Successors and Assiggs. This Agreement will be binding upon and inure
to the benefit of the parties hereto and their respective successors and permitted assigns;
provided however, that no party hereto may, in whole or in part, assign its rights or delegate its
obligations under this Agreement without the prior written consent of the other parties hereto,
which consent shall not be unreasonably withheld conditioned or delayed except that the
Tribune Parties can assign their rights and obligations under the Transaction Documents without
the consent of Bidder Parties, in connection with a Plan of Reorganization that provides for an
assignment to one or more other wholly owned Subsidiaries of Tribune in accordance with the
terms of this Agreement provided that (a) each such Subsidiary is bound by all obligations under
this Agreement applicable to tire transferring entity, (b) such assignment does not materially and
adversely impair the Tribune Parties’ (after giving effect to such assignment) ability to perform
their obligations hereunder, including in Article Viii , as compared to prior to such assignment,
and (c) if such assignment is to be made prior to Closing, such assignment does not materially
adversely affect Bidder, Newco or any Direct Newco Sub with respect to the assets to be
contributed to or the liabilities to be assumed by Newco or such Direct Newco Sub pursuant to
this Agreement or adversely affect, in any material respect, the economic terms or other material
terms of the Transactions (including the Newco Sale) with respect to Bidder, Newco or any
Direct Newco Sub. No such delegation or assignment shall relieve the delegating or assigning
party of its obligations hereunder in the absence of an express written novation signed by the
other parties to this Agreement. Any purported assignment or delegation in violation of this
Agreement shall be null and void ab initio.

Section 10.7 Headings. The Section, Article and other headings contained in this
Agreement are inserted for convenience of reference only and will not affect the meaning or
interpretation of this Agreement.

Section 10.8 Amendments and Waivers. This Agreement may not be modified or
amended except by an instrument or instruments in writing signed by Bidder, Bidder Trust,
Tribune and, with respect to any modification or amendment of Section 4.11(gl, JPMorgan
Chase Bank, N.A., Citibank, N.A. and Bank of America, N.A. (and after the Joinder to this
Agreement is executed and delivered by Newco and each Newco Sub with respect to any
modifications or amendments to this Agreement). The parties agree not to execute any
modification or amendment without first submitting it to the Office of the Commissioner of
Baseball for its review and comment Any party hereto may, only by an instrument in writing,
waive compliance by any other party or parties hereto with any term or provision hereof on the
part of such other party or parties hereto to be performed or complied with. No failure or delay
of any party in exercising any right or remedy hereunder shall operate as a waiver thereof, nor
will any single or partial exercise of any right or power, or any abandonment or discontinuance

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of steps to enforce such right or power, preclude any other or further exercise thereof or the
exercise of any other right or power. The waiver by any party hereto of a breach of any term or
provision hereof shall not be construed as a waiver of any subsequent breach, The rights and
remedies of the parties hereunder are cumulative and are not exclusive of any rights or remedies
that they would otherwise have hereunder,

Section 10.9 interpretation; Absence of Presumption.

(a) For the purposes hereof: (i) words in the singular shall be held to include
the plural and vice versa and words of one gender shall be held to include the other gender as the
context requires; (ii) the terms “hereof,” “herein,” and “herewith” and words of similar import
shall, unless otherwise stated be construed to refer to this Agreement as a whole (including all of
the Schedules and Exhibits) and not to any particular provision of this Agreement, and Article
Section, paragraph, Exhibit and Schedule references are to the Articles, Sections, paragraphs,
Exhibits, and Schedules to this Agreement unless otherwise specified; (iii) the word “including”
and words of similar import when used in this Agreement shall mean “including, without
limitation,” unless the context otherwise requires or unless otherwise specified; (iv) the word
“or” shall not be exclusive unless used in conjunction with the word “either;” (v) unless the
context otherwise requires, any reference to “the parties hereto” or “the parties to this
Agreement” shall mean Bidder, on the one hand and Tribune Parties, on the other hand; and (vi)
provisions in this Agreement which impose liabilities and obligations on the “Tribune Parties”,
including obligations prior to Closing, shall be the joint and several liabilities and obligations of
each Tribune Party, provided however, that in no event shall any obligations or liabilities of
Tribune be included in the Cubs Liabilities except as expressly set forth on Exhibit F-5. “Made
available” when used herein shall mean a true correct and complete copy of the applicable
document has been uploaded onto tire Data Room (with online access being given to Bidder or
any of its Representatives to view such document) (A) at least one (1) Business Day prior to the
date hereof and retained in the Data Room through the Escrow Closing Date, (B) in the case of
any representation or warranty that is remade as of the Escrow Closing Date because it is
contained in or made pursuant to Article ii or Section 4.14(d) as of the Escrow Closing Date or
pursuant to the Tribune Escrow Closing Certificate, at least one (1) Business Day prior to the
Escrow Closing Date and retained in the Data Room through the Escrow Closing Date, or (C) in
tire case of any representation or warranty that is remade as of the Closing Date because it is
contained in or made pursuant to Article ii or Section 4.14(d) as of the Closing Date, at least one
(1) Business Day prior to the Closing Date and retained in the Data Room through the Closing
Date. “Entered by the Bankruptcy Court” (or similar derivations) when used herein with respect
to any document shall mean that such document has been both signed by the Bankruptcy Court
judge and entered on the docket of the clerk of the Bankruptcy Court. For the avoidance of
doubt, all representations and warranties in Article ii, in Section 4.14(d) or in the Tribune
Escrow Closing Certificate pertaining to a Cubs Entity shall also be deemed to pertain to the
corresponding Predecessor Cubs Entity. Bidder acknowledges and agrees that any condition,
covenant, Payment Trigger, representation or warranty or other agreement of the Tribune Parties
relating to tire Transactions shall not include the Newco Sale, except where the covenant,
representation or warranty or other provision expressly refers to including the Newco Sale.

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(b) With regard to each and every term and condition of this Agreement and
any and all agreements and instruments subject to the terms hereof, the parties hereto understand
and agree that the same have been mutually negotiated prepared and drafted and if at any time
the parties hereto desire or are required to interpret or construe any such term, condition,
agreement or instrument, no consideration will be given to the issue of which party hereto
actually prepared drafted or requested such term, condition, agreement or instrument,

Section 10.10 Severability. Any provision hereof that is held to be invalid illegal or
unenforceable in any respect by a court of competent jurisdiction shall be ineffective only to the
extent of such invalidity, illegality or unenforceability, without affecting in any way the
remaining provisions hereof; provided however, that the parties will attempt in good faith to
reform this Agreement in a manner consistent with the intent of any such ineffective provision
for the purpose of carrying out such intent.

Section 10.11 Further Assurances. From time to time after the Closing Date, each party
shall, upon the reasonable request of the others, execute and deliver or cause to be executed and
delivered such further instruments of conveyance assignment, transfer and assumption, and take
or cause to be taken such further action, as may reasonably be requested in order to more
effectively carry out the purposes and intent of this Agreement. Without limiting the generality
of the foregoing, after the Closing, Tribune Parties shall, upon request by Newco, (a) promptly
deliver to Newco, or take such actions reasonably requested by Newco to implement the transfer
of, all domain name registrar account names, account numbers, login names, passwords,
authorization codes or other information needed to release unlock, and transfer (as applicable)
control over any domain names included in tire Cubs intellectual Property and (b) promptly
deliver to Newco a report generated by Tribune Parties’ accounting systems listing the Cubs
Contributed Assets (to the extent included in such accounting systems) and their corresponding
book values, which presentations may or may not be on an individual asset by asset basis but
aggregated with other assets in a manner consistent with Tribune’s prior practice of preparing
such reports. in addition, other than with respect to the Designated Cubs Historical Broadcast
Rights (which is separately addressed in the WGN Agreements), upon the discovery by Tribune
or Bidder after the Closing Date of a failure by Tribune to deliver any of the Cubs Contributed
Assets, the Tribune Parties shall use their reasonable best efforts to deliver to Newco the omitted
asset in substantially the same condition in which it existed at Closing (normal wear and tear
excepted). After the Closing, no Tribune Party shall contest the validity of Newco’s or any
Newco Sub’s ownership of the copyrights or other proprietary rights in the Designated Cubs
Historical Broadcast Rights nor Newco’s or any Newco Sub’s rights in them. After the Closing,
no Tribune Party shall commit, or authorize any other Person to commit, any act that may impair
Newco’s or any Newco Sub’s copyrights or other proprietary rights in the Designated Cubs
Historical Broadcast Rights. The parties acknowledge and agree that with respect to Exhibits R
U V W X Y and JJ the parties will act reasonably and in good faith to finalize such Exhibits as
promptly as reasonably practicable after the date hereof, including reasonably and in good faith
considering changes reasonably requested by the Senior Lender Agent.

 

 

Section 10.12 Business Days, if any date provided for in this Agreement shall fall on a
day that is not a Business Day, the date provided for shall be deemed to refer to the next
Business Day.

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Section 10.13 Schedules. The Schedules to this Agreement shall be arranged in sections
and subsections corresponding to the numbered section and lettered subsections of this
Agreement, and the exceptions and disclosures in each such section and subsection of the
Schedules shall, except as provided in the next sentence, apply only to the correspondingly
numbered section and lettered subsection of this Agreement. The information contained in any
Schedule shall be deemed to be incorporated by reference in other applicable Schedules if the
applicability of such information to such other Schedules is reasonably apparent on its face. No
representation or warranty shall be qualified or otherwise affected by any fact or item disclosed
on any Schedule unless such representation or warranty contains a reference to a Schedule or it is
reasonably obvious on the face of a disclosure that such disclosure applies to a representation or
warranty that does not reference a Schedule

Section 10.14 Specific Performance. Each party (Tribune Parties, on the one hand and
Bidder, on the other hand) acknowledges that the other would suffer irreparable damage and
would not have an adequate remedy at law for money damages in the event that any of the
covenants or agreements set forth in this Agreement were not performed by such other party in
accordance with its terms and therefore each party agrees that in the event of any breach or
threatened breach by any other party of any of the covenants or agreements contained in this
Agreement, the non-breaching party shall be entitled to specific performance injunctive and
other equitable relief (in addition to any other remedies to which it may be entitled at law or in
equity) (without the necessity of proving the inadequacy as a remedy of money damages or the
posting of a bond or other security). Each of the Bidder, Newco and the Tribune Parties hereby
waive any and all defenses it may have on the ground of lack of jurisdiction or competence of the
Applicable Court to grant such an injunction or other equitable relief.

Section 10.15 Bulk Transfer. The parties hereto hereby waive compliance with the
provisions of any applicable bulk transfer Law of any jurisdiction in connection with the
Transactions (including the Newco Sale) and no representation, warranty or covenant contained
in this Agreement shall be deemed to have been breached as a result of such non-compliance;
provided however, that the indemnity set forth in Section 8.2gall ivl shall remain in full force and
effect,

Section 10. 16 Payments bv Tribune Parties. Any payments to be made by any Tribune
Party (to the extent that it is a Debtor) pursuant to this Agreement (including, to the extent
applicable, pursuant to Section 1.5(dl, Section 4.15 or Article Viii) shall be treated as payment
of an allowed (on a final, and not provisional or interim, basis) administrative priority claim
pursuant to Sections 503(b) and 507(a)(2) of the Bankruptcy Code, without further order of the
Bankruptcy Court, and shall be included and deemed approved in any budget otherwise subject
to approval by the Bankruptcy Court or by any other party in interest, shall not be subject to
discharge modification or impairment in any plan filed by Tribune Parties, and shall not be
subject to disallowance or estimation and shall not be discharged or affected by any Plan of
Reorganization.

Section 10.17 Payments in Cash, Except as otherwise set forth in this Agreement, all
payment obligations under this Agreement from one party to another shall be paid in cash.

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[The next page is the signature page]

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The parties have executed and delivered this Formation Agreement as of the date first

written above

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RICKETTS ACQUiS iTiON LLC

By: David K. Larson, as trustee of the Joe and
Marlene Ricketts Grandchildren’s Trust, its Sole
Member

By:
Name: David K. Larson
Title: Trustee

 

RAC EDUCATION TRUST OSA, LLC
By: Ricketts Acquisition LLC, its Sole Member

By: David K. Larson, as trustee of the Joe and
Marlene Ricketts Grandchildren’s Trust, its Sole
Member

By:
Name: David K. Larson
Title: Trustee

 

[Signature page to Formation Agreement]

TRIBUNE COMPANY

B y:
Name:
Title:

 

CHICAGO NATiONAL LEAGUE BALL
CLUB, LLC

 

B y:
Name:
Title:

WRIGLEY FIELD PREMIUM TiCKET
SERVICES, LLC

B y:
Name:
Title:

 

DlANA-QUENTIN, LLC

B y:
Name:
Title:

 

CHiCAGO CUBS DOMINICAN BASEBALL
OPERATIONS, LLC

By:
Name:
Title:

 

TRIBUNE SPORTS NETWORK HOLDINGS,
LLC

B y:
Name:
Title:

 

[Signature page to Formation Agreement]

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JOINDER
TO
FORMATION AGREEMENT

The undersigned hereby agree to become a party to, and be bound by the provisions
specifically applicable to each of the undersigned (i.e., any specific reference to “Newco,”
“Newco Subs” and any other defined term incorporating such terms, other than the generic term
“parties”) under, that certain Forrnation Agreement dated as of August 7, 2009 among Ricketts
Acquisition LLC, a Delaware limited liability company, Tribune Company, a Delaware
corporation, and certain other parties thereto.

Dated: , 2009
NEWCO:
CHiCAGO BASEBALL HOLDINGS, LLC
By: Ricketts Acquisition LLC, its Sole Member

By: .loe and Marlene Ricketts Grandchildren’s
Trust, its Sole Member

 

 

 

By:
Name: David K. Larson
Title: Trustee
NEWCO SUBS:
lCUBS NEWCO SUB]
By:
Name:
Title:
[DOMINICAN NEWCO SUB]
By:
Name:
Title:

[PREMIUM TiCKETS NEWCO SUB]

 

By:
Name:
Title:
[DQ NEWCO SUB]

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CH199 5155442-3.022182.0015

By:

 

Name:
Title:

[ANY ADDiTiONAL NEWCO SUB]

By:

 

Name:
Title:

The Exhibits and Schedules to the Formation Agreement are voluminous. Accordingly,
only the material Exhibits to the Formation Agreement, such as those that are described in
the Tribune Transaction Approval Motion, have been filed with the Bankruptcy Court,
The Tribune Debtors will make Exhibits and Schedules to the Formation Agreement
available for review by creditors and other parties-in-interest with a legitimate interest in
such materials upon reasonable request; provided, however, that the Tribune Debtors do
not waive any of their rights to seek to file any Exhibits or Schedules to the Formation
Agreement under seal, or in a redacted form, or otherwise to seek appropriate protective
relief from the Bankruptcy Court before providing any of such material to a requesting
creditor or party-in-interest.

